                                                                   Case 2:19-bk-24804-VZ             Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                          Desc
                                                                                                      Main Document    Page 1 of 204


                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, California 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail: rpachulski@pszjlaw.com
                                                                                jdulberg@pszjlaw.com
                                                                   6            mpagay@pszjlaw.com

                                                                   7   Attorneys for Yueting Jia, Reorganized Debtor

                                                                   8                                  UNITED STATES BANKRUPTCY COURT

                                                                   9                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                             LOS ANGELES DIVISION

                                                                  11   In re:                                                      Case No.: 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   YUETING JIA,1                                               Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                Reorganized Debtor.            REQUEST FOR JUDICIAL NOTICE
                                           ATTORNEYS AT LAW




                                                                                                                                   IN SUPPORT OF REORGANIZED
                                                                  14                                                               DEBTOR’S OPPOSITION TO HAN’S SAN
                                                                                                                                   JOSE HOSPITALITY LLC’S MOTION
                                                                  15                                                               CLARIFYING THAT THE AUTOMATIC
                                                                                                                                   STAY IS NOT IN EFFECT AS TO NON-
                                                                  16                                                               DEBTOR DEFENDANTS

                                                                  17                                                               [Relates to Docket Nos. 887 and 892]

                                                                  18
                                                                                                                                   DATE:           September 22, 2020
                                                                  19                                                               Time:           10:00 a.m.
                                                                                                                                   Place:          Courtroom 1368
                                                                  20                                                                               Roybal Federal Building
                                                                                                                                                   255 E. Temple Street
                                                                  21                                                                               Los Angeles, California 90012

                                                                  22                                                               Judge:          Hon. Vincent P. Zurzolo

                                                                  23            Yueting Jia, the reorganized debtor (“YT”, the “Reorganized Debtor” or, prior to the
                                                                  24   Effective Date, the “Debtor”), respectfully requests the Court to take judicial notice, pursuant to
                                                                  25   Rule 201 of the Federal Rules of Evidence, of the following exhibits in support of the Reorganized
                                                                  26   Debtor’s Opposition to Han’s San Jose Hospitality LLC’s Motion Clarifying that the Automatic Stay
                                                                  27

                                                                  28   1
                                                                         The last four digits of the Reorganized Debtor’s federal tax identification number are 8972. The Reorganized Debtor’s
                                                                       mailing address is 91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

                                                                       DOCS_LA:332301.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42               Desc
                                                                                                     Main Document    Page 2 of 204


                                                                   1   is Not in Effect as to Non-Debtor Defendants, filed September 8, 2020 [Docket No. 892]. These

                                                                   2   exhibits are part of the official public judicial record of the U.S. Bankruptcy Court for the Central

                                                                   3   District of California or the Superior Court of the State of California for the County of Santa Clara

                                                                   4   and, thus, proper for judicial notice. Further, as public records, the exhibits are self-authenticating.

                                                                   5   See Fed. R. Evid. 901(b)(7), 1005.

                                                                   6
                                                                            EXHIBIT                                          DESCRIPTION
                                                                   7
                                                                                  1            Proof of Claim 5-1, filed by Han’s San Jose Hospitality LLC
                                                                   8
                                                                                               Law and Motion Tentative Rulings of the State of California Superior Court,
                                                                   9                           County of Santa Clara (Dept. 9, Hon. Mary E. Arand), August 15, 2019, 9:00
                                                                                  2            a.m, Calendar Line 2 [Case No. 19CV317221, consolidated with Case No.
                                                                  10                           19CV342187]
                                                                  11                           Han’s San Jose Hospitality LLC’s Response to Objection to Claim No. 60, and
                                                                                  3
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                               Motion to Estimate Claim for Voting Purposes [Docket No. 666]
                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13                           Han’s San Jose Hospitality LLC’s Limited Objection to Amended Disclosure
                                                                                  4
                                           ATTORNEYS AT LAW




                                                                                               Statement [Docket No. 456]
                                                                  14
                                                                                               Han’s San Jose Hospitality LLC’s Objection to Confirmation of Chapter 11
                                                                  15              5
                                                                                               Plan [Docket No. 714]
                                                                  16                           Findings of Fact and Conclusions of Law Regarding Motion to Confirm
                                                                                  6
                                                                                               Debtor’s 3rd Amended Plan of Reorganization [Docket No. 784]
                                                                  17

                                                                  18                           Joint Stipulation and [Proposed] Order Regarding Defendant Yueting Jia’s
                                                                                  7            Bankruptcy Case and corresponding Order [Superior Court of California,
                                                                  19                           County of Santa Rosa Case No. 17CV317221]

                                                                  20
                                                                       Dated: September 8, 2020                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                  21

                                                                  22
                                                                                                                      By    /s/ Malhar S. Pagay
                                                                  23
                                                                                                                            Richard M. Pachulski
                                                                  24                                                        Jeffrey W. Dulberg
                                                                                                                            Malhar S. Pagay
                                                                  25
                                                                                                                            Attorneys for Yueting Jia, Reorganized
                                                                  26                                                        Debtor

                                                                  27

                                                                  28

                                                                                                                     2
                                                                       DOCS_LA:332301.1 46353/002
Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                         Main Document    Page 3 of 204




                  EXHIBIT 1
           Case
            Case2:19-bk-24804-VZ
                 2:19-bk-24804-VZ Claim
                                   Doc 893
                                        5-1 Filed
                                             Filed 09/08/20
                                                   01/24/20 Entered
                                                            Desc Main
                                                                    09/08/20
                                                                       Document
                                                                             19:03:42Page
                                                                                        Desc
                                                                                          1 of
                                    Main Document97 Page 4 of 204
  Fill in this information to identify the case:

  Debtor 1              Jia Yueting
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________   District
                                          Central District      of __________
                                                           of California

  Case number            19-24804
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      Han's  San Jose Hospitality LLC
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Stephen D. Finestone
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     456 Montgomery St., 20th Fl
                                      ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      San Francisco              CA           94104
                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   (415) 421-2624
                                                       ________________________                                   Contact phone   ________________________

                                      Contact email   sfinestone@fhlawllp.com
                                                       ________________________                                   Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔
                                         No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                             page 1
           Case
            Case2:19-bk-24804-VZ
                 2:19-bk-24804-VZ Claim
                                   Doc 893
                                        5-1 Filed
                                             Filed 09/08/20
                                                   01/24/20 Entered
                                                            Desc Main
                                                                    09/08/20
                                                                       Document
                                                                             19:03:42Page
                                                                                        Desc
                                                                                          2 of
                                    Main Document97 Page 5 of 204

 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                         15,651,286.10 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                              No
                                                                             ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                             
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Breach of contract and other claims - see attached complaint
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a      No
    lease?
                                 ✔ Yes. Amount necessary to cure any default as of the date of the petition.
                                                                                                                             $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
           Case
            Case2:19-bk-24804-VZ
                 2:19-bk-24804-VZ Claim
                                   Doc 893
                                        5-1 Filed
                                             Filed 09/08/20
                                                   01/24/20 Entered
                                                            Desc Main
                                                                    09/08/20
                                                                       Document
                                                                             19:03:42Page
                                                                                        Desc
                                                                                          3 of
                                    Main Document97 Page 6 of 204

12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✔
                                         I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                   01/24/2020
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                   /s/ Peter Luo
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Peter Luo
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                 Han's San Jose Hospitality LLC
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                2220 O'Toole Ave.
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         San Jose                                        CA           95131
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                               Email         ____________________________________




 Official Form 410                                                           Proof of Claim                                                                 page 3
Case
 Case2:19-bk-24804-VZ
      2:19-bk-24804-VZ Claim
                        Doc 893
                             5-1 Filed
                                  Filed 09/08/20
                                        01/24/20 Entered
                                                 Desc Main
                                                         09/08/20
                                                            Document
                                                                  19:03:42Page
                                                                             Desc
                                                                               4 of
                         Main Document97 Page 7 of 204



         ATTACHMENT TO CLAIM OF HAN’S SAN JOSE HOSPITALITY LLC
                   IN RE YUETING – CHAPTER 11 CASE NO. 19-24804


 The claim of Han’s San Jose Hospitality LLC is based upon the allegations and claims set forth
 in the complaint which is attached as Exhibit A. The amount of the claim is based upon the
 calculations attached as Exhibit B.
Case
 Case2:19-bk-24804-VZ
      2:19-bk-24804-VZ Claim
                        Doc 893
                             5-1 Filed
                                  Filed 09/08/20
                                        01/24/20 Entered
                                                 Desc Main
                                                         09/08/20
                                                            Document
                                                                  19:03:42Page
                                                                             Desc
                                                                               5 of
                         Main Document97 Page 8 of 204




                              EXHIBIT A
     Case
      Case2:19-bk-24804-VZ
            2:19-bk-24804-VZ ClaimDoc 893
                                        5-1 Filed
                                             Filed 09/08/20
                                                   01/24/20 Entered
                                                            Desc Main
                                                                    09/08/20
                                                                       Document
                                                                             19:03:42Page
                                                                                        Desc
                                                                                          6 of
                                    Main Document97 Page 9 of 204
                                                                     E-FILED
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                                                                     Clerk of Court
      NELSON W. GOODELL, ESQ., SBN 264734
 1    The Goodell Law Firm                                           Superior Court of CA,
      5 Third Street, Suite 1100                                     County of Santa Clara
 2
      San Francisco, CA 94103                                        19CV342187
 3    Tel. No. (415) 495-3950 (office)                               Reviewed By: R. Tien
      Fax No. (415) 495-6900 (fax)
 4    nelson@goodelllawsf.com
 5    Attorney for Plaintiff
      HAN’S SAN JOSE HOSPITALITY LLC
 6
 7                   IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

 8                                FOR THE COUNTY OF SANTA CLARA

 9    HAN’S SAN JOSE HOSPITALITY LLC,                  )
                                                       ) Case No: 19CV342187
10                                                     )
      Plaintiff,
             v.                                        ) COMPLAINT FOR
11                                                     )
12                                                     )    1) Breach of Contract
      Jia Yueting, an individual; and Ocean View
                                                       )    2) Breach of Implied Covenant of Good
      Drive, Inc., a corporation; and DOES 1-10,       )       Faith and Fair Dealing
13
      Defendants.                                      )    3) Fraud
14                                                     )    4) Negligent Misrepresentation
                                                       )    5) Negligence
15                                                     )    6) Intentional Interference with
                                                       )       Contract
16
                                                       )
17                                                     )
                                                       )
18                                                     )
                                                       )
19                                                     )
                                                       )
20
21
      Plaintiff, Han’s San Jose Hospitality LLC (“Plaintiff”), on information and belief, alleges as
22
      follows:
23
24                                            INTRODUCTION

25        1. This is an action for breach of contract and related claims arising out of a written rental
26
              agreement (“Lease”) for the commercial property commonly known as 3553 North First
27
              Street, San Jose, CA 95134 (“Subject Property”).
28




                                                      -1-
     Case
      Case2:19-bk-24804-VZ
           2:19-bk-24804-VZ Claim
                             Doc 893
                                  5-1 Filed
                                      Filed 09/08/20
                                            01/24/20 Entered
                                                     Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                 Desc
                                                                                   7 of
                             Main Document 97 Page 10 of 204



         2. Defendant Jia Yueting, through several of his myriad business entities, has failed to pay
 1
 2            rent as per the terms of the written contact for the Subject Property since September

 3            2017.
 4
         3. The Plaintiff now seeks damages according to proof, as discussed below, to all
 5
              Defendants herein for material breach of a long-term lease.
 6
 7                                   JURISDICTIONAL ALLEGATIONS

 8       1.   Plaintiff HAN’S SAN JOSE HOSPITALITY LLC is, and was at all times material to
 9            this Complaint, a corporation organized and existing under the laws of the State of
10
              California, doing business in Santa Clara County, California.
11
         2. Defendant Jia Yueting is a national of the People’s Republic of China currently residing
12
13            in California, who runs several domestic and international businesses.

14       3. Defendant OCEAN VIEW DRIVE, INC. (“Ocean View Drive”) is, and was at all times
15            material to this Complaint a corporation organized and existing under the laws of the
16
              State of California.
17
         4. On information and belief, Plaintiff alleges that Ocean View Drive, Le Technology and
18
19            Faraday Future served as a alter egos for Jia Yueting, who routinely shuffles money

20            throughout his various corporate holdings in an effort to escape debts and obligations.
21
         5. Jurisdiction of the Court over the instant controversy is based upon Cal. Civ. Proc. § 88.
22
         6. Venue is properly placed in Santa Clara County, California, pursuant to Cal. Civ. Proc. §
23
24            392 as is it the closest court to the location of the Subject Property.

25       7.   At all times mentioned herein, whenever an act or omission of a business entity is
26            alleged, said allegation shall be deemed to mean and include an allegation that the
27
              business entity acted or omitted to act through its authorized officers, directors, agents,
28




                                                        -2-
     Case
      Case2:19-bk-24804-VZ
           2:19-bk-24804-VZ Claim
                             Doc 893
                                  5-1 Filed
                                      Filed 09/08/20
                                            01/24/20 Entered
                                                     Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                 Desc
                                                                                   8 of
                             Main Document 97 Page 11 of 204



            servants, and/or employees, acting within the course and scope of their duties, that the act
 1
 2          or omission was authorized and/or ratified by the business entity.

 3       8. Plaintiff is informed and believes, and thereon allege that at all mentioned times herein,
 4
            Defendants were agents, servants, employees, alter egos, superiors, successors in interest,
 5
            joint venturers and/or co-conspirators of each other and in doing the things herein after
 6
 7          mentioned, or acting within the course and scope of their authority of such agents,

 8          servants, employees, alter egos, superior, successors in interest, joint venturers and/or co-
 9          conspirators with the permission and consent of their co-defendants and, consequently,
10
            each Defendant named herein is jointly and severally liable to Plaintiff for the damages
11
            and harm sustained as a result of their wrongful conduct.
12
13                                     GENERAL ALLEGATIONS

14       9. For at least the past four years, Jia Yueting has used a myriad of corporations and
15          business entities to dupe the public, investors, and employees alike into believing that his
16
            network of business holdings comprise a cutting-edge technology company capable of
17
            fulfilling its promise to transform the electric car industry with a luxury, electric vehicle
18
19          that would eventually be fully autonomous and provide customers with the ultimate

20          "chauffeur-driven experience."
21
         10. Mr. Jia is a disgraced Chinese entrepreneur who amassed a fortune through a Chinese
22
            streaming video service, Le Technology or LeEco, known as the "Netflix of China."
23
24          According to one report, Mr. Jia believes that, with Le Technology/LeEco's success, he

25          could "take on every tech giant at once-Apple, Tesla, Netflix." Ryan Felton, "’Accidental
26          Billionaire': How the Outlandish Ambition of Faraday Future's Financier Brought the
27
28




                                                     -3-
     Case
      Case2:19-bk-24804-VZ
           2:19-bk-24804-VZ Claim
                             Doc 893
                                  5-1 Filed
                                      Filed 09/08/20
                                            01/24/20 Entered
                                                     Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                 Desc
                                                                                   9 of
                             Main Document 97 Page 12 of 204



            Startup to its Knees" November 17, 2017; available at https://jalopnik.com/accidental-
 1
 2          billionaire-how-the-outlandish-ambition-of-1820471805.

 3       11. Jia Yueting has run several of his businesses, including Faraday Future and Le
 4
            Technology, into the ground, which has caused Chinese regulators to call for Mr. Jia to
 5
            return to the country for questioning. Due to his Chinese companies' extensive and
 6
 7          lingering outstanding debts, Mr. Jia has been placed on an official "blacklist" by China's

 8          Supreme People's Court, the nation’s highest judicial body, which flags serial credit
 9          defaulters and prevents them from, among other things, being able to purchase flight and
10
            train tickets and certain other large-scale items. Raymond Zhong and Carolyn Zhang,
11
            "China Names and Shames Tech Tycoon with Debt Blacklist," The New York Times,
12
13          December 13, 2017, available at https://www.nytimes.com/2017/12/13/business/china-

14          blacklist-jia-yueting-leeco.html). On information and belief, Mr. Jia has yet to return to
15          China to answer for these other questionable business practices and possible crimes.
16
         12. Despite the intentional undercapitalization of Mr. Jia’s other corporations doing business
17
            in California, as will be discussed infra, Plaintiff alleges on information and belief that
18
19          Mr. Jia hides a good deal of his assets in Ocean View Drive, which holds significant real

20          estate assets in the Los Angeles area. Mr. Jia regularly transfers assets between these
21
            companies as a way to hide assets from creditors.
22
         13. Plaintiff is informed and believes, and thereon alleges, that at all times herein mentioned,
23
24          each of the Defendants was acting as an agent, representative, servant, partner, or

25          employee of each of the other Defendants and was acting in the course and scope of such
26          agency, employment and representation. Plaintiff is further informed and believes, and
27
            thereon alleges, that each of the Defendants directed, authorized, affirmed, consented to,
28




                                                     -4-
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   10
                           Main Documentof 97Page 13 of 204



           ratified, encouraged, approved, adopted, and/or participated in the acts or transactions of
 1
 2         each or any of the other Defendants as alleged herein.

 3      14. Reports of financial issues and mismanagement throughout Mr. Jia’s floundering
 4
           business empire began to surface by the end of 2016, and questions about the companies’
 5
           future and Mr. Jia’s mismanagement circulated throughout the automotive industry. See
 6
 7         Ex. 9 (David Z. Morris, "Faraday Loses More Execs, Adding to Widespread Problems,"

 8         Fortune, Dec. 24, 2016, available ·at http://fortune.com/2016/12/24/faraday-future-
 9         execs­depart/ (noting "Yeuting has admitted to overextending his resources, and has
10
           reportedly failed to deliver promised funding to Faraday Future")).
11
        15. On information and belief, throughout the end of 2016 and into 2017, as a result of Mr.
12
13         Jia’s financial mismanagement and lack of rational, competent leadership of his electric

14         car venture known as Faraday Future, high level executives began to resign, and the
15         company’s auditor — a Big Four accounting firm — pulled out of its contract due to
16
           findings of financial misconduct and inadequate records. Suppliers became unwilling to
17
           enter into contracts with Faraday Future for fear of not being paid, and rank-and-file
18
19         employees, frustrated with the company culture and lack of progress began to leave the

20         company in droves. Things have gotten so bad at the company that employees have
21
           started a GoFundMe campaign to cover their living expenses during furloughs. (Justin T.
22
           Westbrook, “Things are So Bad at Faraday Future There’s a GoFundMe for Employees,”
23
24         Jalopnik, Nov. 8, 2018. Available at https://jalopnik.com/things-are-so-bad-at-faraday-

25         future-theres-a-gofundme-f-1830319722).
26      16. Mr. Jia also blocked visibility into Faraday Future's financial dealings, which would
27
           later prove to be shady. On information and belief, the only individuals at Faraday Future
28




                                                   -5-
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   11
                           Main Documentof 97Page 14 of 204



           with access to its funds and with knowledge of the source of those funds were Mr. Jia and
 1
 2         Faraday Future executive Chaoying Deng, a close ally of Mr. Jia. Ms. Deng also serves

 3         as CEO for several of Mr. Jia’s other businesses, including Ocean View Drive, Inc. An
 4
           independent Big Four auditing company had attempted to audit Faraday Future in 2016,
 5
           but ended its relationship with the company due to, among other things, "no coherent
 6
 7         corporate structure [and]… a lack of proper internal controls; a lack of transparency from

 8         Faraday decision-makers; insufficient bank account procedures for the various LeEco
 9         enterprises (including Le Technology), resulting in funds being commingled; unclear
10
           records to document and assign debt to incoming funds; and the fact that it took six
11
           months to review the finances of a company barely two years old without resolution."
12
13         ("Inside the Mess at Faraday Future that Drove Out One of the World's Top Auditors,"

14         Jalopnik, June 7, 2017, available at https://jalopnik.com/inside-the-mess-at-faraday-
15         future-that-drove-out-one-of-1795736565).
16
        17. Indeed, Faraday’s own employees, including former Senior Accounting Manager
17
           Michael Do, have protested the fact that Faraday does not have formal accounting
18
19         procedures in place, but Chaoying Deng and Jia Yueting treated said protests with radio

20         silence.
21
        18. These desperate financial arrangements provided only very temporary relief from the
22
           consequences of Mr. Jia’s mismanagement. Throughout this time, when other options
23
24         failed, money would mysteriously appear in Faraday Future's accounts. Upon

25         information and belief, some of these mysterious cash infusions were from Le
26         Technology and Ocean View Drive Inc., whose funds Mr. Jia had previously
27
           commingled with those of Faraday Future. Other Faraday executives at the time,
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                                                   -6-
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   12
                           Main Documentof 97Page 15 of 204



           including Chief Financial Officer Stefan Krause questioned but was denied access to the
 1
 2         source of these funds, despite Mr. Krause’s position as Chief Financial Officer. Mr. Jia’s

 3         serial and rampant misuse of the corporate form is so pervasive that an East Caribbean
 4
           Court ordered Mr. Jia’s assets in Faraday Future frozen. (Kobre & Kim Wins Order
 5
           Against Chinese Billionaire Jia Yueting in International Enforcement, December 10,
 6
 7         2018, Kobrekim.com available at https://kobrekim.com/news/kobre-and-kim-wins-

 8         order-against-chinese-billionaire-jia-yueting-in-international-

 9         enforcement).

10      19. At the same time his car startup began to sputter out, Mr. Jia was funneling tens of
11
           millions of dollars into opulent mansions in posh Los Angeles suburbs. “In 2014, Los
12
           Angeles County property records show, a company called Ocean View Drive, Inc. bought
13
14         a six-bedroom, eight-bath mansion in the tony Los Angeles County neighborhood of

15         Rancho Palos Verdes for $7 million. One year later, the company bought two additional
16
           homes on the same street for just over $7 million each. In documents filed with the
17
           California secretary of state in 2016, [Mr. Jia] was listed as the CEO of Ocean View
18
           Drive, Inc…. [Mr. Jia] stayed at these cliffside estates from time to time over the past
19
20         year when he visited the business, but he has taken up permanent residence there after

21         leaving China [in the summer of 2017].” Sean O'Kane Burn Out: Inside Faraday
22
           Future’s Financial House of Cards; The Verge, Dec 12, 2017 Available at
23
           https://www.theverge.com/transportation/2017/12/12/16651026/faraday-future-
24
25         investigation-money-debt-finances-yueting.

26      20. Aside from living in Ocean View Drive’s mansions as his personal property, Ocean View
27         Drive has also been used by Mr. Jia’s other corporations as if they were their own.
28
           “Away from the financial problems that have very publicly plagued Faraday over the last



                                                    -7-
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   13
                           Main Documentof 97Page 16 of 204



           year, Ocean View—a shell company that’s part of Jia’s tech empire—has continued to
 1
 2         maintain the home in Rancho Palos Verdes as a centerpiece of the chaos that has grown

 3         to consume his startup. It has a nickname among Faraday’s execs—The Clubhouse—and
 4
           it serves a number of purposes, four sources familiar with Faraday told Jalopnik: It’s a
 5
           guesthouse for new employees, a space for company meetings, and a luxurious setting for
 6
 7         events, with a private chef ready to whip together exquisite meals for whatever occasion

 8         arises. Bottles of whiskey and wine valued up to $2,000 are a common fixture at
 9         Clubhouse gatherings, one source said.” Ryan Felton, ‘Accidental Billionaire', Infra.
10
        21. On top of using the Ocean View Drive properties as his personal luxury suite and a place
11
           to impress business associates of his other corporations, Jia has also use Ocean View
12
13         properties to stash assets. As such, Jia used his business assets to increase the lavishness

14         of his personal residence with the added benefit of hiding those assets from his creditors.
15         "Jia finds himself staring at a mountain of financial liabilities, which have continued to
16
           grow since the fall of 2016, when construction firm AECOM asked the company to
17
           cough up $21 million for past-due bills.... Eleven days after AECOM sent its letter,
18
19         records show, Ocean View submitted an application to construct new features at the

20         mansion in Ranchos Palos Verdes: a pool and a spa." Id.
21
        22. Though Ocean View Drive, Inc. is believed to be one of Mr. Jia’s more stable assets, it
22
           too has been the subject of mismanagement and abuse of the corporate privilege. These
23
24         abuses include commingling assets between Ocean View and his other companies,

25         treating corporate assets as personal property, deliberately underfunding Ocean View
26         Inc., and diverting Ocean View Drive Inc. assets to himself and other executives while
27
28




                                                    -8-
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   14
                           Main Documentof 97Page 17 of 204



           maintaining liability in the corporation. See: Bernal v. Ocean View Drive Inc., et al, Los
 1
 2         Angeles County Superior Court Case No. YC072104.

 3      23. Mr. Jia’s habitual abuse of corporate liability to shirk debts has led one federal court to
 4
           freeze Mr. Jia’s assets in Ocean View Drive Inc., Shanghai Lan Cai Asset Management
 5
           Co, Ltd. v. Jia Yueting, United States District Court for the Central District of California
 6
 7         Case No. 2:18-CV-10255 SJO.) While that case relates to Mr. Jia’s business debts in

 8         China, his domestic businesses are also facing a flood of lawsuits due to Mr. Jia’s debt
 9         avoidance. As the Federal Court that froze Ocean View Drive’s assets noted,
10
           “Respondent Jia's record of paying creditors is poor at best. There is other litigation in
11
           this district concerning Respondent's failure to pay creditors, and he has been added to
12
13         the Chinese government's national list of debt defaulters. It comes as no surprise that the

14         instant case stems from Respondent's failure to pay a debt.” Id at P. 4.
15      24. In the wake of Mr. Jia’s continued use of various corporations and shell companies to
16
           shield himself and various companies from liability, The United States District Court for
17
           the District of Central California upheld an alter ego theory between two of Mr. Jia’s
18
19         corporations while applying California law in denying a Motion to dismiss. The court

20         noted, “a commingling of funds and a disregard of corporate formalities between the two
21
           companies. Throughout the parent and subsidiary companies, there is a connection and
22
           intermingling between the employees, assets, and office locations. Thus, Vizio
23
24         sufficiently establishes facts in support of the proposition that LeLe Holding and LeEco

25         are interconnected in ownership (through Jia) and through a unity of interest (through
26         similarities in offices, employees, and intermingling of assets). See: Vizio Inc., v. LeEco
27
           LTD. et al., Case No. SA CV 17-1175, Doc.99 P. 29. The court went on to hold, “Vizio
28




                                                     -9-
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   15
                           Main Documentof 97Page 18 of 204



           alleges that the acts of LeLe Holding were used to perpetuate the fraud in order to avoid
 1
 2         the termination fee from the cancelled merger, and persuade Vizio to join the Framework

 3         Agreement. Id. ¶ 45. Because LeLe Holding and LeEco are intertwined in ownership and
 4
           by assets, it would be unjust to allow the parent company to escape liability when it was a
 5
           key player in enabling the alleged fraud of the subsidiary company.” Id. at 30-31.
 6
 7      25. It is worth noting here that LeEco, cited as a parent company by the United States Court

 8         for the Central District of California, is also a prominent player in this case. As will be
 9         discussed herein, LeEco in this case acted on behalf of Faraday Future in perpetrating an
10
           alleged fraud, among other causes of action. Faraday Future, in turn, is known to use
11
           Ocean View Drive Inc.’s property as it’s corporate “clubhouse,” as well as for a setting
12
13         for lavish company events and employee lodging. In addition, Mr. Jia also uses Ocean

14         View Drive properties as his personal residence. Thus, there is a directly-linked abuse of
15         the corporate privilege involving a unity of interest and ownership via commingling of
16
           assets, a disregard of corporate formalities, shared corporate officers, and use of same
17
           officers and employees between the corporate entities that directly cause Plaintiff’s
18
19         damage in this case, Mr. Jia, Ocean View Drive, Le Technology, Le Holdings, and

20         LeEco.
21
        26. As will be discussed herein, Mr. Jia’s has used the corporate privilege to play Three Card
22
           Monte with his debtholders. When one company is facing debt troubles, assets are shifted
23
24         between corporate and personal holdings to make the debtor corporation appear

25         financially insolvent to gain negotiating leverage. These corporations held out as on the
26         verge of bankruptcy, somehow managed to evade bankruptcy for years on end. On
27
           information and belief, this is accomplished by shuffling cash back into these
28




                                                    - 10 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   16
                           Main Documentof 97Page 19 of 204



           corporations from other corporations owned by Mr. Jia and Mr. Jia’s personal assets.
 1
 2         These abuses have been employed to allow Jia to stiff debtholders from China to the

 3         Caribbean to California. To continue to allow Mr. Jia to manipulate the corporate form to
 4
           breach contracts, commit fraud, and shirk his debts would clearly give rise to inequitable
 5
           results.
 6
 7                                     STATEMENT OF FACTS

 8      27. On or about March 15, 2016 Plaintiff’s predecessor-in-interest and Mr. Jia’s companies
 9         Le Technology and Le Holdings entered into a written agreement to rent to Defendants
10
           the premises located at 3553 North First Street, San Jose, California 95134 (“Subject
11
           Property”). The Lease was for 10 years, beginning on March 15, 2016 until February 28,
12
13         2026. The “Monthly Installment of Base Rent” began at $193,826.25 and increased each

14         after each twelve-month period. From March 1, 2017 to February 28, 2018, the time
15         period for which the present controversy began, the monthly rent was set at $199,856.40,
16
           approximately $6,661.88 per day. (See Lease, attached as Exhibit 1, pg. 2). From March
17
           1, 2018 – February 28, 2019, the monthly rent was set at $205,886.55
18
19      28. The Lease states rent “shall be paid in advance on or before the first day of each calendar

20         month.” (Exh. 1, pg. 8 ¶ 3.1.) Le Technology and Le HOLDINGS have failed to pay rent
21
           since September 1, 2017. To date, the base rent owed is $3,663,816.85.
22
        29. The Lease also contains a provisions concerning “Additional Rent Upon Default by
23
24         Tenant” in which Tenants must pay “within ten (10) days after a Default on the Lease as

25         Additional Rent all Inducements incurred or granted prior to the Default including: (i)
26         payment of the Allowance ( as described in the Tenant Work Letter); (ii) commissions to
27
           Landlord’s and/or Tenant’s real estate broker; and/or (iii) attorneys’ fees and related costs
28




                                                   - 11 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   17
                           Main Documentof 97Page 20 of 204



           incurred and/or paid by Landlord in connection with the negotiation and preparation of
 1
 2         this Lease.” (Exh. 1, pg. 8-9 ¶ 3.2.) To date, Tenant has not paid any Additional Rent.

 3      30. Also, as per terms of the lease, any rent not paid within 10 days after notice shall bear an
 4
           interest rate of 12% from its due date until paid. (Exh. 1, pg. 8-9 ¶ 3.1.)
 5
        31. The Lease requires Tenants, Le Technology and Le Holdings, to pay certain expenses in
 6
 7         addition to rent, including (1) expenses for maintaining the building, such as insurance

 8         and landscaping fees; (2) their share of taxes for the year; (3) and a Management Fee,
 9         which is equal to 3% of the of the total rent (Base rent and Additional rent) payable by
10
           the Tenant for the year. (Exh. 1, pg. 9 ¶ 4 – Expenses and Taxes.) To date, these
11
           additional expenses plus the Base rent constitute millions of dollars in losses to the
12
13         Plaintiff.

14      32. Per the terms of the Lease, Tenants under the lease are permitted to sublet the Premises
15         only under specific terms and conditions.
16
                   Paragraph 14.8.1 Permitted Affiliate Transfer So long as Le
17                 Technology and/or Le Holdings…is the Tenant and in occupancy and
                   possession of at least seventy-five percent (75%) of the Premises, Tenant
18
                   shall have the right to assign this Lease or sublease the Premises (or any
19                 portion thereof) to an affiliate of Le Technology and/or Le Holdings…so
                   long as (i) at least 15 business days before the Transfer, Tenant notifies
20                 Landlord of Such Transfer and delivers to Landlord any documents or
                   information reasonably requested by landlord relating thereto, including
21
                   reasonable documentation that the Transfer satisfies the requirements of
22                 this Section 14.8.1…(iii) the Affiliate has a net worth…immediately after
                   the Transfer that is reasonable sufficient to fulfill the obligations on party
23                 of the Tenant to be performed or observed under this Lease…and (v) the
24                 Transfer is made in good faith operating business purpose and not in order
                   to evade the requirements of this Section 14.
25
           (Exh. 1, pg. 22 ¶ 14.8.1.)
26
27      33. Mr. Jia’s alter egos LE TECHNOLOGY and LE HOLDING never told Plaintiff,

28         Landlord, about an unauthorized occupant/subtenant of theirs, which is another alter ego




                                                    - 12 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   18
                           Main Documentof 97Page 21 of 204



           of Mr. Jia, FARADAY FUTURE, prior to this company taking possession of the subject
 1
 2         property. FARADAY and LE TECHNOLOGY employees refer to the other company as

 3         a “sister” company or a “parent” company.
 4
        34. All three companies, along with Ocean View Drive, were founded by Jia Yueting, who
 5
           continues to own a substantial portion of all four companies and continues to run all four
 6
 7         companies. Indeed, it is common knowledge for employees of all four companies that Jia

 8         Yueting runs all of them. Jia Yueting regularly transfers assets between all four
 9         companies in order to avoid liability and in order to avoid paying creditors. For this
10
           reason, Jia Yueting is being sued by many other creditors, several of which are also
11
           seeking to pierce the corporate veil of his various entities. Jia Yueting has created
12
13         hundreds of shell corporations to hide his assets in order to avoid liability, including

14         LeEco, LeEco Global Group, Le Technology, Le Holdings, Ocean View Drive, Faraday
15         Future, and LeLe Holding. For its part, Ocean View Drive has no employees and Ms.
16
           Deng has testified under oath that it is merely a holding company in which to hold title to
17
           real property. Indeed, Ms. Deng testified that it was established “strictly” to purchase
18
19         real property. Ocean View Drive has purchased real property worth over $20 million, to

20         date, notwithstanding the massive amount of debt that Jia Yueting has incurred
21
           internationally to various creditors.
22
        35. Indeed, Jia Yueting, himself and through his agents, uses the fact that his companies are
23
24         undercapitalized and that his companies money is offshore as a bargaining chip in trying

25         to settle its debts by telling creditors that they should take far less than they are owed
26         since their money will be hard to locate. Indeed, Le Technology representative Qing Ye
27
           used this play against the Plaintiffs, as is described herein.
28




                                                    - 13 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   19
                           Main Documentof 97Page 22 of 204



        36. Had Jia Yueting’s shell corporations abided by their Lease and informed Plaintiffs that
 1
 2         they had a subtenant, Landlord would have exercised their rights under ¶14.8.1 of the

 3         lease and asked for documents demonstrating the net worth of Faraday Future.
 4
           International news organizations have been reporting that Faraday Future and Le
 5
           Technology/LeEco do not have sufficient net worth to sustain their operations. Had
 6
 7         Plaintiff known of these subtenants, they would never have consented. Moreover,

 8         Plaintiff would have been well within their rights not to consent, given the failing
 9         financial health of all three parties and their power to deny such subtenants under the
10
           lease agreement.
11
        37. All of Mr. Jia’s business enterprises share many of the same officers, directors, and
12
13         ownership interests. Mr. Jia founded and owned a substantial share in all four companies,

14         and essentially ran all of them as his own private company. Dongge Jiang signed the
15         lease at issue in this case on behalf of Le Holdings, and he also was an officer and
16
           director of both Le Technology and Faraday Future. Mr. Dongge Jiang is one of the
17
           central figures at Faraday and is a leader of the company. For her part, Chaoying Deng
18
19         was identified as the Chief Executive Officer of both Le Technology and Faraday Future

20         during the times that both companies occupied the Subject Property. On information and
21
           belief, Plaintiff alleges that Ms. Deng worked for LE HOLDINGS as well. Chaoying
22
           Deng is also listed as the CEO, CFO, and Secretary of Ocean View Drive Inc, according
23
24         to their 2018 filings with the California Secretary of State. Despite this corporate

25         formality, Jia Yueting is the true leader and head of Ocean View Drive, just as he is with
26         Le Technology, Le Holdings, Faraday Future and the hundreds of other shell corporations
27
           he has founded throughout the years.
28




                                                   - 14 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   20
                           Main Documentof 97Page 23 of 204



        38. Without permission from the Plaintiff, Le Technology’s representative Dan McGill
 1
 2         entered into an oral sublease agreement with Faraday representative John Quach in which

 3         Faraday was obligated to pay $110,000 per month, which constituted the total
 4
           consideration that FARADAY was obligated to pay Le Technology/Le Holdings for rent.
 5
           Chaoying Deng, the Chief Executive Officer of both companies, agreed to this
 6
 7         arrangement, and her agreement was further ratified and agreed to by Jia Yueting. This

 8         figure was determined by analyzing the amount of the Subject Property that Faraday
 9         occupied. On this point, the vast majority of the employees of the Subject Property from
10
           July 2017 until the Defendants vacated the Subject Property in November 2017 were
11
           Faraday employees. During this time period, the vast majority of the Subject Property
12
13         was vacant.

14      39. This sublease agreement was memorialized and evidenced in invoices submitted by Le
15         Technology/Le Holdings in September and October 2017 that demanded payment of
16
           $110,000 for both of these months.
17
        40. Despite this agreement, Faraday never paid a penny in rent to the other Defendants in this
18
19         case, nor have they, Mr. Jia, or any of his businesses paid a penny in rent to the Plaintiffs

20         as part of this sublease agreement.
21
        41. Chaoying Deng testified under oath in another case that, while she was identified as the
22
           CEO of Le Technology, this was done against her will and that she was merely a “paper
23
24         CEO.” Mr. Jia is, in practice, the ultimate executive authority in all of his businesses.

25      42. Plaintiff never informed Le Technology, Le Holdings, Faraday Future or any of the
26         Defendants herein that they consented to Faraday being a subtenant or occupying the
27
           property in any fashion.
28




                                                    - 15 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   21
                           Main Documentof 97Page 24 of 204



        43. On information and believe, Plaintiff also alleges that Defendants breached paragraph
 1
 2         14.8.1, as it requires that a “transfer [be] made for a good faith operating purpose and not

 3         in order to evade the requirements of this Section 14.” Section 14, paragraph 14.2. states
 4
           that a landlord cannot withhold consent for a proposed transfer unless “[t]he proposed
 5
           transferee has a character or reputation or is engaged in a business that is not reasonable
 6
 7         consistent with the quality of the Building or the Project” (Exh. 1, pg. 20 ¶ 14.2.2) among

 8         other reasons. In these recent times, the character and reputation of Mr. Jia’s companies
 9         involved in the lease has been abysmal, as noted above, and Plaintiff would never have
10
           consented to any affiliates of Le Technology or Le Holdings, including LeEco or Faraday
11
           Future, to take possession of the property as the direct result of their international
12
13         attempts to avoid their obligations as reported by numerous international news

14         organizations.
15      44. Additionally, the Lease provides that “Any sublease, license, concession or other
16
           occupancy agreement entered into by Tenant shall be subordinate and subject to the
17
           provisions of this Lease, and if this Lease is terminated during the term of any such
18
19         agreement, Landlord shall have the right to: (i) treat such agreement as cancelled and

20         repossess the Contemplated Transfer Space by any lawful means, or (ii) require that the
21
           transferee atom to and recognize Landlord as its landlord (or licensor, as applicable)
22
           under such agreement. If Tenant is in Default, the Landlord is irrevocably authorized, as
23
24         Tenant's agent and attorney-in-fact, to direct any transferee under any sublease, license or

25         other occupancy agreement to make all payments under such agreement directly to
26         Landlord (which Landlord shall apply towards Tenant's obligations hereunder) until such
27
           Default is cured. Such transferee shall rely upon any representation by Landlord that
28




                                                    - 16 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   22
                           Main Documentof 97Page 25 of 204



           Tenant is in Default, without any need for confirmation thereof by Tenant.” (Exh. 1, pg.
 1
 2         22 ¶ 14.7.) Le Technology failed to pay rent beginning with September 1, 2017. Plaintiff

 3         is thus entitled to the consideration that Faraday Future owes to Le Technology and Le
 4
           Holdings to cure their default, which amounted to $110,000 per month.
 5
        45. Paragraph 15.2 of the Lease details that upon expiration or early termination of the Lease,
 6
 7         the Tenant, without expense to the Landlord, shall remove from the Premises all debris

 8         and rubbish, all furniture, equipment, trade fixtures and other articles of personal property
 9         owned or placed by Tenant and repair all damage to the premises and building resulting
10
           from such removal. (Exh. 1, pg. 22-23 ¶ 15.2.) Upon the Defendants leaving the property,
11
           the Plaintiffs re-entered the property on December 4, 2017 and noticed about 80 ceiling
12
13         tiles were gone, and large amounts of trash and the company name signs were left behind.

14         The Defendants also took 12 Electric Vehicle Charging Systems from the parking lot.
15         Defendants thus failed to surrender the property in the as per the required terms of the
16
           Lease and breached the contract.
17
        46. Upon a default, the Landlord may terminate the Lease, and the Landlord may recover
18
19         from the Tenant:

20             a. The worth at the time of award of the unpaid Rent which had been earned
                  at time of such termination; plus
21
               b. The worth at the time of award of the amount by which the unpaid Rent
22                which would have been earned after termination until the time of award
                  exceeds the amount of such rental loss that Tenant proves could have been
23                reasonably avoided; plus
24             c. The worth at the time of award of the amount by which the unpaid Rent
                  for the balance of the Term after the time of award exceeds the amount of
25                such Rent loss that Tenant proves could be reasonably avoided; plus
               d. Any other amount necessary to compensate Landlord for all the detriment
26                proximately caused by Tenant's failure to perform its obligations
27                hereunder or which in the ordinary course of things would be likely to
                  result therefrom, Including brokerage commissions, advertising expenses,
28                expenses of remodeling any portion of the Premises for a new tenant




                                                   - 17 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   23
                           Main Documentof 97Page 26 of 204



                  (whether for the same or a different use), and any special concessions
 1
                  made to obtain a new tenant; plus
 2             e. At Landlord's option, such other amounts in addition to or in lieu of the
                  foregoing as maybe permitted from time to time by Law.
 3
           (Exh. 1, pg. 25-26 ¶ 19.2.1) Despite hiring and consulting with numerous premier
 4
 5         real estate brokers, Plaintiffs have been unable to re-let the premises to date. As

 6         a result of Paragraph 19.2.1 above, Plaintiff alleges that Defendants are liable for
 7
           unpaid rent since their breach and until a new tenant is found, as well as brokerage
 8
           costs and any renovations done to the building for the new tenant, the exact
 9
10         determinations of these damages will be determined at trial.

11      47. Shortly prior to their default on the lease, in August 2017, Qing Ye, on behalf of Le
12         Holdings and Le Technology and Jia Yueting, wrote the Chief Executive Officer of the
13
           Plaintiff, Peter Luo, an e-mail in which he threatened to file bankruptcy unless the
14
           Plaintiff would agree to accept two months of rent in full satisfaction of their rental
15
16         obligations, which extended another nine years. Mr. Ye did not mention Faraday or their

17         occupancy of the property in this e-mail. On information and belief, the Plaintiff alleges
18
           that Mr. Ye acted at the direction of Defendant Jia Yueting.
19
        48. In this e-mail, Mr. Ye stated that Le Technology, the domestic subsidiary of Le Holdings,
20
           had only $2 to $2.5 million in cash, but had $7 million in debt. Thus, by Mr. Ye’s own
21
22         admissions, Le Technology was heavily undercapitalized. In the e-mail, Mr. Ye stated

23         that they would file for bankruptcy unless the Plaintiff agreed to accept the two additional
24
           months in rent mentioned above, plus the forfeiture of their security deposit (which
25
           effectively was approximately another month in rent).
26
27      49. On October 3, 2017 Plaintiff personally served a Notice to Pay Rent or Quit on the Mr.

28         Jia’s tenants at the Subject Property. A copy of the Notice to Pay Rent or Quit was also




                                                    - 18 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   24
                           Main Documentof 97Page 27 of 204



           sent via Federal Express courier for overnight delivery and overnight mail to the
 1
 2         Defendant’s at the Subject Property and arrived on October 4, 2017. The Notice

 3         included an election of forfeiture of the lease.
 4
        50. On November 30, 2017 Le Technology mailed a letter to Plaintiff’s counsel stating
 5
           they, along with Le Holdings, had vacated the Subject Property. The letter also
 6
 7         contained a key to the Subject Property.

 8      51. Thereafter, Plaintiff elected to terminate the Lease and the Le Technology, Le
 9         Holdings, and Faraday Future’s right to possession thereunder pursuant to the lease and
10
           Civil Code section 1951.2.
11
        52. Despite Plaintiff’s best diligent efforts, the Plaintiff has been unable to re-lease the
12
13         premises to date.

14      53. Accordingly, the Plaintiff has been harmed by Mr. Jia and his fictitiously-separate
15         corporations’ material breach of the lease by failing to pay rent, in accordance with the
16
           lease.
17
        54. As a result of the unity of interest, abuse of the corporate privilege, lack of corporate
18
19         formalities, intentional asset commingling, and deliberate undercapitalization used to

20         avoid liability common among all of Mr. Jia’s businesses Mr. Jia individually and each
21
           of his companies are jointly and severally liable for the actions of each other.
22
                                       FIRST CAUSE OF ACTION
23
24                                      BREACH OF CONTRACT

25                                       (Against All Defendants)
26      55. Plaintiff re-alleges and incorporates by reference the allegations in all paragraphs above
27
           as though fully set forth herein.
28




                                                     - 19 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   25
                           Main Documentof 97Page 28 of 204



        56. Plaintiff is informed and believes, and based thereon alleges, that at all relevant times
 1
 2         there existed a unity of interest and ownership between Jia Yueting, Ocean View Drive

 3         Inc., Le Holdings, Le Technology, and Faraday Future in that Mr. Jia founded, runs, and
 4
           owns a substantial portion of all four companies. Plaintiff is further informed and
 5
           believes, and based thereon, alleges that adherence to the fiction of the separate existence
 6
 7         of Ocean View Drive, Inc., Le Technology, Le Holdings And Faraday Future would

 8         permit an abuse of the corporate privilege and promote injustice by protecting Mr. Jia
 9         from liability for the wrongful acts committed by them through or under the names of
10
           either or both of Le Holdings and/or Le Technology.
11
        57. On or about March 15, 2016 Defendants, Le Technology and Le Holdings, entered into a
12
13         Lease with Plaintiff’s predecessor-in-interest, Bsrep Rio Robles, LLC. to rent the

14         commercial office building commonly known as 3553 North First Street, San Jose,
15         California, 95134 from March 15, 2016 until February 28, 2026.
16
        58. The lease is a valid, enforceable, written contract.
17
        59. Jia Yueting was fully aware of the fact that his shell corporations listed above had entered
18
19         into this contract, and he directed his agents to sign this contract on behalf of his shell

20         corporations.
21
        60. According to page two of the Lease, the monthly rent would increase every 12 months.
22
           For the months of March 2017 – February 2018 Defendants were to pay Plaintiffs
23
24         $199,856.40 for each month as rent, approximately $6,661.88 per day. For the months

25         of March 2018 to present, Defendants were to pay $1,647,092.40. (Monthly installment
26         2018 rate $205,886.55 x 8 months) = [$1,647,092.40]
27
        61. In July 2017, at Mr. Jia’s direction, many Faraday employees moved into the Subject
28




                                                     - 20 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   26
                           Main Documentof 97Page 29 of 204



           Property. From that point on, the vast majority of employees at the Subject Property
 1
 2         worked for Faraday, and not the original leaseholders, Le Technology and Le

 3         Holdings.
 4
        62. In September 2017, Defendant Le Technology stopped paying rent and have made no
 5
           payments to Plaintiff since September 2017. As of today, Defendants owe well over $3
 6
 7         million in base rent.

 8      63. Thus, Defendants have breached their contractual duty under the lease by failing to pay
 9         rent for over a year.
10
        64. In addition, the Defendants breached the lease by failing to timely notify the Plaintiff
11
           and request permission before Faraday Future occupied the subject premises, as
12
13         described above.

14      65. On this score, Mr. Jia and Faraday Future were well aware of this prohibition on an
15         unauthorized use of the property as they are partners and affiliates with Le Technology.
16
           Moreover, Chaoying Deng and Dongge Jiang, the signatories to the lease on behalf of Le
17
           Technology and Le Holdings, respectively, both held high-level positions at Faraday
18
19         Future and Ocean View Drive, Inc. Moreover, Jia Yueting founded all four companies

20         and effectively ran all the companies.
21
        66. The unity of interest present between Le Technology and the inequitable result that
22
           would follow by not having Faraday liable for Le Technology's decision to breach the
23
24         lease with impunity is evidenced by Qing Ye's statement that Le Technology is

25         undercapitalized and could not, and would not, pay the Plaintiff for its lease obligations.
26         In addition, the fact that Faraday did not pay Le Technology a penny for its occupancy of
27
           the subject property, despite its sublease agreement, is telling, as it is equally telling that
28




                                                     - 21 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   27
                           Main Documentof 97Page 30 of 204



           both companies paid for each other's expenses willy-nilly and did not even invoice the
 1
 2         other companies. It is equally telling that both companies paid for each other's expenses

 3         as if they were a single corporate entity and did not even bother to invoice the other
 4
           company.
 5
        67. Indeed, the very nature of the sublease agreement does not pass the smell-
 6
 7         test. Chaoying Deng, who participated in the negotiations of the sublease agreement,

 8         was the Chief Executive Officer of Le Technology and Faraday Future, and Dongge
 9         Jiang worked for both companies at the time in a high-level position. In addition, Dongge
10
           Jiang signed the lease on behalf of Le Holdings. Jia Yueting was the majority shareholder
11
           of both companies, and the companies shared many other employees and intellectual
12
13         property, and other high-level officers interacted with vendors and employees of each.

14         Thus, effectively, Chaoying Deng and Jia Yueting negotiated with themselves in
15         determining the terms of the sublease. Moreover, that sublease was at best a legal fiction
16
           and at worst an outright fraud, as no money was ever actually exchanged. This type of
17
           commingling of funds led KPMG, one of the nation’s respected accounting firms, to
18
19         refuse to represent Faraday Future.

20      68. This type of behavior is not limited to the sublease between Le Technology and Faraday
21
           Future. Both companies, along with Ocean View Drive, Inc., frequently paid each other’s
22
           expenses, and were effectively treated as different arms of Mr. Jia Yueting’s personal
23
24         operations. Indeed, the companies almost never even submitted invoices to each other for

25         goods and services that they procured for the other company, let alone make any
26         payments to each other for said goods or services.
27
28




                                                   - 22 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   28
                           Main Documentof 97Page 31 of 204



        69. On this point, Jia Yueting decided to expense the amount of the monthly rent that
 1
 2         Faraday would pay Le Technology in Faraday’s expense account, even though Faraday

 3         never actually paid Le Technology. The amount that Mr. Yueting decided to expense on
 4
           Faraday’s books was not petty cash, but a six-figure amount on a monthly basis. On
 5
           information and belief, this was done as a ruse to try to make it appear that the two
 6
 7         companies were distinct in some way.

 8      70. Further examples of the lengths that Jia Yueting and Le Technology and Faraday Future
 9         went to attempt to draw a distinction between them is correspondence exchanged
10
           between the two companies where representatives of both companies drew up another
11
           artificial contract for Faraday to perform accounting services for far below fair market
12
13         value. In said correspondence, the representatives explicitly state that the reason they are

14         drawing up the contract is to attempt to give the appearance of the companies being
15         separate companies. Despite this contract, no money was ever exchanged between the
16
           two companies, even though Faraday was providing accounting services for them.
17
        71. According to the companies’ correspondence, the Faraday employee would perform the
18
19         following broad services (among others) for Le: “Customers billing,” “booking keeping

20         [sic],” “analysis and any other administrative work for Finance department.” The
21
           Statement of Work emphasizes in greater detail the intertwined nature of the work, which
22
           included reviewing “all invoices and check requests for approval,” “[working] closely
23
24         with all business department to ensure proper processing of invoices and approval.” In

25         addition, Dan Gallagher, Legal Director at LeEco, describes the contract as “a very
26         generic draft” that might be used in the future “to cover this and other potential services
27
           between the companies”, notwithstanding that not a red cent was being exchanged
28




                                                   - 23 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   29
                           Main Documentof 97Page 32 of 204



           between the two companies for said services. That a standing preexisting arrangement
 1
 2         existed, allowing Le and Faraday to exchange services while preserving the illusion of

 3         separation, highlights further the established and deliberate nature of the scheme to
 4
           illegitimately shield the assets of Mr. Jia and his other companies from liability
 5
        72. In effect, Mr. Jia not only used the corporate liability shield to protect his own assets
 6
 7         from the ignoble dealings of his various companies, he also used accounting gimmicks,

 8         commingled assets between fictitiously distinct businesses, and allowed companies to
 9         swap goods and services without remuneration to allow individual businesses to shirk
10
           liability.
11
        73. Chaoying Deng and Jia Yueting, two of the top executives at Ocean View Drive, Faraday
12
13         Future, and Le Technology, made this decision to not have Faraday pay Le Technology

14         for their rent for occupying the subject property, despite the sublease mentioned above.
15      74. On this point, the vast majority of employees at the subject property were Faraday
16
           employees, not Le Technology employees. Thus, on information and belief, the Plaintiff
17
           alleges that Jia Yueting directed Le Technology to sign the lease, rather than Faraday, in
18
19         order to avoid liability due to their knowledge that they were undercapitalized in order to

20         prevent having to pay their lease obligations.
21
        75. Indeed, there were Faraday employees working at the Subject Property prior to July
22
           2017, but it was not until the summer of 2017 that they entered into the sublease
23
24         agreement described herein.

25      76. Despite the fact that Faraday was paying for research and development and many other
26         expenses for Le Technology and vice-versa, very few invoices were exchanged between
27
           the two companies, as described earlier.
28




                                                     - 24 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   30
                           Main Documentof 97Page 33 of 204



        77. On this point, all three corporations were essentially used by Mr. Jia for his efforts to
 1
 2         build an electric car and to further his technology business. This is demonstrated by the

 3         fact that Faraday employees were pulled away from their regular duties to help Le
 4
           Technology develop the LeSee, a different electric car, and were not paid for doing so.
 5
           Moreover, Le Technology and Faraday Future shared intellectual property and Faraday
 6
 7         even helped patent designs with a Le Technology/LeEco logo.

 8      78. In addition, Ms. Deng stated that Le Technology paid “[Faraday Future] current office
 9         utilities + management for a while before we took over”, which further evidences that
10
           Faraday, not Le Technology, was essentially managing the affairs between the two
11
           companies in relation to their Bay Area commercial property.
12
13      79. In addition, Faraday and Le Technology and the other LeEco subsidiaries controlled and

14         owned by Jia Yueting had a similar arrangement with Faraday. A commercial property in
15         Hanford, California also contained a substantial number of employees for both
16
           companies, with Le Technology not paying a single penny in rent for occupying the
17
           premises, but with Le Mall (another Le Technology/LeEco affiliate that is partially
18
19         owned and ran by Jia) subleasing an entire floor of said building. In addition, Faraday

20         Future paid for Le Mall’s employee’s lunches and were not reimbursed for said lunches.
21
        80. Moreover, a substantial number of people worked for both Le Technology and Faraday
22
           Future besides Dongge Jiang, Chaoying Deng and Jia Yueting, including Vince Nguyen,
23
24         Joylyn Belli, and Shaojie Chu, among other employees.

25      81. Faraday’s Senior Accounting Manager, Michael Do, has testified in another case that
26         Chaoying Deng “lacked the experience to run the accounting for a company” the size of
27
28




                                                     - 25 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   31
                           Main Documentof 97Page 34 of 204



           Faraday. Mr. Do also testified that Faraday was run as an affiliate of Le
 1
 2         Technology/LeEco, with Ms. Deng wielding power at the various companies.

 3      82. Ms. Deng would bring in requests for money to Mr. Yueting, and deposits from Mr.
 4
           Yueting and his other companies would be “used to pay suppliers and the company
 5
           payroll” at Faraday. Some of this money would also go to Le Technology and other
 6
 7         subsidiaries, including Ocean View Drive.

 8      83. In addition, Ms. Deng and Mr. Yueting borrowed money against their personal residences
 9         to raise money for Faraday, evidencing a further unity of interest between Mr. Jia and his
10
           business entities.   Indeed, it is particularly telling that Ocean View Drive holds title to
11
           said properties, despite the fact that Jia Yueting and Ms. Deng resides in said properties
12
13         and further utilize said properties for other executives and guests to stay in.

14      84. Faraday’s Chief Financial Officer, Stefan Krause, also operated to sever relationships that
15         Le Technology/LeEco had with other individuals, due to his desire to untangle the
16
           company’s finances. However, Mr. Yueting refused to even explore the option of
17
           Chapter 11 bankruptcy, and instead decided to pursue a strategy of trying to avoid
18
19         contractual obligations that Le Technology and its affiliates, such as Faraday Future and

20         Ocean View Drive, owed to creditors. Senior Accounting Manager Michael Do
21
           confirmed in sworn testimony in another case that Mr. Krause left due to YT’s refusal to
22
           file chapter 11 bankruptcy and pay off his creditors.
23
24      85. On this point, Mr. Yueting’s refusal to file a Chapter 11 bankruptcy petition in order to

25         reorganize and pay his creditors caused his Chief Financial Officer, Stefan Krause, to
26         leave Faraday Future in protest.
27
28




                                                    - 26 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   32
                           Main Documentof 97Page 35 of 204



        86. Faraday Future shared the same office space with Le Technology during this time-period
 1
 2         and continues to share office space with Le Technology in Santa Clara. In addition, Jia

 3         Yueting heavily borrowed, and lent, from LE HOLDINGS, LE TECHNOLOGY, and
 4
           their various subsidiaries including Ocean View Drive, Inc., and provided no interest
 5
           loans in which he served as both a borrower and a lender. Following the creation of these
 6
 7         loans, Jia Yueting breached said loans and apologized in a public statement regarding

 8         said breach. In addition, Jia Yueting and Faraday Future personally held themselves out
 9         as responsible and, in fact, paid many debts of Le Technology and Le Holdings from
10
           their personal finances. Indeed, Faraday's Chief Financial Officer, Stefan Krause,
11
           personally investigated certain accounts that Le Technology was responsible for.
12
13      87. As a result of the many examples of the unities of interest described herein and the fact

14         that Le Technology and Le Holdings are inadequately capitalized, Mr. Jia is liable as an
15         alter ego of Le Technology and Le Holdings for these companies’ breach of the contract
16
           entered into with the Plaintiff. The seemingly incessant misuse of the corporate privilege,
17
           deliberate commingling of funds, and fraudulent accounting practices also makes Ocean
18
19         View Drive jointly and severally liable for the breaches of Le Technology and Le

20         Holdings. On this point, Ocean View Drive’s real estate holdings that exceed $20
21
           million, and which Chaoying Deng confirmed, were placed into the corporate form
22
           strictly to hold title. It is clear that this is Jia Yueting’s latest attempt to refuse to pay his
23
24         just debts through corporate subterfuge.

25      88. Indeed, as stated earlier, Chaoying Deng signed the lease on behalf of Le technology.
26         Ms. Deng, who testified that she was the “paper CEO,” was listed as the Chief Executive
27
28




                                                      - 27 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   33
                           Main Documentof 97Page 36 of 204



           Officer of both Le Technology, Ocean View Drive, and Faraday during the time that
 1
 2         Faraday occupied the subject property.

 3      89. Consequently, Faraday’s subsequent decision to enter into a sublease agreement with Le
 4
           Technology, at the behest of Jia, which permitted Faraday to occupy the property and was
 5
           in direct violation of the lease, is yet another factor that renders Mr. Jia personally liable
 6
 7         for Le Technology’s breach of the lease, and indicates that it would be inequitable unless

 8         he is held liable for Le Technology’s breach of the contract. This is particularly the case
 9         considering that Le Technology permitted Faraday Future to occupy the property for at
10
           least five months without paying a penny of rent due to the intentional
11
           undercapitalization of Faraday Future.
12
13      90. For her part, Ms. Deng testified in a separate case that she understood that the lease at

14         issue in this case that was entered into between the Plaintiff and Le Technology required
15         Faraday to make payments to the Plaintiff, in the event that the other companies defaulted
16
           on the lease, but that no payments were made from Faraday to the Plaintiff any way.
17
        91. Mr. Yueting reportedly has a net worth of over $3.8 billion, which makes these his
18
19         decision to use the corporate liability shield to breach of this lease with impunity

20         particularly egregious. This, coupled with the unity of interest between Mr. Jia and his
21
           business entities, is a clear-cut case of misuse of the corporate privilege to unjustly
22
           protect Mr. Jia’s mountain of personal wealth.
23
24      92. Indeed, there have been recent protests outside of Mr. Yueting’s offices in China from

25         other creditors furious about his refusal to repay their debts.
26      93. Many international news organizations, including Reuters and Fortune, have reported
27
           recently on Faraday Future and Le Technology’s financial woes.
28




                                                    - 28 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   34
                           Main Documentof 97Page 37 of 204



        94. The Plaintiff has fully performed under the contract and has satisfied all conditions
 1
 2         precedent thereunder by providing Le Technology and Le Holdings with the subject

 3         premises in good condition.
 4
        95. WHEREFORE, Plaintiff prays for judgment as set forth below.
 5
                                    SECOND CAUSE OF ACTION
 6
 7     BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

 8                                       (Against All Defendants)
 9      96. Plaintiff re-alleges and incorporates by reference the allegations in all paragraphs above
10
           as though fully set forth herein.
11
        97. The Plaintiff and Mr. Jia’s alter egos Le Holdings and Le Technology are in contract for
12
13         the lease of the Subject Property from March 2016 – February 2026. Every contract

14         imposes the duty of good faith and fair dealing upon the parties in performance and
15         enforcement of the contract.
16
        98. Defendants have acted in bad faith by not paying rent and making several
17
           misrepresentations to Plaintiff about their plan of action. Defendants have wrongfully and
18
19         intentionally breached the duty of good faith by failing to perform under the contract and

20         continuing to occupy the Subject Property for four months
21
        99. In addition, Le Technology and Le Holdings, at the direction of Mr. Jia, acted in bad faith
22
           by entering into a contract with the Plaintiff that specifically required any subtenant of
23
24         theirs to pay the rent to the Plaintiff in the event of their default on the lease. However Le

25         Technology and Faraday Future, at the direction and authorization of Jia, entered into a
26         sublease agreement that, despite calling for rent payments of $110,000 per month, Mr. Jia
27
           knew would never be paid due to the habitual practice of Mr. Jia’s various business
28




                                                    - 29 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   35
                           Main Documentof 97Page 38 of 204



           entities not paying each other for goods, services, and property shared between the
 1
 2         companies.

 3      100.       Making this matter even more egregious is the fact that Chaoying Deng and
 4
           Dongge Jiang were central figures at both Ocean View Drive, Le Technology, and
 5
           Faraday Future, as Ms. Deng was the CEO of all companies and Dongge Jiang was an
 6
 7         individual that is considered one of the leaders of Faraday. Mr. Jiang also signed the

 8         lease on behalf of Le Holdings at the direction of Mr. Jia
 9      101.       This act was particularly problematic and in bad faith of their contractual
10
           obligations because it required them to seek approval from the Plaintiff and provide
11
           assurance of any subtenant’s net worth prior to a sublease or other occupancy agreement
12
13         being entered into.

14      102.       Mr. Jia is further liable for breaching the implied covenant of good faith and fair
15         dealing for directing the businesses he controls to lie to the Plaintiff and the Plaintiff's
16
           lender, Industrial and Commercial Bank of China (USA) National Association, about
17
           their occupation of the property. Indeed, on July 14, 2017, Ms. Deng signed a
18
19         Subordination, Non-Disturbance and Attornment Agreement that explicitly stated that

20         “Tenant has not assigned, mortgaged, sublet, encumbered, or otherwise transferred any or
21
           all of its interest under the Lease and, during the term of the Loan, agrees to not… sublet
22
           any or all of its interest… without the prior written consent of Lender.” Thus, in spite
23
24         this written notarized document, Ms. Deng, on behalf of Mr. Jia and his alter-ego

25         businesses falsely represented that Le Technology had not sublet the Subject Property
26         when, in fact, they already had. Faraday Future had begun occupying the Subject
27
           Property several days prior to that, pursuant to the sublease agreement discussed earlier.
28




                                                     - 30 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   36
                           Main Documentof 97Page 39 of 204



        103.       Defendants’ breach of the covenant of good faith and fair dealing has proximately
 1
 2         and directly caused damages to Plaintiff.

 3      104.        In addition, for all of the reasons given above in this Complaint, Defendant Mr.
 4
           Jia is liable for this claim as an alter ego of Le Technology and Le Holdings. In addition,
 5
           Ocean View Drive is liable as an alter ego since it is apparent that it has been set up to
 6
 7         hold title to shield Jia and his other corporations for liability.

 8      105.       WHEREFORE, Plaintiff prays for judgment as set forth below.
 9                                    THIRD CAUSE OF ACTION
10                                               Fraud
                                        (Against All Defendants)
11
12      106.       Plaintiff re-alleges and incorporates by reference the allegations in all paragraphs

13         above as though fully set forth herein
14
        107.       Mr. Jia, through his agent Ms. Deng in an action he would later ratify, signed a
15
           Subordination, Non-Disturbance and Attornment Agreement on July 14, 2017. In that
16
           notarized agreement, Jia, Deng, and Le Technology represented to the Plaintiff and their
17
18         lender that, “[The] tenant has not assigned, mortgaged, sublet, encumbered, or otherwise

19         transferred any or all of its interest under the Lease and, during the term of the Loan,
20
           agrees to not… sublet any or all of its interest… without the prior written consent of
21
           Lender.”
22
23      108.       This statement was demonstrably false, as Le Technology, the name lessee, had

24         already subleased and allowed Faraday Future to occupy the majority of the premises.
25      109.       This was a material misrepresentation made to the Plaintiff. The Subordination
26
           agreement mentioned above was executed so that the Plaintiff obtain could a loan secured
27
           against the subject property. The gravity of this misrepresentation is difficult to
28




                                                     - 31 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   37
                           Main Documentof 97Page 40 of 204



           understate. The Plaintiff put the subject property itself on the line based on the
 1
 2         Defendant’s representation that he was the sole company occupying the premises.

 3      110.      The Plaintiff also unquestionably relied on the veracity of this statement. But for
 4
           this statement, the plaintiff would not and could not have mortgaged the subject property.
 5
           This belief was further reasonable because, as mentioned above, this was a notarized
 6
 7         statement, giving sufficient formalities to the document to make reliance justified.

 8      111.      The Plaintiff’s reliance on this document has also caused great damage to the
 9         plaintiff. Not only has this created the possibility of damaging the Plaintiff’s reputation
10
           with its primary lending institution, the substitution of a deficient sublessee that
11
           ultimately defaulted on the loan has forced the plaintiff to scramble and rearrange its
12
13         finances in order to meet the debt obligation.

14      112.      The Plaintiff additionally relied on the truthfulness of this statement because it
15         delayed their discovery of a fiscally unsound sublessee. Had the Defendant been truthful
16
           when signing this statement, or simply refused to sign it, the Plaintiff would have had
17
           notice of the sublet arrangement. Had the Defendant been truthful, the Plaintiff would
18
19         have been able to exercise its rights under the lease and force the Defendant to find a

20         financially sound subtenant. As noted above, this damaged the Plaintiff in that it
21
           increased their damages due to the breach. On this score, the Plaintiff has been damaged
22
           to the tune of over $4 million in unpaid base rent and other costs they are contractually
23
24         entitled to under the lease.

25      113.      In an additional instance of fraud, Defendants also entered into the Lease
26         Agreement with no intention of actually fulfilling the lease under the named lessee, Le
27
           Technology. Rather, Mr. Jia knew that, just like all of his companies habitually
28




                                                    - 32 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   38
                           Main Documentof 97Page 41 of 204



           commingled corporate officers and the assets they owned outright, that the subject
 1
 2         property would be used for fictitiously-separate business entities. Whether Le

 3         Technology, Faraday Future, Ocean View Drive, or any of the other dozens of
 4
           corporations Mr. Jia has founded and controls, their common modus operandi, indeed
 5
           their common pathology, is that they treat each other’s assets as interchangeable, just as
 6
 7         they did here.

 8      114.      As such, Mr. Jia, through Le Technology, materially misled the Plaintiff by
 9         entering into a contract they had no genuine intention of fully honoring.
10
        115.      Although Faraday Future occupied the majority of the property as of July 2017,
11
           Faraday employees had begun using the property long before that point. The Plaintiff
12
13         alleges on information and belief that Mr. Jia, via his alter ego Le Technology, entered

14         into the Lease agreement with the Plaintiff with no intention of actually having Le
15         Technology serve out the entirety of the lease. It was never the intent of Mr. Jia for Le
16
           Technology to be the sole occupant of the building.
17
        116.      This misrepresentation is unquestionably material, as Le Technology was only the
18
19         putative leaseholder. Mr. Jia, in yet another example of abuse of the corporate form,

20         essentially pulled a bait and switch on this lease. In the course of a 10-year lease, the
21
           leaseholder actually occupied the majority of the property for 16 months, and Faraday
22
           employees began moving in well prior to that date. ‘
23
24      117.      This material misrepresentation was made with an almost prima facie intent to

25         deceive. At the time, Le Technology had a much stronger reputation due to Mr. Jia’s
26         successes in the Chinese streaming video market. At the same time, Faraday Future was
27
           already in the throes of negative press and intractable debt issues. Though it remains
28




                                                    - 33 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   39
                           Main Documentof 97Page 42 of 204



           unknown whether Faraday’s undercapitalization was a product of corporate malfeasance
 1
 2         or genuine business infirmity, it is unquestionable that the Plaintiff would not have

 3         entered into the contract with Faraday Future directly. Jia was thus forced to defraud the
 4
           Plaintiff and misuse Le Technology’s good reputation in order to lease the premises in
 5
           the first place.
 6
 7      118.       This misrepresentation is made all the more deceitful because the Plaintiff

 8         specifically had clauses put into the rental agreement restricting the leaseholder from
 9         transferring more than a small portion of the lease to an affiliate of Le Technology, as
10
           evidenced by ¶14.8.1 of the contract. Here, the plaintiff didn’t just rely upon the
11
           representation made by Jia, they insisted on it.
12
13      119.       This second misrepresentation inflicted even greater damages on the Plaintiff than

14         the first. But for Mr. Jia’s misrepresentation as to the intended leaseholder, the Plaintiff
15         would not have entered into the contract with the would-be car manufacturer already
16
           teetering on the edge on insolvency. This act of fraud, therefore, is the nexus of the entire
17
           agreement, and all of the damages resulting from it are directly attributable to Mr. Jia’s
18
19         fraudulent misrepresentations.

20      120.       As a result of Jia’s intentional acts in reckless disregards of the Plaintiff’s rights,
21
           the Plaintiff is entitled to exemplary damages from Jia and Ocean View Drive. Moreover,
22
           Ocean View Drive is liable as an alter ego since it is apparent that it has been set as a
23
24         repository and to shield Jia and his other businesses for liability.

25
26                                    FOURTH CAUSE OF ACTION
27                                 NEGLIGENT MISREPRESENTATION
                                        (Against All Defendants)
28




                                                     - 34 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   40
                           Main Documentof 97Page 43 of 204



 1      121.       Plaintiff re-alleges and incorporates by reference the allegations in all paragraphs
 2         above as though fully set forth herein
 3      122.      Plaintiff also alleges, in the alternative, that even if the intent to deceive cannot be

 4         proved in relation to its Fraud claim, that Jia had no reasonable basis to believe that his
 5
           agreement not to sublease more than 25% of the premises to an affiliate.
 6
        123.       This is so because of the aforementioned habitual commingling of assets and
 7
 8         property between all of Mr. Jia’s business enterprises. By the time the lease was

 9         executed, Mr. Jia had already began residing in the “Clubhouse” owned by Ocean View
10         Drive Inc., and allowing Faraday to use the space for corporate events. It strains credulity
11
           to believe that Mr. Jia reasonably believed that, at no point, would one of his other
12
           enterprises occupy a significant portion of the subject property.
13
14      124.       Again, this misrepresentation was both intended to and in fact did induce reliance

15         on the part of the plaintiff. Mr. Jia was put on notice that the Defendant would not sign
16
           the contract without the protections of ¶14.8.1, and the Plaintiff relied on Jia’s
17
           representation that he would abide by the terms of that contract when the decision to
18
           finalize the agreement was made.
19
20      125.       Once more, this misrepresentation caused a great deal of damage to the Plaintiff.

21         As mentioned above, by subleasing a huge portion of the subject property to an affiliate
22
           in explicit contravention to the terms of the contract, Mr. Jia, through his corporate alter
23
           egos, prevented the Plaintiff from receiving the contractual assurances of the fiscal health
24
25         of the prospective subtenant it was contractually entitled to. Thus, with a subpar

26         subtenant contractually entitled to the majority of the premises, the Plaintiff was barred
27         from seeking a more fiscally sound subtenant.
28




                                                     - 35 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   41
                           Main Documentof 97Page 44 of 204



 1
                                          FIFTH CAUSE OF ACTION
 2                                               NEGLIGENCE
                                             (Against All Defendants)
 3      126.       Plaintiff re-alleges and incorporates by reference the allegations in all paragraphs
 4
           above as though fully set forth herein
 5
        127.       The Plaintiff further alleges that Mr. Jia has committed negligence in that he
 6
 7         selected a subtenant who he knew was — and indeed had caused to be — financially

 8         insolvent.
 9      128.       Le Technology, as an alter ego of Mr. Jia, had both a common law duty and a
10
           contractual duty to exercise reasonable care in selecting a subtenant. As in most business
11
           dealings, Le Technology owed the Plaintiff a duty of care not to make reckless or
12
13         negligent decisions that would cause damage to the plaintiff. Moreover, ¶14.7 if the rental

14         agreement also stated that, in the event of a default, the Plaintiff would be allowed to
15         collect rent from the subtenant directly. This created an additional duty tacit in the
16
           language of the contract that Le Technology owed the Plaintiff a duty of care.
17
        129.       This duty was breached when Le Technology, with full knowledge of Faraday
18
19         Future’s financial woes, elected to enter into a sublease agreement with them. Given all

20         of the negative press, financial mismanagement, and debt avoidance Faraday and Future
21
           had already engaged in at the time the sublease was executed, no reasonable landlord, and
22
           certainly not the plaintiff, would have entered into an agreement for over 8.5 years, with
23
24         obligations totaling more than $11 million. In spite of this knowledge, and for the benefit

25         of Jia and his various alter egos, Le Technology chose to enter into this agreement,
26         effectively shifting the risk of that decision on to the Plaintiff.
27
28




                                                     - 36 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   42
                           Main Documentof 97Page 45 of 204



        130.      This action on the part of Le Technology and Mr. Jia directly and proximately
 1
 2         caused many of Plaintiff’s damages. But for Jia’s decision to sublease the premises, the

 3         more fiscally sound Le Technology would have owed that rent directly to the Plaintiff.
 4
           However, as a result of the sublease agreement, the Plaintiff is now left untangling the
 5
           dense web of shell corporations and alter egos Mr. Jia uses to shield himself and his
 6
 7         various businesses from liability.

 8      131.      As can be reasonably expected for one of Mr. Jia’s business enterprises, the lease
 9         on the premises was eventually breached, with Le Technology and Faraday Future finally
10
           vacating the premises in November 2017. Both parties were contractually obligated to
11
           pay rent until February 2026, some 75 months in the future. Thus, Le Technology’s
12
13         decision to sublease the premises to Faraday future directly caused damages for the

14         unpaid portion of Faraday’s rent.
15      132.      As a result of the above-noted unity of interest, abuse of the corporate privilege,
16
           lack of corporate formalities, intentional asset commingling, and deliberate
17
           undercapitalization used to avoid liability common among all of Mr. Jia’s businesses
18
19         constitute a patently obvious attempt to misuse the corporate liability shield. As such,

20         refusing to pierce the corporate veil and impute liability to Mr. Jia and Ocean View
21
           would be patently inequitable.
22
                                    SIXTH CAUSE OF ACTION
23
24             INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS

25                                          (Against All Defendants)
26      133.      In the alternative, the Plaintiff seeks to recover damages against Mr. Jia and
27
           Ocean View Drive if there is no contract that can be enforced, alter ego or otherwise.
28




                                                   - 37 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   43
                           Main Documentof 97Page 46 of 204



        134.      The Plaintiff additionally seeks to recover damages against Mr. Jia for using one
 1
 2         of his businesses to interfere with the contractual relations of another, again proving a

 3         unity of interest and abuse of the corporate form.
 4
        135.      Defendants JIA instructed his companies, Le Technology and Le Holdings,
 5
           without permission, to invite Faraday Future to occupy the subject premises, despite the
 6
 7         fact that this violated explicit contractual obligations they owed to the Plaintiff.

 8      136.      Indeed, the founder and head of Le Technology, Mr. Jia, was also the founder and
 9         head of Faraday Future and Ocean View Drive. Faraday Future has been facing
10
           financial struggles of their own and did not contribute to any rent as an unauthorized
11
           occupant. As a result, Le Technology did not receive any funds from Faraday, which
12
13         affected their ability to meet their own rental obligations under the lease.

14      137.      As a result, Plaintiff alleges that Mr. Jia’s conduct intentionally interfered with the
15         rental contract between Le Technology and Han’s San Jose Hospitality and made
16
           performance by Le Technology more difficult or more expensive. Given the Mr. Jia’s
17
           unity of interest in these companies, these actions were ultimately taken for his own
18
19         personal benefit.

20      138.      On this score, Faraday Future was well aware of this prohibition on an
21
           unauthorized use of the property as they are, in their own employees’ words, a “sister”
22
           company of Le Technology, and Jia Yueting recently became the Chief Executive Officer
23
24         of Faraday Future.

25      139.      Mr. Jia reportedly has a net worth of over $3.8 billion, which makes his attempt to
26         breach this lease with impunity — an action taken for his own interest and against those
27
           of both of his companies —particularly flagrant.
28




                                                    - 38 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   44
                           Main Documentof 97Page 47 of 204



        140.      In addition, Jia Yueting has heavily borrowed from and then lent money to Le
 1
 2         Holdings, Le Technology and many of his business enterprises with no-interest loans.

 3      141.      Faraday, by and through its founder and alter ego Jia Yueting’s intentional
 4
           decision to interfere with the contract between the Plaintiff Le Technology was
 5
           particularly grievous as Faraday lied to the Plaintiff and the Plaintiff's lender, Industrial
 6
 7         and Commercial Bank of China (USA) National Association, about their occupation of

 8         the property. Indeed, on July 14, 2017, Ms. Deng signed a Subordination, Non-
 9         Disturbance and Attornment Agreement that explicitly stated that “Tenant has not
10
           assigned, mortgaged, sublet, encumbered, or otherwise transferred any or all of its
11
           interest under the Lease and, during the term of the Loan, agrees to not… sublet any or
12
13         all of its interest… without the prior written consent of Lender.” Thus, through this

14         written document that was notarized, Mr. Jia, through his agent Chaoying Deng and on
15         behalf Of LE TECHNOLOGY and on behalf of Faraday Future, falsely represented that
16
           Le Technology had not sublet the Subject Property when, in fact, they already had.
17
           Faraday had begun occupying the Subject Property several days prior to that, pursuant to
18
19         the sublease agreement discussed earlier. Moreover, by failing to inform the Plaintiff of

20         the sublease at this time, Mr. Jia, by and through his agents, prevented the discovering the
21
           breach of the contract. This curtailed their ability to cure the breach, exercise their rights
22
           under the contract, which included finding a more suitable tenant for the property.
23
24      142.      Moreover, in spite of the fact that Faraday’s founder and mastermind Mr. Jia were

25         well aware of the lease restrictions prohibiting Faraday’s taking possession of the
26         property as a subtenant or other occupant, Mr. Jia decided to interfere with the contract
27
           by ordering Le Technology and Le Holdings to break the contract by permitting them to
28




                                                    - 39 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   45
                           Main Documentof 97Page 48 of 204



           sublet the property at a rent of $110,000, with the tacit understanding that they would not
 1
 2         pay a penny for said occupancy. Again, this was part of a pattern where Mr. Jia’s

 3         companies, including Ocean View Drive, frequently procured goods, services, property,
 4
           and secured loans for the other, without ever paying each other for same. This is all done
 5
           because all four companies are essentially just arms of Jia Yueting’s personal business
 6
 7         operations. As described earlier, the lease required Le Technology to request permission

 8         from the Plaintiff before subletting the property, or permitting another person to occupy
 9         said property, and provided specific requirements of documentation demonstrating the
10
           subtenant or other occupant’s financial health and net worth.
11
        143.      In effect, Mr. Jia used the stronger name and reputation of Le Technology and Le
12
13         Holdings to secure the lease before handing it over to a nebulous startup that was already

14         suffering financial troubles. He thus used one of his companies to interfere with the
15         contractual relations of another, at the expense of the Plaintiff.
16
        144.      Considering that the vast majority of the subject property was vacant at the time
17
           that the sublease was entered into, Faraday’s intentional interference with the Plaintiff’s
18
19         contract with Le Technology and Le Holdings substantially harmed the Plaintiff. If Le

20         Technology had sublet the subject property to another tenant that had the requisite net
21
           worth and had the financial strength that the lease required, the Plaintiff could have, at a
22
           bare minimum, been paid that subtenant’s rent when LE TECHNOLOGY fell into default
23
24         on the lease, as the lease specifically requires. Indeed, because the vast majority of the

25         subject property was vacant, a suitable subtenant could have paid the vast majority of the
26         rent. Consequently, a suitable subtenant, rather than another shell corporation of Jia
27
28




                                                    - 40 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   46
                           Main Documentof 97Page 49 of 204



           Yueting that never had any intention of paying rent, may have prevented the lease from
 1
 2         ever falling to default in the first instance.

 3      145.       Indeed, the unauthorized sublease that Le Technology and Le Holdings entered
 4
           into with Faraday required Faraday to pay $110,000 per month in rent. If an adequate
 5
           subtenant had been procured, rather than Faraday, the Plaintiff would have received $1.5
 6
 7         million in rent to present date, notwithstanding Le Technology’s default on the lease with

 8         the Plaintiff.
 9      146.       Indeed, LeEco, Le Technology and all of its affiliates, including Faraday, were
10
           well-aware of the vast amount of negative publicity surrounding them during this time-
11
           period. Their awareness is evidenced by Le Technology's Director of Real Estate, Dan
12
13         McGill, stating in an e-mail that only one construction company would bid on a project

14         for them because all other companies were afraid that they would not be paid, like
15         countless other vendors. On information and belief, due to the extreme amount of
16
           negative publicity and the dismal state of their financial affairs, JIA and FARADAY
17
           deliberately concealed Faraday’s occupancy of the Subject Property, and their sublease
18
19         agreement, from the Plaintiff, as they knew that Plaintiff never would have consented to

20         their occupying the subject property. Rather, Plaintiff would have wanted a subtenant, or
21
           other occupant, that would actually pay rent to Le Technology and Le Holdings, which
22
           would have provided a much higher probability that Plaintiff would have been paid at
23
24         least some of the rent they were and still are due.

25      147.       As such, the unauthorized use of the property by Mr. Jia’s other business ventures
26         was a substantial factor in causing Plaintiff’s harm.
27
28




                                                      - 41 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
                                                      Desc Main
                                                             09/08/20
                                                                Document
                                                                      19:03:42Page
                                                                                Desc
                                                                                   47
                           Main Documentof 97Page 50 of 204



        148.        Jia’s conduct, as described herein, is malicious, fraudulent, and was done with
 1
 2          reckless disregard of the Plaintiff’s rights. As such, the Plaintiff is entitled to punitive

 3          damages against Jia. Moreover, due to flagrant abuses of the corporate privilege evincing
 4
            a unity of interest through the commingling of assets, common employees and corporate
 5
            officeholders, disregard for corporate formalities, and intentional undercapitalization,
 6
 7          both Mr. Jia and Ocean View Drive Inc. are also liable for the actions of the Le

 8          Technology and Faraday Future.
 9                                                PRAYER
10
     WHEREFORE, Plaintiff prays judgement jointly and severally against the defendants, and each
11
     of them, as follows:
12
13      1. Unpaid rent since September 1, 2017 with 12% interest;

14      2. For future unpaid pursuant to Civil Code section 1951.2 according to proof;
15      3. All unpaid Expenses and Taxes as provided for in the Lease;
16
        4. Costs incurred by Landlord in securing a new tenant;
17
        5. General damages according to proof;
18
19      6. Special damages according to proof;

20      7. Expectation damages according to proof
21
        8. For punitive damages;
22
        9. For interest as provided by law;
23
24      10. For costs of suit incurred herein, including attorney’s fees;

25      11. For such other and further relief as the Court may deem just and proper.
26
27
     Dated: January 25, 2019
28                                                                 The Goodell Law Firm




                                                     - 42 -
     Case
     Case 2:19-bk-24804-VZ
          2:19-bk-24804-VZ Claim
                           Doc 893
                                 5-1 Filed
                                      Filed09/08/20
                                            01/24/20 Entered
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                                                                                Desc
                                                                                   48
                           Main Documentof 97Page 51 of 204



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 2
                                                    By:
 3                                                        Nelson Goodell
                                                          Attorney for Plaintiff
 4                                                        Han’s San Jose Hospitality LLC
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                                           - 43 -
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              49
                      Main Documentof 97Page 52 of 204




                              Exhibit 1
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                       01/24/20 Entered
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                      Main Documentof 97Page 53 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                                 Desc Main
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              51
                      Main Documentof 97Page 54 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
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                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              52
                      Main Documentof 97Page 55 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                                                           Desc
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                      Main Documentof 97Page 56 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                           Document
                                                                 19:03:42Page
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                      Main Documentof 97Page 57 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                      Main Documentof 97Page 58 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 59 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                       01/24/20 Entered
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                                                           Document
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                      Main Documentof 97Page 60 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
                                                 Desc Main
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              58
                      Main Documentof 97Page 61 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
                                                 Desc Main
                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              59
                      Main Documentof 97Page 62 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
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                                                           Document
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                                                                           Desc
                                                                              60
                      Main Documentof 97Page 63 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                       01/24/20 Entered
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              61
                      Main Documentof 97Page 64 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                                                 19:03:42Page
                                                                           Desc
                                                                              62
                      Main Documentof 97Page 65 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              63
                      Main Documentof 97Page 66 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                                                              64
                      Main Documentof 97Page 67 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 68 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 69 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 70 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                                                           Desc
                                                                              68
                      Main Documentof 97Page 71 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 72 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 73 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                           Document
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                                                                           Desc
                                                                              71
                      Main Documentof 97Page 74 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                                 19:03:42Page
                                                                           Desc
                                                                              72
                      Main Documentof 97Page 75 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                                 19:03:42Page
                                                                           Desc
                                                                              73
                      Main Documentof 97Page 76 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                                 19:03:42Page
                                                                           Desc
                                                                              74
                      Main Documentof 97Page 77 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                      Main Documentof 97Page 78 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 79 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 80 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
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                      Main Documentof 97Page 81 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 82 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 83 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                       01/24/20 Entered
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                                                                 19:03:42Page
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                      Main Documentof 97Page 84 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                      Main Documentof 97Page 85 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              83
                      Main Documentof 97Page 86 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                       01/24/20 Entered
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                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              84
                      Main Documentof 97Page 87 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
                                                 Desc Main
                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              85
                      Main Documentof 97Page 88 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
                                                 Desc Main
                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              86
                      Main Documentof 97Page 89 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
                                                 Desc Main
                                                        09/08/20
                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              87
                      Main Documentof 97Page 90 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                       01/24/20 Entered
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              88
                      Main Documentof 97Page 91 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
                                                 Desc Main
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              89
                      Main Documentof 97Page 92 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                       01/24/20 Entered
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                                                                           Desc
                                                                              90
                      Main Documentof 97Page 93 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                                           Document
                                                                 19:03:42Page
                                                                           Desc
                                                                              91
                      Main Documentof 97Page 94 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
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                                                                 19:03:42Page
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                                                                              92
                      Main Documentof 97Page 95 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                       01/24/20 Entered
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                                                                              93
                      Main Documentof 97Page 96 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
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                                                                 19:03:42Page
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                                                                              94
                      Main Documentof 97Page 97 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
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                                                                              95
                      Main Documentof 97Page 98 of 204
Case
Case 2:19-bk-24804-VZ
     2:19-bk-24804-VZ Claim
                      Doc 893
                            5-1 Filed
                                 Filed09/08/20
                                       01/24/20 Entered
                                                 Desc Main
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                                                           Document
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                                                                           Desc
                                                                              96
                      Main Documentof 97Page 99 of 204




                             EXHIBIT B
                Case
                Case 2:19-bk-24804-VZ
                     2:19-bk-24804-VZ Claim
                                      Doc 893
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                                                                 Desc Main
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                                                                           Document
                                                                                 19:03:42Page
                                                                                           Desc
                                                                                              97
                                      Main Documentof 97Page 100 of 204



                                    Sep - Dec 17   Jan - Dec 18   Jan - Dec 19   Sub TOTAL      2020-2021 Estimate     Total

Rental loss                          781,335.15    2,446,518.00   2,530,940.10   5,758,793.25         5,287,580.10    11,046,373.35
Agent commission for new contract                                                                     1,518,564.06     1,518,564.06
Real Estate Taxes                    145,746.04     437,267.77     453,222.47    1,036,236.28           906,444.94     1,942,681.22
Repairs and Maintenance                 5,443.54    133,936.15       54,798.12    194,177.81            109,596.24      303,774.05
Legal Fee                              30,643.79      76,910.49      80,349.05    187,903.33            160,698.10      348,601.43
Utilities                                   0.00      96,616.87      59,220.23    155,837.10            118,440.46      274,277.56
Insurance Expense                       5,800.50      24,703.08      25,203.68     55,707.26             50,407.36      106,114.62
Landscaping and Groundskeeping          4,025.00      10,910.60      23,205.00     38,140.60             46,410.00       84,550.60
Staging Expenses                            0.00      11,223.73          91.98     11,315.71                183.96       11,499.67
Security                                    0.00       8,516.55        349.59        8,866.14               699.18         9,565.32
Advertising                                 0.00       3,199.00        492.72        3,691.72               985.44         4,677.16
Pest Control                                0.00        607.14            0.00        607.14                   0.00            607.14


Total Expense                        972,994.02    3,250,409.38   3,227,872.94   7,451,276.34          8,200,009.84   15,651,286.18
Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 101 of 204




                EXHIBIT 2
         Case 2:19-bk-24804-VZ      Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                       Desc
                                    Main Document   Page 102 of 204

                         SUPERIOR COURT, STATE OF CALIFORNIA
                               COUNTY OF SANTA CLARA
                                  Department 9, Honorable Mary E. Arand
                                          Catherine Pham, Courtroom Clerk
                                      191 North First Street, San Jose, CA 95113

               To contest the ruling, call (408) 808-6856 before 4:00 P.M.

                           LAW AND MOTION TENTATIVE RULINGS
                      DATE: August 15, 2019        TIME:     9:00 A.M.
                PREVAILING PARTY SHALL PREPARE THE ORDER OR AS STATED
                                    OTHERWISE BELOW.
               (SEE RULE OF COURT 3.1312 – PROPOSED ORDER MUST BE E-FILED BY
                            COUNSEL AND SUBMITTED PER 3.1312(C))

              EFFECTIVE JULY 24, 2017, THE COURT WILL NO LONGER PROVIDE
            OFFICIAL COURT REPORTERS FOR CIVIL TRIALS OR LAW AND MOTION
                 HEARINGS. SEE COURT WEBSITE FOR POLICY AND FORMS.

                               TROUBLESHOOTING TENTATIVE RULINGS
               If you see last week’s tentative rulings, you have checked prior to the posting of the
             current week’s tentative rulings. You will need to either “REFRESH” or “QUIT” your
              browser and reopen it. If you fail to do either of these, your browser will pull up old
                  information from old cookies even after the tentative rulings have been posted.

LINE #      CASE #                 CASE TITLE                                RULING
LINE 1   19CV342126        Jatinder Mann vs Cenlar FSB Ctrl/click on Line 1 for Tentative Ruling
                          et al
LINE 2   17CV342187        Han's San Jose Hospitality, Ctrl/click on Line 2 for Tentative Ruling
         (Consol. with    LLC vs Jia Yueting et al
         19CV342187)
LINE 3    19CV344274      Cecilia Mangaoang vs Special       Off calendar. The Court has dismissed this case.
                          Default Services, Inc. et al
LINE 4   17CV317909       Edward Gentile vs Paxio, Inc.      No tentative ruling. Parties are ordered to appear.
LINE 5   18CV325341       Sergio Castro et al vs Denis       Defendant has not filed any proof of service for
                          Aguirre                            Defendant’s motion to compel Plaintiff to serve
                                                             responses to Special Interrogatories, Set One and
                                                             Form Interrogatories, Set One, and although the
                                                             motion claims that the discovery requests are
                                                             attached, they are not. Accordingly, the motion is
                                                             ordered off calendar.
LINE 6   18CV325341       Sergio Castro et al vs Denis       Defendant has not filed any proof of service for
                          Aguirre                            Defendant’s motion to compel Plaintiff to serve
                                                             responses to Request for Production of Documents,
                                                             Set One, and although the motion claims that the
                                                             discovery request is attached, it is not. Accordingly,
                                                             the motion is ordered off calendar.
          Case 2:19-bk-24804-VZ     Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                      Desc
                                    Main Document   Page 103 of 204

                         SUPERIOR COURT, STATE OF CALIFORNIA
                               COUNTY OF SANTA CLARA
                                  Department 9, Honorable Mary E. Arand
                                          Catherine Pham, Courtroom Clerk
                                      191 North First Street, San Jose, CA 95113

               To contest the ruling, call (408) 808-6856 before 4:00 P.M.

                              LAW AND MOTION TENTATIVE RULINGS
LINE 7    16CV295197       Bay Area Property Developers Motion for leave to file amended answer. Counsel to
                           LLC vs San Jose Midtown      appear. Because of the timing of the order granting
                           Development LLC et al        the motion to withdraw and the service of this
                                                             motion, the now self-represented Plaintiff received
                                                             no notice of this hearing.
LINE 8    18CV335486     PETERSON POWER                      Plaintiff’s motion for entry of judgment pursuant to
                        SYSTEMS, INC., a                     CCP 664.6 on written stipulation was timely and
                        corporation dba PETERSON             properly served, is unopposed, and is GRANTED.
                        CAT vs RECYCLING                     Moving party shall submit a proposed order granting
                        SPECIALISTS, INC., a                 the motion and a separate judgment.
                        corporation
LINE 9                                            The motions by attorney Roy Stanley to withdraw as
          20141CV274670 K. Uhuru vs Next Generation
                                                  counsel for Defendants Next Generation LLC and
                        Investment Group, LLC, et al
                                                  Greg Valadez are DENIED without prejudice to
                                                  refiling the motion. No proof of service showing
                                                  service of the motion on the clients and all parties
                                                  has been filed. (See Rules of Court, Rule 3.1362,
                                                  which provides that the motion must be served on the
                                                  client and all parties.) When the motion is refiled, do
                                                  not combine different pleadings into a single
                                                  document, particularly proposed orders, and do not
                                                  attach attorney client communications. The
                                                  proposed order must be lodged and served with the
                                                  rest of the moving papers.
LINE 10 20141CV274670 K. Uhuru vs Next Generation See Line 9.
                      Investment Group, LLC, et al
LINE 11 20081CV104835 Lvnv Funding Llc vs C.       Appearance required. This motion was not served.
                      Espinola
LINE 12
LINE 13
LINE 14
LINE 15
Case 2:19-bk-24804-VZ        Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                   Desc
                             Main Document   Page 104 of 204

   Calendar line 1

   Case Name: Jatinder Mann vs Cenlar FSB et al
   Case No.:  19CV342126

           This is an action for wrongful foreclosure. The defendant almost exclusively
   mentioned in the complaint is Cenlar FSB, and it is apparent that CitiMortgage has no present
   involvement in Plaintiff’s loan. Regardless, on February 4, 2019, plaintiff Jatinder Mann
   (“Plaintiff”) filed his Complaint against defendants Cenlar FSB, CitiMortgage, Inc., and
   Quality Loan Service asserting causes of action for:
          1)      Violation of Civil Code § 2923.4;
          2)      Violation of Civil Code § 2923.5
          3)      Violation of Civil Code § 2923.6;
          4)      Violation of Civil Code § 2923.7;
          5)      Violation of Civil Code § 2924.11;
          6)      Violation of Civil Code § 2924.17;
          7)      Intentional misrepresentation;
          8)      Breach of the covenant of good faith and fair dealing; and
          9)      Breach of fiduciary duty (against defendant Select Portfolio Services,
                  Inc.);
          10)     Violation of Business & Professions Code section 17200, et. seq.
           Defendant CitiMortgage seeks judgment as to each of the twelve causes of action,
   asserting that the Complaint fails to state facts sufficient to constitute a cause of action against
   it.
          CitiMortgage’s motion for judgment on the pleadings
           CitiMortgage challenges the Complaint on the ground that it fails to state facts
   sufficient to constitute a cause of action against it. As CitiMortgage argues, there are almost
   no facts regarding it in the entire Complaint. In fact, the only mentions of CitiMortgage in the
   Complaint are found in the caption, that CitiMortgage signed a mortgage settlement document,
   that CitiMortgage “used” to be an assignee or servicer of the loan, and that CitiMortgage
   considered Plaintiff for a short sale before CitiMortgage stopped servicing the loan. Notably
   absent from the complaint are any allegations of wrongdoing by CitiMortgage.
           Plaintiff has filed no opposition or response to the demurrer. Plaintiff fails to
   demonstrate how the complaint may be amended as against defendant CitiMortgage. (See
   Goodman v. Kennedy (1976) 18 Cal.3d 335, 349 (stating that “Plaintiff must show in what
   manner he can amend his complaint and how that amendment will change the legal effect of
   his pleading”), quoting Cooper v. Leslie Salt Co. (1969) 70 Cal.2d 627, 636; see also Hendy v.
   Losse (1991) 54 Cal.3d 723, 742 (stating that “the burden is on the plaintiff… to demonstrate
   the manner in which the complaint might be amended”).) As Plaintiff did not file any
   opposition to the motion, he has failed to sustain his burden to show facts that would support
   an amended pleading. Accordingly, the motion for judgment on the pleadings by CitiMortgage
   is SUSTAINED without leave to amend.
Case 2:19-bk-24804-VZ      Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42             Desc
                           Main Document   Page 105 of 204

         After CitiMortgage serves this signed order, CitiMortgage shall submit a proposed
   judgment based on this order.
          The Court will prepare the Order.


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Case 2:19-bk-24804-VZ           Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                          Desc
                                Main Document   Page 106 of 204

   Calendar line 2

   Case Name: Han’s San Jose Hospitality, LLC v. Jia Yueting, et al.
   Case No:   17CV317221 (Consolidated with 19CV342187)

   I.      Background

           These consolidated cases arise from a complaint filed by Han’s San Jose Hospitality,
   LLC (“Plaintiff”) against Le Holdings, its domestic subsidiary, Le Technology (“Le”) and
   Faraday Future (“Faraday”) for damages associated with breach of a lease in case number
   17CV317221. Plaintiff subsequently filed the complaint at issue here against Jia Yueting
   (“Jia”) and one of his companies, Ocean View Drive, Inc. (“Defendant”) in case number
   19CV342187. The cases were consolidated on June 11, 2019, with matter 17CV317221 as the
   lead case.1

          According to the allegations of the complaint, Plaintiff leased a commercial property to
   Le in March of 2016, for a term of 10 years. (Complaint, ¶ 27.) Le has failed to pay rent since
   September of 2017, or any penalties associated with the default, and to date millions of dollars
   are owed. (Complaint, ¶¶ 28, 29.) Le also never informed Plaintiff that Faraday occupied the
   property as a subtenant, nor did Faraday pay for its use of the space. (Complaint, ¶¶ 33, 36,
   40)

           Defendant, Le, its parent Le Holdings, and Faraday are all corporations owned and
   operated by Jia. (Complaint, ¶ 4.) Jia uses corporate entities to shuffle money and escape
   debts and obligations, including in China where he has been flagged by the government as a
   serial credit defaulter. (Complaint, ¶¶ 4, 11.) Jia hides his assets in Defendant’s significant
   real estate holdings, including three homes in Los Angeles, valued at $7 million each.
   (Complaint, ¶¶ 12, 21.)

           Plaintiff asserts causes of action against Jia and Defendant for (1) breach of contract;
   (2) breach of implied covenant of good faith and fair dealing; (3) fraud; (4) negligent
   misrepresentation; (5) negligence; and (6) intentional interference with contract.

           Before the Court is Defendant’s demurrer to all six causes of action and request for
   judicial notice in support of the demurrer as well as Plaintiff’s request for judicial notice in
   opposition to the demurrer.

   II.     Judicial Notice

          Judicial notice may be taken of any matter authorized or required by law. (Fremont
   Indemnity Co. v. Fremont General Corp. (2007) 148 Cal.App.4th 97, 113, citing Evidence
   Code §§ 451 & 452.) A matter is subject to judicial notice only if it is reasonably beyond
   dispute. (Ibid.) Furthermore, any matter judicially noticed must be relevant to a material issue.
   (People ex rel. Lockyer v. Shamrock Foods Co. (2000) 24 Cal.4th 415, 422, fn. 2.)

           A. Defendant’s Requests

   1
    The demurrer was filed before the cases were consolidated, and therefore was originally calendared under
   19CV342187.
Case 2:19-bk-24804-VZ        Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                   Desc
                             Main Document   Page 107 of 204


           Defendant seeks judicial notice of four documents filed with the Secretary of State, and
   three court records.

           With respect to the documents on file with the Secretary of State, Defendant first seeks
   judicial notice of its articles of incorporation. These are referenced exclusively as background
   in the demurrer, in a statement about Defendant’s registry as a “California corporation
   registered and in good standing” but are not the basis for any substantive arguments in its
   points and authorities. (Def. Memo ISO Dem., p. 7 at 7-8.) The Court will deny this request,
   as the articles of incorporation are not the basis of any arguments and therefore lack relevance.

            Defendant next seeks judicial notice of three statements of information filed in 2016,
   2017 and 2019. While courts may take judicial notice of the existence of the fact that articles
   of incorporation are on file with the Secretary of State (See Cody F. Falletti (2001) 92
   Cal.App.4th 1232, 1236, fn. 2, emphasis added), they have not taken judicial notice of
   the contents of the articles of incorporation because they are documents “prepared by private
   parties [that are] merely on file with state agencies,” rather than representing official acts of the
   state. (People v. Thacker (1985) 175 Cal.App.3d 594, 598-599, emphasis added [denying
   request for judicial notice of articles of incorporation that were filed with the Secretary of
   State].)

           The statements of information are similar to articles of incorporation, because they
   were prepared by Defendant, and filed with the Secretary of State but do not represent official
   acts of the state. Defendant seeks notice of these matters as proof of who was or was not
   associated with Defendant at times relevant to the complaint. (Def. Memo ISO Dem., p. 10 at
   13-14; p. 14, fn. 9; and p 15 at 16-17.) This is improper as it seeks consideration of the
   documents’ contents rather than their mere existence. Therefore, this request for judicial notice
   will also be denied.

           As to the court records, Defendant first seeks judicial notice of the Fourth Amended
   Complaint filed by Plaintiff against Le and Faraday. A court in its discretion may take judicial
   notice of any court record. (Evidence Code § 451; Lockley v. Law Office Cantrell, Green,
   Pekich, Cruz & McCort (2001) 91 Cal.App.4th 875, 882.) However, the matters considered by
   the court may not be reasonably subject to dispute. (Ibid.) Defendant seeks judicial notice of
   the complaint as the basis of arguments about who is and who is not a defendant in that
   complaint. (Def. Memo ISO Dem., p. 18 at 3-6.) This is not reasonably subject to dispute, and
   the Court will take judicial notice of the Fourth Amended Complaint as requested.

            Finally, Defendant seeks judicial notice of the case summary and complaint in the Los
   Angeles Superior Court case of Miles Bernal v. Ocean View Drive Inc., et al., which is cited by
   Plaintiff in paragraph 22 of the present complaint. Defendant references the case in a footnote
   to its argument and seems unsure as to whether Plaintiff’s citation to the case was intended to
   support allegations of alter ego liability. However, paragraph 22 of the complaint does not
   refer to Bernal as dispositive of alter ego findings. Likewise, Plaintiff does not rely on Bernal
   in opposition to demurrer. Therefore, that case is not relevant, and judicial notice will not be
   taken of it.
Case 2:19-bk-24804-VZ        Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                   Desc
                             Main Document   Page 108 of 204

           Consequently, the Court grants Defendant’s requests for judicial notice of the Fourth
   Amended Complaint filed by Plaintiff against Le and Faraday. The Court denies Defendant’s
   other six requests for judicial notice.

          B. Plaintiff’s Requests

            Plaintiff also requests judicial notice of 29 matters in support of its opposition to
   demurrer on the issue of alter ego. However, the Court need not consider these matters as the
   allegations in the complaint regarding alter ego are sufficient to overcome the demurrer. (See
   e.g. Jordache Enterprises, Inc. v. Brobeck, Phleger & Harrison (1998) 18 Cal.4th 739, 748,
   fn. 6. [“[T]he request presents no issue for which judicial notice of these items is necessary,
   helpful, or relevant. Accordingly we deny the request…”].)

          Therefore, Plaintiff’s requests for judicial notice will be denied.

   III.   Demurrer

            Defendant demurs to all six causes of action on the ground that they each fail to state
   facts sufficient to constitute a cause of action. (See Code Civ. Proc., § 430.10, subd. (e).) As to
   the first through fifth causes of action, Defendant argues alter ego liability has not been
   sufficiently pleaded. Additionally, with respect to the third through fifth causes of action it
   adds that since there is no separate, primary liability alleged, there can be no alter ego liability.
   Defendant also separately argues that intentional interference with contract is not sufficiently
   pleaded in the sixth cause of action.

           A demurrer tests the legal sufficiency of a pleading, but not the truth of a plaintiff’s
   allegations or the accuracy with which he or she describes the defendant’s conduct. (Align
   Technology, Inc. v. Tran (2009) 179 Cal.App.4th 949, 958; citing Committee on Children’s
   Television Inc. v. General Foods Corp. (1983) 35 Cal.3d 197, 213.) The demurrer is treated as
   admitting all material facts, properly pleaded, but not contentions, deductions or conclusions of
   law. (Ibid.)

          A. Alter Ego Liability

           The first through fifth causes of action are based on breach of the lease and associated
   causes of action for breach of implied covenants of good faith and fair dealing, fraud,
   misrepresentation, and negligence. Since it is not alleged that Defendant is a party to the lease,
   a theory of derivative liability must be sufficiently pleaded. As Defendant infers, the crux of
   these causes of action against Defendant rests on alter ego derivative liability, which it argues
   is insufficiently pleaded.

          Alter ego liability prevents individuals or other corporations from misusing the
   corporate laws by the device of a sham corporate entity formed for the purpose of committing
   fraud or other misdeeds. (Sonora Diamond Corp. v. Superior Court (2000) 83 Cal.App.4th
   523, 538.) In those instances, the corporate identity may be disregarded where the misuse of
   corporate privilege justifies holding the equitable ownership liable for the actions of the
   corporation. (Ibid; see also Associated Vendors, Inc. v. Oakland Meat Co. (1962) 210
   Cal.App.2d 825, 837, [“[A] corporation’s acts can be legally recognized as those of a person,
   and vice versa…”.) To allege alter ego, the complaint must plead facts showing: (1) unity of
Case 2:19-bk-24804-VZ        Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                    Desc
                             Main Document   Page 109 of 204

   interest; and (2) inequitable result if the acts are treated as those of the corporation alone.
   (Vasey v. California Dance Co. (1977) 70 Cal.App.3d 742, 749.) The complaint need only
   allege ultimate facts in support of the doctrine, not evidentiary ones. (Rutherford Holdings,
   LLC. V. Plaza Del Rey (2014) 223 Cal.App.4th 221, 236.)

           Allegations in support of unity of interest may include: that the individual dominated
   the affairs of the corporation; that a unity of interest and ownership existed between individuals
   and the corporation; that the corporation is a ‘mere shell and naked framework’ for individual
   manipulations; that its income was diverted to the use of the individuals; that it is inadequately
   capitalized; that it failed to abide by the formalities of corporate existence; or, that it is and has
   been insolvent. (First Western Bank & Trust Co. v. Bookasta (1968) 267 Cal.App.2d 910, 915-
   916.)

           Defendant contends that the facts are insufficient to allege that it is part of a single
   enterprise including Jia, Le and Faraday. However, the complaint is replete with allegations of
   misuse of the corporate form by the corporations and Jia sufficient to show unity of interest. In
   fact the list nearly exhausts the pleading requirements. Among other things, it is alleged that:
   Jia routinely shuffles money throughout his various corporate holdings, including Defendant,
   in an effort to escape debts and obligations (Complaint, ¶ 4.); Jia’s other corporations are
   undercapitalized, and he hides many of his assets in Defendant which is a “mere shell”
   (Complaint, ¶ ¶ 12, 34, 48.); funds were comingled between Defendant and Jia’s other business
   enterprises, including the defaulting tenant (Le) and subtenant (Faraday) (Complaint, ¶ ¶16,
   18.); Faraday and Defendant operate with disregard of the corporate form and formalities
   (Complaint, ¶ ¶ 14, 16, 17, 18, 22.); Defendant’s assets, specifically its real estate holdings, are
   used for personal use by Jia as a primary residence, and a place to entertain employees and
   hold corporate meetings for Faraday (Complaint, ¶ ¶ 21, 25.); and there is overlap in the
   corporations’ officers, directors and ownership interests, with Jia being the primary owner and
   true leader and one overlapping corporate officer stating she is merely a “paper CEO.”
   (Complaint, ¶ ¶ 37, 41.)

           Defendant also argues there are insufficient facts to allege inequitable result because
   the only inequity alleged is Plaintiff’s inability to obtain a judgment from the lessor. This
   argument is unpersuasive. Inequitable result is alleged where “some conduct amounting to bad
   faith makes it inequitable for the corporate owner to hide behind the corporate form.” (Eleanor
   Licensing LLC v. Classic Recreations, LLC (2018) 21 Cal.App.5th 599, 615, citations omitted.)
   Here, it is alleged that one of Jia’s shell corporations entered into a lease agreement that was
   intended to benefit Faraday. (Complaint, ¶¶ 31, 36, 38, 42, 43.) Le and Faraday have also
   allegedly failed to make good on rent obligations. (Complaint, ¶¶ 28, 29.) A representative of
   Le allegedly threatened bankruptcy proceedings unless Plaintiff agreed to settle for two
   months’ rent in full satisfaction of its lease, stating it was undercapitalized but never
   mentioning its affiliation to Faraday or Faraday’s occupation of the property. (Complaint, ¶
   47.) Meanwhile, Jia is alleged to have hidden substantial assets in Defendant, while both Le
   and Faraday are undercapitalized and failing to pay their debts to Plaintiff. (Complaint, ¶¶ 12,
   14, 21, 46, 48.) The facts demonstrate an alleged pattern of bad faith dealings intended to
   defraud creditors like Plaintiff, such that it would be inequitable to allow Jia to hide behind the
   corporate form. Like with the unity of interest allegations, an inequitable result has been more
   than sufficiently pleaded.
Case 2:19-bk-24804-VZ        Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                    Desc
                             Main Document   Page 110 of 204

          Therefore, the demurrer to the first through fifth causes of action for failure to state
   causes of action because alter ego is insufficiently pleaded cannot be sustained.

          B. Third, Fourth, and Fifth Causes of Action – Need for Separate, Primary
             Liability

           Defendant next argues the third, fourth and fifth causes of action against Defendant as
   an alter ego are insufficient because there is no allegation of primary liability to Le or Faraday
   in the other complaint as these causes of action are not raised as to them.

           Defendant offers several citations in support of this argument. However, none of the
   cases cited stands for its theory. For example, Greenspan v. LADT, LLC (2010) 191
   Cal.App.4th 486, is a case involving the addition of an alter ego defendant as a judgment
   debtor post-arbitration. Its subsequent reference to Hennessey’s Tavern Inc. v. American Air
   Filter Co (1988) 204 Cal.App.3d 1351 is similarly unavailing. It involves the applicability of
   statutes of limitations, and stands for the proposition that the alter ego defendant must be
   named within the applicable statute of limitations, even if it is alleged to be the alter ego of an
   already named defendant. The issue is one of due process, including notice and other general
   principles of time-limited actions and has no bearing on the analysis here. Similarly,
   Defendant’s other references to case law are not on point. They include a case in which res
   judicata precluded suit against an alter ego following a judgment against the corporation
   (Windsor Square Homeowners Ass’n v. Citation Homes (1997) 54 Cal.App.4th 547, 555); and
   a case where a corporation was no longer a judgment creditor, therefore the plaintiff lacked
   standing to pursue the corporation’s alter ego. (Robbins v. Blecher (1997) 52 Cal.App.4th 866,
   894.)

           In any event, direct liability is alleged in the present complaint as to Jia, albeit through
   his other alleged alter egos, Le and Faraday. Therefore, whether the causes of action are
   sought in the other complaint as to Le and Faraday is irrelevant as the Court has found
   sufficient pleading of unity of interest among all of them.

           Consequently, demurrer to the third, fourth, and fifth causes of action will not be
   sustained on the basis that there is no separate, primary liability alleged.

          C. Sixth Cause of Action – Intentional Interference with Contract

           Defendant argues that the sixth cause of action is not sufficiently pleaded because there
   are no allegations that Defendant had knowledge of the lease or took any acts designed to
   breach or disrupt the lease. Both elements must be pleaded in a cause of action for intentional
   interference with contract. (Redfearn v. Trader Joe’s Co. (2018) 20 Cal.App.5th 989, 997.)

           As Defendant states, the complaint is devoid of facts in support of Defendant’s
   knowledge of the lease or allegations that Defendant took any actions designed to breach or
   disrupt the lease. Instead, the allegations appear to impute Jia’s interference with the contract
   to Defendant under what is essentially an alter ego theory. As an alternative cause of action if
   alter ego is not sufficiently pleaded, it cannot rest on a theory of derivative liability but must
   make allegations that Defendant interfered directly. It has not done so.

          Therefore, demurrer to the sixth cause of action will be sustained.
Case 2:19-bk-24804-VZ      Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                Desc
                           Main Document   Page 111 of 204


   IV.    Conclusion

          Demurrer to the first, second, third, fourth and fifth causes of action are OVERRULED.

          Demurrer to the sixth cause of action for failure to state sufficient facts is SUSTAINED
   with 10 days leave to amend after service of the signed order.

          The Court will prepare the order.


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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 112 of 204

   Calendar line 3

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 113 of 204

   Calendar line 4

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 114 of 204

   Calendar line 5

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 115 of 204

   Calendar line 6

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 116 of 204

   Calendar line 7

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 117 of 204

   Calendar line 8

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 118 of 204

   Calendar line 9

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 119 of 204

   Calendar line 10

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 120 of 204

   Calendar line 11

                                      - oo0oo -
Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 121 of 204

   Calendar line 12

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 122 of 204

   Calendar line 13

                                      - oo0oo -
Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 123 of 204

   Calendar line 14

                                      - oo0oo -
Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 124 of 204

   Calendar line 15

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Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 125 of 204




                EXHIBIT 3
     Case 2:19-bk-24804-VZ      Doc 893
                                     666 Filed 09/08/20
                                               04/23/20 Entered 09/08/20
                                                                  04/23/20 19:03:42
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11                        UNITED STATES BANKRUPTCY COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
                                LOS ANGELES DIVISION
13

14       In re                                       Case No. 2:19-bk-24804-VZ

15       YUETING JIA,                                Chapter 11
16                                                   HAN’S SAN JOSE HOSPITALITY
                            Debtor.
                                                     LLC’S RESPONSE TO OBJECTION TO
17                                                   CLAIM NO. 60, AND MOTION TO
                                                     ESTIMATE CLAIM FOR VOTING
18                                                   PURPOSES 1
19
                                                     Hearing
20                                                   Date: May 7, 2020
                                                     Time: 1:30 p.m.
21                                                   Place: Courtroom 1368
                                                            255 East Temple Street
22                                                          Los Angeles, CA 90012
23

24

25   1
      Unless specified otherwise, all chapter and code references are to the Bankruptcy Code, 11
26   U.S.C. §§ 101–1532. “DS” references are to the Debtor’ Fourth Amended Disclosure Statement,
     dated March 20, 2020. “RJN” references are to Han’s “Request for Judicial Notice,” dated April
27   23, 2020, filed herewith. “ECF” references are to the docket in the above-captioned case.
28
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     Case 2:19-bk-24804-VZ                      Doc 893
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                                                                   Page127
                                                                         2 of
                                                                           of24
                                                                              204



 1                                                        TABLE OF CONTENTS

 2   BACKGROUND ............................................................................................................................ 1

 3      A.        Han’s Status in the Bankruptcy Case ............................................................................... 1
 4
        B.        The Basis for Han’s Claim ............................................................................................... 2
 5
        C.        Evidence of Debtor’s Use of Alter Egos .......................................................................... 3
 6

 7   RESPONSE TO THE CLAIM OBJECTION ................................................................................. 8

 8      A.        The Debtor is Liable to Han’s for Le Technology and Le Holdings’ Breach of the Lease
 9      Under an Alter Ego Theory......................................................................................................... 8
10      B.        Han’s Third Through Sixth Claims in the Complaint Are Not Dependent on Alter Ego
11      Liability ..................................................................................................................................... 14
12
     LEGAL ARGUMENT .................................................................................................................. 16
13
     RESPONSE TO ESTIMATION MOTION .................................................................................. 17
14

15   RESERVATION OF RIGHTS ..................................................................................................... 18

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                                                                                        ii
     Case 2:19-bk-24804-VZ                 Doc 893
                                                666 Filed 09/08/20
                                                          04/23/20 Entered 09/08/20
                                                                             04/23/20 19:03:42
                                                                                      20:30:37                                    Desc
                                           Main
                                            MainDocument
                                                  Document Page
                                                              Page128
                                                                    3 of
                                                                      of24
                                                                         204



 1                                                TABLE OF AUTHORITIES

 2   Cases
 3   Associated Vendors v. Oakland Meat (1962) 210 Cal.App.2d 825 ........................................ 10, 12
 4   Automotriz del Golfo de California S.A. De C.V. v. Resnick (1957) 47 Cal.2d 792 ..................... 12
 5   Beacon Res. Comm’ty Assn. v. Skidmore, Owings & Merrill LLP (2014) 59 Cal.4th 568 .......... 15
 6   Casiopea Bovet, LLC v. Chiang (2017) 12 Cal. App. 5th 656 ..................................................... 10
 7   Daniels v. Select Portfolio Servicing (2016) 246 Cal.App.4th 1150 ............................................ 16
 8   Eleanor Licensing LLC v. Classic Recreations, LLC (2018) 21 Cal.App.5th 599 ....................... 12
 9
     First Western Bank & Trust Co. v. Bookasta (1968) 267 Cal.App.2d 910 .................................... 9
10
     Frances T. v. Village Green Owners Assn. (1986) 42 Cal.3d 490 ................................................ 14
11   Grigsby v. Hagler (1938) 25 Cal.App.2d 714 .............................................................................. 16
12   In re Castaneda, 2010 WL 9498474 (Bankr. E.D. Cal. Sept. 30, 2010) ................................ 16, 17
13   In re Cook Inlet Energy LLC, 583 B.R. 494 (9th Cir. B.A.P. 2018) ............................................ 17
14   In re F-Squared Investment Management, LLC, 546 B.R. 538 (Bankr. D. Del. 2016) ................ 17
15   In re Holm, 931 F.2d 620 (9th Cir.1991) ...................................................................................... 16
16   In re Keating, 2017 WL 2533338 (Bankr. C.D. Cal. June 9, 2017) ............................................. 17
17   Kesner v. Superior Court (2016) 1 Cal.5th 1132 .......................................................................... 15
18   Lazar v. Superior Court (1996) 12 Cal.4th 631 ............................................................................ 16
19   Lundell v. Anchor Constr. Specialists, Inc., 223 F.3d 1035 (9th Cir. 2000)................................. 17
20   National Union Fire Ins. Co. of Pittsburgh, PA v. Cambridge Integrated Services Group,
21      Inc. (2009) 171 Cal.App.4th 35 ................................................................................................ 16
22   Paciﬁc Gas & Electric Co. v. Bear Stearns & Co. (1990) 50 Cal.3d 1118 .................................. 15
23   United States Liab. Ins. Co. v. Haidinger-Hayes, Inc. (1970) 1 Cal.3d 586 ................................ 15
24   Wells Fargo Bank, N.A. v. FSI, Financial Solutions, Inc. (2011) 196 Cal.App.4th 1559 ............ 16
25   West v. JPMorgan Chase Bank, N.A. (2013) 214 Cal.App.4th 780 ............................................. 16
26   Zoran Corp. v. Chen (2010) 185 Cal.App.4th 799 ......................................................................... 8
27

28
                                                                                                                                       iii
     Case 2:19-bk-24804-VZ                     Doc 893
                                                    666 Filed 09/08/20
                                                              04/23/20 Entered 09/08/20
                                                                                 04/23/20 19:03:42
                                                                                          20:30:37                                           Desc
                                               Main
                                                MainDocument
                                                      Document Page
                                                                  Page129
                                                                        4 of
                                                                          of24
                                                                             204



 1   Rules

 2   Fed. R. Bankr. P. 3001 .................................................................................................................. 16

 3   Fed. R. Bankr. P. 3018 ............................................................................................................ 17, 18

 4   Fed. R. Evid. 401 ............................................................................................................................ 8

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     Case 2:19-bk-24804-VZ         Doc 893
                                        666 Filed 09/08/20
                                                  04/23/20 Entered 09/08/20
                                                                     04/23/20 19:03:42
                                                                              20:30:37                Desc
                                   Main
                                    MainDocument
                                          Document Page
                                                      Page130
                                                            5 of
                                                              of24
                                                                 204



 1          Han’s San Jose Hospitality LLC (“Han’s”) submits this response (the “Response”) to the

 2   objection (the “Objection”) , dated April 2, 2020, filed by Yueting Jia (the “Debtor”) to Han’s

 3   proof of claim number 60 (the “Claim”) filed in this case, and to the Debtor’s motion to estimate

 4   Han’s claim for voting purposes (the “Motion”). The Objection and the Motion are based upon

 5   the same argument, namely that Han’s has no claim against the Debtor because the Claim is

 6   based upon alter ego allegations and there is no proof that the Debtor is the alter ego of the

 7   underlying entities. As will be discussed below, Han’s claims against the Debtor are based upon

 8   his direct actions, not just as the alter ego. Moreover, the alter ego claims are solid. As has been
 9   argued by many creditors, Debtor created and controlled many entities through which he did
10   business in an effort to shield either his personal assets or other valuable entities.
11                                             BACKGROUND

12          A. Han’s Status in the Bankruptcy Case

13          Han’s is an unsecured creditor of the Debtor having timely filed its Claim in the amount

14   of $15,651,286.10. The basis of the Claim is set forth in Han’s state court complaint filed against

15   the Debtor and certain non-debtors (the “Complaint”), styled Han’s San Jose Hospitality LLC v.

16   Jia Yueting, et al., Case No. 19 CV342187 (consolidated with Han’s San Jose Hospitality LLC v.

17   Le Holdings (Beijing) Co., LTD, et al., Case No. 17CV317221) (the “Action”) pending in the

18   Santa Clara Superior Court, San Jose, California (the “State Court”). In the Disclosure

19   Statement (“DS”), the Debtor has included the Action and its claims against non-debtor parties

20   as one of the “Retained Actions” over which the Reorganized Debtor retains the power to

21   enforce, settle or litigate. (See DS 59, and Schedule “A” to DS).

22          Han’s filed a limited objection to the approval of the Disclosure Statement arguing that

23   the Action is not a Retained Action for several reasons. According to this Court’s ruling at the

24   hearing, despite approval of the Disclosure Statement, Han’s objection may be raised at the

25   confirmation hearing. Han’s intends to file an objection to confirmation of the Debtor’s plan.

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     Case 2:19-bk-24804-VZ        Doc 893
                                       666 Filed 09/08/20
                                                 04/23/20 Entered 09/08/20
                                                                    04/23/20 19:03:42
                                                                             20:30:37               Desc
                                  Main
                                   MainDocument
                                         Document Page
                                                     Page131
                                                           6 of
                                                             of24
                                                                204



 1          B. The Basis for Han’s Claim

 2          The underlying liability for the Claim is relatively straightforward. Le Technology, Inc.

 3   and Le Holdings (Beijing) Co. LTD (collectively, the “Lease Signatories”), two corporate

 4   entities controlled and owned by the Debtor, signed a lease (the “Lease”) with Han’s for the

 5   premises at 3553 North First Street in San Jose, California (the “Subject Property”), on or about

 6   March 15, 2016, for a lease term of 10 years (the “Lease”). (Complaint ¶ 27). The Subject

 7   Property is a commercial building consisting of approximately 86,000 square feet of rented

 8   space. (Declaration of Peter Luo “Luo Declaration” at ¶ 2).
 9          The Lease Signatories failed to pay the rent payments under the Lease as of September 1,
10   2017, have made no payments since that time, and have failed to pay the amounts due and owing
11   arising from the undisputed breach of the Lease. (Id. ¶¶ 28-31, Luo Declaration ¶ 5). As set forth
12   in the Luo Declaration, even though Faraday & Future, Inc. (“Faraday”) did not sign the Lease, it
13   occupied the vast majority of the Subject Property as an undisclosed subtenant almost from the
14   onset of the Lease, and in direct violation of the Lease. (Declaration of Nelson Goodell –
15   “Goodell Declaration”, Exhibit 5 (47:17-48:12)). Neither the Lease Signatories nor Faraday ever
16   asked for, or received, permission from Han’s to take over the Lease or occupy the Subject
17   Property. (Luo Declaration ¶ 3). The Complaint alleges that, during the time that the Lease
18   Signatories and Faraday occupied the Subject Property, the Debtor was in control of the Lease

19   Signatories, as well as Faraday, the Debtor caused the Lease Signatories to breach the Lease and

20   was responsible for Faraday’s unlawful occupation and use of the Subject Property. The Debtor

21   was well aware of these facts and frequently visited the Subject Property. (Luo Declaration ¶¶ 7-

22   9, Goodell Declaration, Exhibit 4 (18:10-19:22; 26:18-17:11; 85:11-86:25)).

23          Just prior to failing to pay the rent under the Lease, Qing Ye, an agent of the Debtor, the

24   Lease Signatories and Faraday, claimed that the Lease Signatories had a little over $2 million in

25   cash, and more than $7 million in debt. (Id. Exhibit 2, 22:01-27:15; Luo Declaration ¶¶ 8-9,

26   Exhibit 2). Qing Ye told Han’s that the Lease Signatories would file bankruptcy if Han’s

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     Case 2:19-bk-24804-VZ        Doc 893
                                       666 Filed 09/08/20
                                                 04/23/20 Entered 09/08/20
                                                                    04/23/20 19:03:42
                                                                             20:30:37              Desc
                                  Main
                                   MainDocument
                                         Document Page
                                                     Page132
                                                           7 of
                                                             of24
                                                                204



 1   declined to accept pennies on the dollar as a settlement offer for the breach of the

 2   Lease. (Id. See also id. ¶ 66; Luo Declaration ¶¶ 8-9).

 3          As stated above, the unlawful sublease to Faraday was in direct contravention to express

 4   terms of the Lease. (Id. ¶ 64, 89). Moreover, at the Debtor’s direction, one of his closest

 5   associates and agents, Chaoying Deng, purportedly acting on behalf of the Lease Signatories,

 6   signed a Subordination, Non-Disturbance and Attornment Agreement (“SNDA”) which stated

 7   that there was no sublease of the Subject Property. (Goodell Declaration Exhibit 5 (80:07 –

 8   82:24); see Luo Declaration ¶ 11, Exhibit 3). The SNDA was used by Han’s to secure a loan on
 9   July 14, 2017. The Debtor knew that the representations made in the SNDA were false because
10   the Debtor had instructed and caused Faraday to take possession of a majority of the Subject
11   Property. (Goodell Declaration Exhibit 7 (50:10-50:24); Exhibit 6 (29:25-30:04); and Exhibits 27
12   and 30).
13          C. Evidence of Debtor’s Use of Alter Egos
14          Moreover, despite the Debtor’s arguments in the Objection, Han’s claims regarding the
15   Debtor’s shuffling assets between corporations is based on far more than information and belief
16   and news stories. The Debtor, in conjunction with Chaoying Deng, founded Ocean View Drive
17   Inc. (“OVD”), a corporation created solely for the purpose of holding title to real property and
18   that had no employees. (See, DS 44, Goodell Declaration Exhibit 18, Exhibit 5 103:20-104:06;

19   240:14-240:22). The Debtor has conceded in the Disclosure Statement that the Debtor

20   “envisioned that these properties would be used as a venue for offsite meetings and temporary

21   corporate housing accommodations for executives of the FF Group.” (DS 44). At one time the

22   Debtor owed OVD through Success Pyramid Ltd. (Id.). Debtor was identified as the original

23   chief executive officer of OVD. (Goodell Declaration Exhibit 18). According to judicially

24   noticeable documents, on June 26, 2017, OVD took out a $19.7 million loan secured against all

25   four of the ocean front properties it owns in Ranchos Palos Verdes. (RJN Exhibit 8).

26          According to testimony in the Action, OVD took out several loans for the benefit of

27   Faraday. (Goodell Declaration Exhibit 6 (52:03-52:20); Complaint ¶ 82-83). Then, on July 16,

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                                                                                                        3
     Case 2:19-bk-24804-VZ        Doc 893
                                       666 Filed 09/08/20
                                                 04/23/20 Entered 09/08/20
                                                                    04/23/20 19:03:42
                                                                             20:30:37                Desc
                                  Main
                                   MainDocument
                                         Document Page
                                                     Page133
                                                           8 of
                                                             of24
                                                                204



 1   2017 — just six weeks before Faraday stopped paying rent — OVD took out an additional $2.7

 2   million against those same properties from the same lender for a total of $22.4 million. (See, DS

 3   45).

 4          OVD then took another series of loans out against the same set of properties from a

 5   different lender in an unspecified amount on November 20, 2017. (RJN Ex. 6). Therefore,

 6   Faraday received a $22.4 million infusion of cash secured against OVD’s assets weeks before the

 7   breach of Lease, but failed to pay its monthly “rent” (or any amount) to Le Technology, and Le

 8   Technology failed to pay its monthly rent to Han’s in the amount of $199,856,40. (Request for
 9   Judicial Notice - Exhibit 8, Luo Declaration ¶ 4). The above loans were secured by the Debtor’s
10   (and Ms. Deng’s) residences which were held in the name of OVD. (Goodell Declaration Exhibit
11   5, 12:16 -12:19; 81:19 -82:24, Exhibit 9, 22:19 -23:19). And then, while in active breach of the
12   Lease and still in possession of the Subject Property, Faraday received another infusion of cash
13   from OVD, but failed to pay anything at all to Han’s. (Complaint ¶ 82-83).
14          As discovery in the Action has progressed, the true scope of the unity of interest and
15   flippant attitude towards corporate formalities common among the Debtor’s business concerns
16   became inescapable. At the time of the breach, the individual that signed the Lease on behalf of
17   Le Technology, Chaoying Deng, was the CEO of Le Technology, Faraday, and OVD. (Goodell
18   Declaration Exhibits 16-22). Despite her title as the chief executive of Le Technology, Ms. Deng

19   testified under oath that she was a “paper CEO” who held no actual executive authority at Le

20   Technology. (Complaint ¶ 37, 65 Goodell Declaration Exhibit 5, 15:3 -16:1).

21          This arrangement is rather incredible considering that Ms. Deng signed the Lease on

22   behalf of Le Technology. (Complaint ¶ 88, Exhibit 1 to Complaint). Moreover, the other

23   signatory to the Lease, Dongge Jiang, worked in a high-level position for both Le Holdings and

24   Faraday at the time. (Complaint ¶ 67, Exhibit 1 to Complaint, Goodell Declaration, Exhibit 7,

25   34:22, 35:25; 98:12 – 98:19).

26          Instead, Ms. Deng’s position was a ruse to mislead creditors and the authorities as to the

27   true leadership of that company. (Complaint ¶ 37, 65). Moreover, the loans using OVD

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                                                                                                         4
     Case 2:19-bk-24804-VZ        Doc 893
                                       666 Filed 09/08/20
                                                 04/23/20 Entered 09/08/20
                                                                    04/23/20 19:03:42
                                                                             20:30:37                Desc
                                  Main
                                   MainDocument
                                         Document Page
                                                     Page134
                                                           9 of
                                                             of24
                                                                204



 1   properties to secure funding for Faraday were signed by Chaoying Deng as chief financial officer

 2   and chairman of the board of OVD. (RJN Exhibit 4-6). At the time the Complaint was filed,

 3   Ms. Deng was listed as the chief executive officer, chief financial officer and secretary of OVD,

 4   as well as the sole director of the company. (Goodell Declaration Exhibit 12).

 5          Despite Ms. Deng being held out as the sole officer and director, the Debtor is the true

 6   head of each company. (Complaint ¶ 41; Goodell Declaration Exhibit 7 (12:20 -13:4; 79:16 -

 7   80:16), Exhibit 3 (40:11-41:2; 42:5-43:5)). The Debtor attempted to mislead the State Court and

 8   the California Secretary of State as to who truly controls Faraday and his other entities.
 9   According to a Statement of Information filed with the California Secretary of State on February
10   15, 2018, Chaoying Deng was relieved from her duties as CEO and replaced by Jiawei Wang,
11   the Debtor’s Nephew. (Goodell Declaration Exhibit 22, RJN Exhibit 13). Despite these
12   representations to the State, in a sworn declaration made to the State Court on April 24, 2018, the
13   Debtor unequivocally (and brazenly) stated that he is in fact the CEO of Faraday. (Goodell
14   Declaration Exhibit 24).
15          In addition to those unities of interest, the Debtor and Ms. Deng also have used the jewel
16   in OVD’s crown, a 6-bedroom, 8-bathroom mansion overlooking the bluffs of Rancho Palos
17   Verdes, as their personal residences without paying for the privilege. (Complaint ¶19, 25;
18   Goodell Declaration, Exhibit 9, 40:9-41:22). The Debtor also has allowed his menagerie of

19   corporations to use the OVD properties as office space, as a venue to throw extravagant events

20   for the benefit of his businesses, and as lodging for recently-hired personnel of his other

21   corporations—all without remuneration for use of the property. (Id. ¶ 21. Goodell Declaration,

22   Exhibit 9, 22:09-22:23; 40:09 -44:24). The use of these properties was so consistent and

23   prevalent that employees of Faraday knew of this property as “The Clubhouse.” (Id. ¶ 20, 25,

24   123; Goodell Declaration, Exhibit 10, 115:6 -115:24).

25          Deposition testimony in the State Court Action revealed that OVD is a mere holding

26   company set up strictly to hold title to these properties with no employees. (Complaint ¶ 34,

27   Goodell Declaration, Exhibit 5, 103:20 -104:3). Thus, while trying to insist that Le Technology,

28
                                                                                                         5
     Case 2:19-bk-24804-VZ          Doc 893
                                         666 Filed 09/08/20
                                                   04/23/20 Entered 09/08/20
                                                                      04/23/20 19:03:42
                                                                               20:30:37             Desc
                                    Main
                                     MainDocument
                                          Document PagePage135
                                                            10 of 204
                                                                  24



 1   OVD and Faraday are valid and distinct corporations on one hand, the Debtor uses both the

 2   Subject Property and the equity of OVD’s properties as both his own personal assets and those of

 3   his other business entities.

 4          The Complaint against OVD was filed on January 25, 2019. Just days later, on February

 5   6, 2019, OVD filed a Statement of Information with the California Secretary of State listing

 6   Shaojie Chu as OVD’s sole director. (Goodell Declaration Exhibit 20). That Statement of

 7   Information was puzzlingly filed roughly three weeks after the company’s previous Statement of

 8   Information, which was filed just prior to the Complaint. (Id. Exhibit 19). Thus, at the time the
 9   State Court Action was filed, the Statement of Information listed Chaoying Deng as the sole
10   officer and director of OVD. (Id.). In spite of having been named sole director of a corporation
11   with over $20 million in assets, Ms. Chu was finishing up a graduate business degree from
12   University of California – Irvine, though she had previously listed internships at Faraday and
13   LeEco, yet another of the myriad corporations the Debtor founded and controls. (Id., Exhibit 28).
14          Though appearing to be another transparent attempt to conceal the true leadership of
15   OVD — just as Chaoying Deng was falsely named CEO of Le Technology— Ms. Chu also ties
16   directly into the events surrounding the unlawful sublease. Indeed, it was an email sent by Ms.
17   Chu produced in discovery that alerted Han’s to the purported sublease in the first place. (Id.
18   Exhibit 30). Ms. Chu also briefly worked for multiple Debtor-owned entities at this time,

19   including Le Technology – the signatory to the Lease. (Complaint ¶ 80). As noted in the

20   Complaint, a “Faraday employee would perform the following broad services (among others) for

21   Le: “Customers billing,” “booking keeping [sic],” “analysis and any other administrative work

22   for Finance department,” and that Le Technology never reimbursed Faraday for those services.

23   Though not named in the complaint, that employee is none other than Ms. Chu. (Goodell

24   Declaration Exhibits 25-26). Rather than being indicative of a separateness of the corporations,

25   the naming of Ms. Chu as sole director of OVD actually points to a greater unity of interest

26   between and among OVD and the other defendants in the Action. Ms. Chu is both one of many

27   people worked for multiple Debtor-controlled companies (Complaint ¶80), and a key percipient

28
                                                                                                         6
     Case 2:19-bk-24804-VZ         Doc 893
                                        666 Filed 09/08/20
                                                  04/23/20 Entered 09/08/20
                                                                     04/23/20 19:03:42
                                                                              20:30:37               Desc
                                   Main
                                    MainDocument
                                         Document PagePage136
                                                           11 of 204
                                                                 24



 1   witness to one of the breaches of the Lease in the State Court Action. This information comports

 2   perfectly with the one of the overarching themes of Han’s alter ego claims, namely that the

 3   Debtor uses the same small cadre of confidants as directors and officers across his surfeit

 4   fictitiously separate business entities.

 5           While the press was busy documenting the Debtor’s profligate debt avoidance across

 6   several countries, The Debtor’s creditors were starting to catch up with him in domestic courts as

 7   well. In July of 2018, the United States District Court for the Central District of California ruled

 8   that a case alleging alter ego liability among several other Debtor-controlled corporations could
 9   proceed past a motion to dismiss. (Goodell Declaration Exhibit 1). Indeed, in Vizio v. LeEco,
10   Judge David Carter noted that the repeated use of the same employees across the Debtor’s
11   businesses, including Mr. Hsieh and Chaoying Deng, coupled with the commingling of assets to
12   secure loans and lack of corporate formalities sufficiently stated an alter ego allegation while
13   denying a motion to dismiss. (Id. at pg. 28-29). Judge Carter noted, “Throughout the parent and
14   subsidiary companies, there is a connection of intermingling between employees, assets, and
15   office locations. Thus, Vizio sufficiently establishes facts in support of the proposition that the
16   entities are interconnected in ownership (through Jia) and through a unity of interest (through
17   similarities in offices, employees and intermingling assets.)” (Id.).
18           Following that ruling, Judge James Otero of the State Court ruled in December 2018 that

19   the four properties “owned by [Jia] through a corporation called OVD” should be frozen due to

20   the risk of the Debtor attempting to move the property to avoid paying a judgment debt. The

21   Debtor also stipulated to a judgment in March 2019 which contained punitive measures if the

22   Debtor fails to “transfer to petitioner any property that a competent court finds or [the Debtor]

23   admits is owned and controlled by [the Debtor],” and gives the Debtor a three-month head start

24   on hiding his assets.

25           Han’s filed the Complaint on January 25, 2019, and the Debtor and OVD filed motions to

26   stay, and Han’s filed a motion to consolidate. The Court denied the Debtor and OVD’s motion to

27   stay and granted Han’s motion to consolidate. (RJN Ex. 22). Faraday and OVD, represented by

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                                                                                                            7
     Case 2:19-bk-24804-VZ         Doc 893
                                        666 Filed 09/08/20
                                                  04/23/20 Entered 09/08/20
                                                                     04/23/20 19:03:42
                                                                              20:30:37                 Desc
                                   Main
                                    MainDocument
                                         Document PagePage137
                                                           12 of 204
                                                                 24



 1   the O’Melveny firm that is now representing the Debtor, brought demurrers to the Complaint.

 2   The State Court previously overruled Faraday’s demurrer and OVD’s demurrer as well (except

 3   for one cause of action). 2 As demonstrated herein, there is a substantial amount of evidence

 4   supporting Han’s claims against the Debtor for both alter ego and non-alter ego claims.

 5                             RESPONSE TO THE CLAIM OBJECTION

 6          A. The Debtor is Liable to Han’s for Le Technology and Le Holdings’ Breach of the

 7              Lease Under an Alter Ego Theory

 8          The Debtor argues in the Objection that he is not a party to the Lease and, therefore,
 9   cannot be found liable for such claims has already been rejected numerous times by the State
10   Court. Under California law, the well-settled elements of an alter ego theory are that, “(1) there
11   is such a unity of interest that the separate personalities of the corporations no longer exist; and

12   (2) inequitable results will follow if the corporate separateness is respected.” Zoran Corp. v.

13   Chen (2010) 185 Cal.App.4th 799, 811 (internal quotations omitted).

14          Merely six weeks before the Debtor filed this chapter 11 case, OVD, through one of the

15   Debtor’s present lawyers in this case (O’Melveny), filed a demurrer to the Han’s Complaint in

16   which nearly all of the same arguments were made that OVD could not be found liable to Han’s

17   because OVD was not a party to the Lease, and that there needed to be independent liability in

18   order for Han’s to prevail on its claims for fraud, negligent misrepresentation and negligence

19   against OVD. The State Court rejected this argument and ruled that “direct liability is alleged in

20   the present complaint as to Jia, albeit through his other alleged alter egos, Le and Faraday

21   [Future].” (Goodell Declaration, Exhibit 14).

22          The State Court also found that Han’s Complaint more than adequately plead sufficient

23   facts that would justify imposing alter ego liability on OVD due to its numerous allegations

24   against the Debtor, Faraday and OVD which would justify imposing alter ego liability.

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      While the rulings of the State Court are not binding in this Court, they are relevant and provide
27   some evidence that the alter ego claim have prima facie validity. (See Fed. R. Evid. 401.)
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                                                                                                            8
     Case 2:19-bk-24804-VZ         Doc 893
                                        666 Filed 09/08/20
                                                  04/23/20 Entered 09/08/20
                                                                     04/23/20 19:03:42
                                                                              20:30:37                 Desc
                                   Main
                                    MainDocument
                                         Document PagePage138
                                                           13 of 204
                                                                 24



 1   (Id.) Indeed, as the State Court noted, “[a]llegations in support of unity of interest may include:

 2   that the individual dominated the affairs of the corporation; that a unity of interest and ownership

 3   existed between individuals and the corporation; that the corporation is a ‘mere shell and naked

 4   framework’ for individual manipulations; that its income was diverted to the use of the

 5   individuals; that it is inadequately capitalized; that it failed to abide by the formalities of

 6   corporate existence; or that it is and has been insolvent. (First Western Bank & Trust Co. v.

 7   Bookasta (1968) 267 Cal.App.2d 910, 915-916.).” Goodell Declaration Exhibit 14.

 8           The State Court, in analyzing the Complaint that gives rise to the present Claim, held that
 9   “the complaint is replete with allegations of issue of the corporate fun by the corporations and
10   Jia sufficient to show unity of interest. In fact, the list nearly exhausts the pleading
11   requirements.” (emphasis added). The Court noted that “Jia routinely shuffles money
12   throughout his various corporate holdings, including Defendant, in an effort to escape debts and
13   obligations (Complaint, RJN Exhibit 4); Jia’s other corporations are undercapitalized, and he
14   hides many of his assets in Defendant which is a “mere shell” (Complaint, 12, 34, 48); funds
15   were comingled between Defendant and Jia’s other business enterprises, including the defaulting
16   tenant (Le) and subtenant (Faraday) (Complaint, 16, 18); Faraday and Defendant operate with
17   disregard of the corporate form and formalities (Complaint, 14, 16, 17, 18, 22); Defendant’s
18   assets, specifically its real estate holdings, are used for personal use by Jia as a primary

19   residence, and a place to entertain employees and hold corporate meetings for Faraday

20   (Complaint 21 , 25); and there is overlap in the corporations’ officers, directors and ownership

21   interests, with Jia being the primary owner and true leader and one overlapping corporate officer

22   stating she is merely a “paper CEO.” (Complaint, 37, 41.)

23           Moreover, as part of his effort to stay the alter ego claims against him, the Debtor made

24   many of the same arguments that he now makes here. (Goodell Declaration Exhibit 11). But the

25   State Court rejected this argument as well and ruled that Han’s claims should proceed against

26   him. (Goodell Declaration Exhibit 13). At the hearing on the motion in the State Court, the

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                                   Main
                                    MainDocument
                                         Document PagePage139
                                                           14 of 204
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 1   Debtor and OVD requested that discovery be stayed against them and, yet again, the State Court

 2   rejected this argument. (Goodell Declaration, Exhibit 23, 5:14-9:5).

 3          Moreover, there is substantial additional evidence to support Han’s alter ego allegations

 4   against the Debtor. Numerous witnesses testified that the Debtor was effectively the head of Le

 5   Technology and that Le Holdings was the parent company of Le Technology. (Id. Exhibit 4,

 6   20:1-29:6 and Exhibit 3, 37:13-41:2) In addition, the primary domestic signatory to the Lease, Le

 7   Technology, is not an active California corporation anymore. (Id. Exhibits 16 and 17) They have

 8   virtually no domestic assets and are not operational. (Id.) Indeed, on this point, Le Technology’s
 9   corporate license has been suspended by the California Secretary of State and it cannot conduct
10   business. (Id.; see, Casiopea Bovet, LLC v. Chiang (2017) 12 Cal. App. 5th 656. Since
11   inadequate capitalization is one of the most important criteria of an alter- ego analysis, this
12   heavily militates in favor of imposing alter ego liability here. Associated Vendors v. Oakland
13   Meat (1962) 210 Cal.App.2d 825, 840.
14          As stated above and as plead in the Complaint, Le Technology demanded that Han’s take
15   pennies on the dollar or threatened that it would file its own bankruptcy case. For its part, the
16   other signatory to the Lease, Le Holdings (Beijing) Co. LTD, despite being a signatory to the
17   Lease, has never even appeared in the State Court Action and default was previously entered
18   against it. (Request for Judicial Notice, Exhibit 15)

19          In addition, Ms. Deng, one of the Debtor’s top advisors, testified under oath that they

20   created OVD for the sole reason to hold title to real property. (Goodell Declaration Exhibit 5,

21   103:20-104:3) A former senior accounting manager at one of the Debtor’s other companies,

22   Michael Do (who was senior accounting manager at Faraday) testified that Faraday used OVD’s

23   real property as collateral to borrow money for Faraday. (Goodell Declaration, Exhibit 6, 51:1-

24   52:19). Thus, Debtor created a new corporation (of which he was listed as the CEO) to act as a

25   shell company to hold title to real property, thereby keeping creditors away from his assets, and

26   then used the assets to borrow money for yet another entity he controlled. Furthermore, Ms.

27   Deng testified that she was the CEO of both Le Technology and Faraday but, in reality, she was

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                                                                             20:30:37               Desc
                                  Main
                                   MainDocument
                                        Document PagePage140
                                                          15 of 204
                                                                24



 1   really just a “paper CEO” that had no genuine authority at Le Technology.      (Goodell

 2   Declaration, Exhibit 5, 15:3 -16:1). Incredibly, at her deposition, Ms. Deng testified that she

 3   had no independent recollection of even signing the ten-year Lease (which has obligations

 4   exceeding $250 million), but simply signed whatever documents her counsel told her to sign.

 5   (Goodell Declaration, Exhibit 5, 16:6-16:18).

 6            Mr. Do further testified that the Debtor personally made the decision that Faraday

 7   would not pay Le Technology for occupying the Subject Property due to the fact that there was a

 8   substantial “crisscross” in expenses in that Le Technology was paying for Faraday’s expenses,
 9   and vice-versa. (Goodell Declaration, Exhibit 6, 20:19-21:14, 24:4-25:5, 29:21-30:04, 69:18-
10   70:19). As such, the Debtor personally made the decision to effectively have Faraday occupy the
11   Subject Property without paying rent which damaged Han’s which did not receive any rent from
12   either Le Technology, Le Holdings, Faraday, or the Debtor for the past 2 ½ years. (Goodell
13   Declaration Exhibit 6, 19:21-30:04, Luo Declaration ¶¶ 4,6, 10 and 15).
14          Mr. Do notably testified that both Le Technology and Faraday were doing work for each
15   other, but that neither company was paying the other company for said work. (Goodell
16   Declaration, Exhibit 6, 24:4-25:5, 52:3 – 52:19, 69:18-70:19). Mr. Do testified that he found this
17   quite odd as an accountant because, “you know, we just -- we didn’t have any processes in place
18   to -- or make sure that we were accumulating all of those expenses and getting them documented

19   and billed out to the other party.” (Goodell Declaration Exhibit 6, 25:14-25:17). Mr. Do testified

20   that Faraday had no “procedure or process” in place to account for said expenses. (Goodell

21   Declaration Exhibit 6, 25:24).

22          Notably, as mentioned above, Mr. Do also testified that the Debtor personally made the

23   decision that Faraday would list as an expense on their books their “rent” of the Subject

24   Property, even though they were not actually paying Le Technology any money for occupying

25   the Subject Property. (Goodell Declaration Exhibit 6, 29:21-30:04, 70:16-72:17). He

26   further testified that Faraday was ran as an affiliate of LeEco and the Debtor’s other entities, with

27   Ms. Deng wielding power at multiple companies. (Id. 48:8-50:15). Mr. Do further testified that

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     Case 2:19-bk-24804-VZ         Doc 893
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                                   Main
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                                         Document PagePage141
                                                           16 of 204
                                                                 24



 1   money would come into Faraday from the Debtor and his other companies and that it would be

 2   deposited into a bank account that only Ms. Deng had access to, which would then be used to

 3   pay other suppliers and payroll. (Id. 46:11-47:5). Another Faraday employee, Mr. Steve

 4   Howard, also testified that Ms. Deng was the sole person with the access to Faraday’s bank

 5   accounts. (Id. Exhibit 10, at p. 114)

 6           Mr. Do further testified that Faraday’s chief financial officer at the time, Stefan Krause,

 7   was severing partnerships with LeEco and, in fact, resigned because the Debtor refused to permit

 8   Faraday to file for bankruptcy. (Id. 59:10-60:9).
 9           The fact that the Debtor has employed the same counsel (O’Melveny & Myers) to

10   represent OVD and himself is instructive and relevant. (Goodell Declaration ¶ 25, Request for

11   Judicial Notice, Exhibits 2 & 10). Moreover, the Debtor also employed another counsel in an

12   action presently pending in state court that is also presently representing Faraday in the state

13   court action at issue here, as well as a matter in state court in Washington. (See Goodell

14   Declaration ¶ 25). The employment of the same attorneys is another factor which favors a

15   finding of alter ego liability. (See, Associated Vendors v. Oakland Meat (1962) 210 Cal.App.2d

16   825, 840. Automotriz del Golfo de California S.A. De C.V. v. Resnick (1957) 47 Cal.2d 792,

17   799.)

18           Given the above facts, there is sufficient evidence for this Court to determine there is an

19   “unity of interest” between the Debtor and Le Technology, Le Holdings, Faraday, and OVD.

20           Moreover, there is substantial evidence that it would be inequitable to not impose liability

21   on the Debtor for the Claim. As the State Court ruled in the Action when denying OVD’s

22   demurrer, “[i[nequitable result is alleged where “some conduct amounting to bad faith makes it

23   inequitable for the corporate owner to hide behind the corporate form.” (Eleanor Licensing LLC

24   v. Classic Recreations, LLC (2018) 21 Cal.App.5th 599, 615 (citations omitted)). Here, Han’s

25   has alleged that one of the Debtor’s shell corporations entered into a lease agreement that was

26   intended to benefit Faraday. (Complaint, ¶¶ 31, 36, 38, 42, 43). Le Technology and Faraday have

27   failed to make good on rent obligations. (Complaint, ¶¶ 28, 29). A representative of Le

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     Case 2:19-bk-24804-VZ          Doc 893
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                                     MainDocument
                                          Document PagePage142
                                                            17 of 204
                                                                  24



 1   Technology allegedly threatened bankruptcy proceedings unless Han’s agreed to settle for two

 2   months’ rent in full satisfaction of its claims, stating it was undercapitalized but never

 3   mentioning its affiliation to Faraday or Faraday’s occupation of the Subject Property.

 4   (Complaint, ¶ 47.) Meanwhile, Han’s has alleged that the Debtor has hidden substantial assets in

 5   his related companies, while both Le Technology and Faraday are undercapitalized and failing to

 6   pay their debts. (Complaint, ¶¶ 12, 14, 21, 46, 48). The facts demonstrate a pattern of bad faith

 7   dealings intended to defraud creditors, such that it would be inequitable to allow the Debtor to

 8   hide behind the corporate forms. As with the unity of interest allegations, an inequitable result
 9   has been more than sufficiently pleaded.
10          Indeed, the evidence reflects that, at the same time that the Debtor and his associate
11   Chaoying Deng engaged in a ruse to secretly “sublet” the Subject Property to themselves
12   (through Le Technology and Faraday), they were stashing their funds in lavish mansions in Los
13   Angeles which were legally titled in the name of OVD. (Goodell Declaration, Exhibit 29 and 30;
14   RJN Exhibits 8-9). These same mansions served as offices for both OVD and Faraday, and also
15   served as the personal residences of the Debtor and OVD. (Complaint, ¶ 21). Even though OVD
16   held title to these mansions, the proceeds of the mortgage that OVD took out on said mansions
17   went to Faraday. (Goodell Declaration Exhibit 6 at p. 52) On this point, Faraday “rented” the
18   mansions, but did not actually pay any money for the use of the mansions. (Id. Exhibit 9 at 40:9-

19   41:22). Rather, the luxury homes were used as a source of funding by Faraday. Finally, and

20   critically, Faraday’s vice president of accounting, Pascal Coustar, testified that OVD is an

21   affiliate company of Faraday, and was another corporation related to the Debtor. (Id.; Goodell

22   Declaration Exhibit 9 (40:9-41:22, 43:5-43:15)).

23          Finally, and with respect to the “sublet” issue, Mr. Do testified that Debtor was directly

24   involved in the unlawful sublet in that he decided that Faraday would simply account for the

25   “rent” (for which no money was paid) on their books. (RJN Exhibit B, ¶107; Goodell

26   Declaration Exhibits 9, 10).

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                                    Main
                                     MainDocument
                                          Document PagePage143
                                                            18 of 204
                                                                  24



 1           Finally, Charles Hsieh has worked for Le Technology and Le Global Group, and he

 2   presently works for both Faraday and OVD. (Goodell Declaration, Exhibit 8, pgs. 9, 23). Mr.

 3   Hsieh as admitted to working for a bevy of Debtor-owned businesses, some of which listed the

 4   Subject Property as a return address. (Exhibit 8, pgs. 9, 23, 79-84).

 5           B. Han’s Third Through Sixth Claims in the Complaint Are Not Dependent on

 6               Alter Ego Liability

 7           While Debtor asserts that the only basis for Han’s claim is alter ego, Han’s has four

 8   additional claims in the State Court Action against the Debtor that are meritorious, and which the
 9   Debtor fails to address in his objection. A director or officer of a corporation can be personally
10   liable for a tort if the director or officer “specifically authorized, directed or participated in the
11   allegedly tortious conduct; or that although they specifically knew or reasonably should have
12   known that some hazardous condition or activity under their control could injure plaintiff, they
13   negligently failed to take or order appropriate action to avoid the harm.” (Frances T. v. Village
14   Green Owners Assn. (1986) 42 Cal.3d 490, 508 (internal citations omitted)).
15           Most relevant and fundamental to the issues here, “[d]irectors are liable to third persons
16   injured by their own tortious conduct regardless of whether they acted on behalf of the
17   corporation and regardless of whether the corporation is also liable… This liability does not
18   depend on the same grounds as “piercing the corporate veil,” on account of inadequate

19   capitalization for instance, but rather on the officer or director’s personal participation or specific

20   authorization of the tortious act. “ Id. at 504. As a result of the foregoing authority, the Debtor’s

21   liability is not predicated solely on alter ego theories of recovery against the other Defendants

22   besides the other Defendant.

23           Han’s has therefore plead multiple causes of action as to the direct liability of the Debtor

24   in his individual capacity. As an initial matter, there is little doubt that the Debtor is liable for

25   intentional interference with contract. Under California law, “[t]he elements which a plaintiff

26   must plead to state the cause of action for intentional interference with contractual relations are

27   (1) a valid contract between plaintiff and a third party; (2) defendant’s knowledge of this

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                                  Main
                                   MainDocument
                                        Document PagePage144
                                                          19 of 204
                                                                24



 1   contract; (3) defendant’s intentional acts designed to induce a breach or disruption of the

 2   contractual relationship; (4) actual breach or disruption of the contractual

 3   relationship; and (5) resulting damage.” Paciﬁc Gas & Electric Co. v. Bear Stearns & Co.

 4   (1990) 50 Cal.3d 1118.

 5          As discussed above, the Debtor was well-aware of the fact that OVD was unlawfully

 6   occupying the Subject Property. The Debtor personally made the decision to permit Faraday to

 7   occupy the Subject Property and to not pay Le Technology or Le Holdings for its occupation of

 8   the Subject Property. Thus, the Debtor intentionally interfered with the Lease contract by
 9   causing Le Technology and Le Holding’s breach of the Lease and causing an unlawful sublease,
10   all to Han’s detriment.
11          Similarly, there is little doubt that the Debtor’s actions were negligent (also asserted in

12   the Complaint). Under California law, “a plaintiff in any negligence suit must demonstrate “‘a

13   legal duty to use due care, a breach of such legal duty, and [that] the breach [is] the proximate or

14   legal cause of the resulting injury.’” (Beacon Residential Community Assn. v. Skidmore, Owings

15   & Merrill LLP (2014) 59 Cal.4th 568, 573 [173 Cal.Rptr.3d 752, 327 P.3d 850] (Beacon),

16   quoting United States Liab. Ins. Co. v. Haidinger-Hayes, Inc. (1970) 1 Cal.3d 586, 594 [83

17   Cal.Rptr. 418, 463 P.2d 770].) .” Kesner v. Superior Court (2016) 1 Cal.5th 1132. Here, there is

18   little doubt that the Debtor had a duty to not permit a financially unsound entity to occupy the

19   Subject Property under a purported sublease, and that the breach of that duty caused substantial

20   damage to Han’s.

21          Although Han’s has not alleged fraud against the Debtor, the fraudulent acts of his agents

22   give rise to claims against the Debtor. As stated above, the Debtor’s agent Chaoying Deng, made

23   intentional misrepresentations to Han’s in conjunction with the SDNA. Under California

24   law, “the elements of fraud are (1) the defendant made a false representation as to a past or

25   existing material fact; (2) the defendant knew the representation was false at the time it was

26   made; (3) in making the representation, the defendant intended to deceive Han’s; (4) Han’s

27   justifiably relied on the representation; and (5) Han’s suffered resulting damages. (Lazar v.

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     Case 2:19-bk-24804-VZ          Doc 893
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                                                                               20:30:37                  Desc
                                    Main
                                     MainDocument
                                          Document PagePage145
                                                            20 of 204
                                                                  24



 1   Superior Court (1996) 12 Cal.4th 631, 638 [49 Cal.Rptr.2d 377, 909 P.2d 981].) The elements of

 2   negligent misrepresentation are the same except for the second element, which for negligent

 3   misrepresentation is the defendant made the representation without reasonable ground for

 4   believing it to be true. (Wells Fargo Bank, N.A. v. FSI, Financial Solutions, Inc. (2011) 196

 5   Cal.App.4th 1559, 1573 [127 Cal.Rptr.3d 589]; National Union Fire Ins. Co. of Pittsburgh, PA

 6   v. Cambridge Integrated Services Group, Inc. (2009) 171 Cal.App.4th 35, 50 [89 Cal.Rptr.3d

 7   473].).” (West v. JPMorgan Chase Bank, N.A. (2013) 214 Cal.App.4th 780).

 8           Moreover, pursuant to well-settled principles of California law, ”[A] principal is liable to
 9   third parties ... for the frauds or other wrongful acts committed by [its] agent in and as a part of

10   the transaction of” the business of the agency. (Grigsby v. Hagler (1938) 25 Cal.App.2d 714, 715

11   [78 P.2d 444].).” (Daniels v. Select Portfolio Servicing (2016) 246 Cal.App.4th 1150).

12           In the SDNA, Ms. Deng stated under penalty of perjury that Le Technology “has not

13   assigned, mortgaged, sublet, encumbered or otherwise transferred any or all of its interest under

14   the Lease and, during the term of the Loan, agrees to not . . . sublet any or all of its interest . . .

15   without the prior written consent of the Lender” (emphasis supplied). Ms. Deng made this false

16   misrepresentation, even though Faraday had already occupied the Subject Property. (Goodell

17   Declaration Exhibit 5 80:06-82:20). As set forth in the Luo Declaration, Han’s detrimentally

18   relied upon this misrepresentation and has a viable claim under an agency theory. West v.

19   JPMorgan Chase Bank, N.A. (2013) 214 Cal.App.4th 780.

20                                          LEGAL ARGUMENT

21           Rule 3001(f) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

22   provides that a “proof of claim executed and filed in accordance with these rules shall constitute

23   prima facie evidence of the validity and amount of the claim.” Fed. R. Bankr. P. 3001(f); see also

24   In re Castaneda, 2010 WL 9498474, at *1 (Bankr. E.D. Cal. Sept. 30, 2010) (“If the allegations

25   in a proof of claim ‘set forth all the necessary facts to establish a claim and are not self-

26   contradictory, they prima facie establish the claim.’”) (quoting In re Holm, 931 F.2d 620, 623

27   (9th Cir.1991)). If a debtor objects to a claim, the burden is on the debtor to submit sufficient

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     Case 2:19-bk-24804-VZ         Doc 893
                                        666 Filed 09/08/20
                                                  04/23/20 Entered 09/08/20
                                                                     04/23/20 19:03:42
                                                                              20:30:37                Desc
                                   Main
                                    MainDocument
                                         Document PagePage146
                                                           21 of 204
                                                                 24



 1   evidence to overcome the prima facie validity of the proof of claim. In re Cook Inlet Energy

 2   LLC, 583 B.R. 494, 501 (9th Cir. B.A.P. 2018) (“To overcome this presumption, the objecting

 3   party must present evidence with probative value equal to that of the proof of claim to rebut the

 4   claim.”) (citing Lundell v. Anchor Constr. Specialists, Inc., 223 F.3d 1035, 1039 (9th Cir. 2000);

 5   see also In re Castaneda, 2010 WL 9498474, at *1. “A mere formal claim objection, without

 6   evidence, cannot defeat a claim if the claim is presumed to be valid under Rule 3001(f).” In re

 7   Cook Inlet, 583 B.R. at 501; see also In re Keating, 2017 WL 2533338, at *2 (Bankr. C.D. Cal.

 8   June 9, 2017).
 9          Thus, if a debtor objects to a claim, but fails in that objection to offer evidence sufficient
10   to overcome the prima facie validity of the claim, the objection must be denied. See In re F-
11   Squared Investment Management, LLC, 546 B.R. 538, 544 (Bankr. D. Del. 2016) (“If an objector
12   fails to meet its burden of production, its objection should be dismissed.”).
13          Here, the Debtor has not met his burden of presenting sufficient evidence to overcome
14   the prima facie validity of Claim No. 60. As explained above and in the Luo and Goddell
15   Declarations, Han’s has submitted significance evidence (including the testimony of Debtor’s
16   own agents) supporting the Claim. These documents, including the Complaint, set forth all
17   necessary facts to establish the prima facie validity of the Claim.
18          In the Objection, the Debtor argues in summary fashion that he has no liability for the

19   Claim because he is not a party of the Lease and there is no alter ego liability. Objection 9-10.

20   Such a general objection is not sufficient to overcome the prima facie validity of the Claim

21   established above. Moreover, as discussed above and as set forth in the supporting declarations

22   and related exhibits filed along with this brief, there is ample basis for Debtor’s liability.

23   Accordingly, the Objection should be overruled, and the Claim should be allowed for voting and

24   distribution purposes.

25                              RESPONSE TO ESTIMATION MOTION

26          The Debtor argues that this Court should use its discretion under Bankruptcy Rule

27   3018(a) to disallow the Claim for voting purposes or to estimate the Claim at zero for voting

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     Case 2:19-bk-24804-VZ         Doc 893
                                        666 Filed 09/08/20
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                                                                     04/23/20 19:03:42
                                                                              20:30:37                 Desc
                                   Main
                                    MainDocument
                                         Document PagePage147
                                                           22 of 204
                                                                 24



 1   purposes. The only basis the Debtor offers to support this relief is the assertion that there is no

 2   alter ego liability to support the Claim. As discussed above, hat basis is insufficient to prevent

 3   Han’s from voting on a chapter 11 plan.

 4          First, the issue of alter ego liability has not been determined by this Court. As stated

 5   above, Han’s already has convinced the State Court that a prima facie case of alter ego liability

 6   exists. There is no reason why Han’s should not be given the opportunity to present the same

 7   evidence and arguments to this Court. Second, the Claim asserts liability theories that are not

 8   based on an alter ego theory (e.g. intention interference with contract). Those independent
 9   theories of liability are not dependent on an alter ego finding. Han’s has submitted significant, if
10   not overwhelming, evidence of Debtor’s liability. Debtor has failed to rebut the prima facie
11   validity of the Claim and the Claim should be allowed as filed for both voting and distribution
12   purposes under Bankruptcy Rule 3018.
13                                     RESERVATION OF RIGHTS

14          Han’s expressly reserves and preserves all its procedural and substantive rights and

15   remedies at law and equity with respect to the Claim and the right to prosecute such and defend

16   the Claim from further objection, as well as its right to object to the Plan.

17          WHEREFORE, Han’s respectfully requests that the Debtor’s Claim Objection be

18   overruled as to Claim No. 60, and that Claim No. 60 be allowed for voting purposes in the

19   amount of $15,651,286.10.

20
     Dated: April 23, 2020                              FINESTONE HAYES LLP
21

22                                                       /s/ Stephen D. Finestone
                                                        Stephen D. Finestone
23                                                      Attorneys for Han’s San Jose Hospitality LLC
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                                                  MainDocument
                                                       Document PagePage148
                                                                         23 of 204
                                                                               24



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I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Stephen D. Finestone, Finestone Hayes LLP, 456 Montgomery Street, Floor 20, San Francisco, CA 94104.

                                                                      Han's San Jose Hospitality LLC's
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Response to Objection to Claim No. 60, and Motion to Estimate Claim for Voting Purposes
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will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
04/23/2020          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See attached page.



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              04/23/2020        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
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for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
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filed.

See attached page.



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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

04/23/2020         Stephen D. Finestone                                                        /s/ Stephen D. Finestone
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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     1. SERVED BY CM/ECF
         On April 23, 2020, I checked the CM/ECF docket for this bankruptcy case and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

    •   Tanya Behnam: tbehnam@polsinelli.com, tanyabehnam@gmail.com
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        gcruz@swelawfirm.com, jchung@swelawfirm.com
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    •   Ben H Logan: blogan@omm.com
    •   Robert S Marticello: Rmarticello@swelawfirm.com, gcruz@swelawfirm.com,
        lgarrett@swelawfirm.com, jchung@swelawfirm.com
    •   David W. Meadows: david@davidwmeadowslaw.com
    •   Kevin Meek: kmeek@robinskaplan.com, kevinmeek32@gmail.com, kmeek@ecf.inforuptcy.com
    •   John A Moe: john.moe@dentons.com, glenda.spratt@dentons.com
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    •   Matthew J Olson: olson.matthew@dorsey.com, stell.laura@dorsey.com
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        cblair@ecf.inforuptcy.com, dlee@metallawgroup.com, dlee@ecf.inforuptcy.com
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    •   Benjamin Taylor: btaylor@taylorlawfirmpc.com
    •   United States Trustee (LA): ustpregion16.la.ecf@usdoj.gov
    •   Felix T Woo: fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
    •   Claire K Wu: ckwu@sulmeyerlaw.com, mviramontes@sulmeyerlaw.com,
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    •   Emily Young: pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com,
        ECFInbox@epiqsystems.com
    •   David B Zolkin: dzolkin@ztlegal.com, maraki@ztlegal.com, sfritz@ztlegal.com

    2. SERVED BY OVERNIGHT MAIL
        On April 23, 2020, I served the following persons and/or entities by overnight Federal Express
mail service.

        Presiding Judge’s Copy
        Not required per Amended General Order 20-02 and Second Amended General Order 20-02.

        Trustee
        Served by CM/ECF pursuant to LBR 2002-2(a)(2).
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 1   Stephen D. Finestone (125675)
     Ryan A. Witthans (301432)
 2   FINESTONE HAYES LLP
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 3   San Francisco, CA 94104
     Tel. (415) 421-2624
 4   Fax (415) 398-2820
     Email: sfinestone@fhlawllp.com
 5   Email: rwitthans@fhlawllp.com

 6   Attorneys for Han’s San Jose
     Hospitality LLC
 7
                            UNITED STATES BANKRUPTCY COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
                                  LOS ANGELES DIVISION
 9

10    In re                                             Case No. 2:19-bk-24804-VZ
11
      YUETING JIA,                                      Chapter 11
12
                              Debtor.                   HAN’S SAN JOSE HOSPITALITY
13                                                      LLC’S LIMITED OBJECTION TO
                                                        AMENDED DISCLOSURE
14                                                      STATEMENT1
15                                                      Hearing
                                                        Date: March 19, 2019
16                                                      Time: 9:30 a.m.
17                                                      Place: Courtroom 1368
                                                               255 East Temple Street
18                                                             Los Angeles, CA 90012

19
              Han’s San Jose Hospitality (“Han’s”) submits this limited objection (the “Objection”) to
20
     the motion of Yueting Jia (the “Debtor”) for an order approving his third amended disclosure
21
     statement (the “Disclosure Statement”) and for related relief as follows:
22
              Han’s is an unsecured creditor of the Debtor having timely filed proof of claim number
23
     60 in the amount of $15,651,286.10. Han’s also is a plaintiff in the following state court action
24
     filed against the Debtor, and certain non-debtors: Han’s San Jose Hospitality LLC v. Jia Yueting,
25
     et al., Case No. 19 CV342187 (consolidated with Han’s San Jose Hospitality LLC v. Le
26

27
              1
28           Unless specified otherwise, all chapter and code references are to the Bankruptcy Code,
     11 U.S.C. §§ 101–1532. “DS” references are to the Debtor’ Third Amended Disclosure
     Statement, dated March 2, 2020. “ECF” references are to the docket in the above-captioned case.
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 1   Holdings (Beijing) Co., LTD, et al., Case No. 17CV317221) pending in the Santa Clara Superior

 2   Court, San Jose, California (the “Action”). In the Disclosure Statement, the Debtor has included

 3   the Action as one of the “Retained Actions” over which the Reorganized Debtor retains the

 4   power to enforce, settle or litigate. (See DS 56-7, and Schedule “A” to DS).

 5           Han’s disagrees that the Action is a Retained Action for several reasons. First, the Action

 6   asserts breach of contract claims against Ocean View Drive, Inc., Le Holdings (Beijing) Co.,

 7   Ltd., Le Technology, Inc. and Faraday&Future Inc. which are not debtors in this case. (Han’s

 8   understands that the Action is stayed by this Chapter 11 case as against the Debtor.) The

 9   complaint in the Action alleges an alter-ego theory with respect to the Debtor, Le Holdings, Le

10   Technology and Faraday&Future because the lease in question was signed by Le Technology

11   and Le Holdings, but not Faraday&Future or the Debtor.

12           By letter to Han’s counsel, dated February 13, 2020, the Debtor has taken the broad

13   position that the entire Action is property of the Debtor’s estate because the Action asserts an

14   alter-ego theory which represents a general injury to all the Debtor’s creditors. To support this

15   view, the Debtor cited Folks v. CBS, Inc., (In re Folks), 211 B.R. 378, 387-88 (B.A.P. 9th Cir.

16   1997) (“An alter ego claim against the principal of a corporate debtor is property of the corporate

17   debtor’s bankruptcy estate… insofar as the claim is a general one, with no particularized injury

18   arising from it, which is based upon injury to the corporate debtor and all its creditors, rather

19   than a personal claim belonging to any individual creditor.”

20           The Debtor is mistaken. Han’s claims set forth in the Action are particularized injuries

21   relating to a specific lease and specific real property, not a general injury to all of the Debtor’s

22   creditors. The Ninth Circuit has supported the view that an individual creditor, not a bankruptcy

23   trustee, is entitled to pursue an alter ego claim if the creditor suffered a particularized injury. See,

24   Ahcom, Ltd. v. Smeding, 623 F. 3d 1248 (9th Cir. 2010) (reversing district court and finding that

25   corporation’s bankruptcy trustee had limited power to sue on alter ego theory if creditor

26   articulates particularized harm). For these reasons, the Action should not be included in the

27   Retained Actions under the Disclosure Statement.

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                                                        3 of 204
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 1          For the above reasons, Han’s respectfully requests that the Court enter an order directing

 2   that the Disclosure Statement be amended to remove the Action from the Retained Actions; or

 3   alternatively, reserving the issue for the hearing on approval of the Chapter 11 plan.

 4

 5    DATED: March 11, 2020                             FINESTONE HAYES LLP

 6
                                                        /s/ Stephen D. Finestone
 7                                                      Stephen D. Finestone
                                                        Attorneys for Han’s San Jose
 8                                                      Hospitality LLC
 9

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Stephen D. Finestone, Finestone Hayes LLP, 456 Montgomery Street, Floor 20, San Francisco, CA 94104.

                                                                      Han's San Jose Hospitality LLC's Limited
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Objection to Amended Disclosure Statement
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
03/12/2020          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See attached page.



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              03/12/2020        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  03/12/2020
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

See attached page.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

03/13/2020         Stephen D. Finestone                                                        /s/ Stephen D. Finestone
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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     1. SERVED BY CM/ECF
         On March 12, 2020, I checked the CM/ECF docket for this bankruptcy case and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

   •   Attorneys for Debtor Yueting Jia: Jeffrey W Dulberg, Malhar S Pagay:
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   •   Attorneys for Creditor Han’s San Jose Hospitality LLC: Stephen D Finestone:
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       Investment Holding Co., Ltd., Marvel Best Technology Limited, Oriental Light Consulting
       Limited, Quanzhou Dings Investment Management Co., Ltd., Sanpower (Hong Kong)
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       Network Technology Co Ltd., Ningbo Hangzhou Bay New Area Leran Investment
       Management Partnership (Limited Partnership), Weidong Zhu, Zhijian Dong: Victor A.
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                                                        6 of 204
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    2. SERVED BY OVERNIGHT MAIL
        On March 12, 2020, I served the following persons and/or entities by overnight Federal Express
mail service.

        Presiding Judge’s Copy
        Hon. Vincent P. Zurzolo
        U.S. Bankruptcy Court
        255 East Temple St., Ste. 1360
        Los Angeles, CA 90012

        Trustee
        Office of the U.S. Trustee
        915 Wilshire Blvd, Ste. 1850
        Los Angeles, CA 90017

    3. SERVED BY ELECTRONIC MAIL
       On March 12, 2020, I served the following persons and/or entities by electronic mail service.

        Attorneys for Debtor Yueting Jia: Jeffrey W. Duhlberg: jdulberg@pszjlaw.com
        Attorneys for Debtor Yueting Jia: Malhar S. Pagay: mpagay@pszjlaw.com
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                        Main Document   Page 157 of 204




                EXHIBIT 5
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     Tel. (415) 421-2624
 4   Fax (415) 398-2820
     Email: sfinestone@fhlawllp.com
 5   Email: rwitthans@fhlawllp.com

 6   Nelson W. Goodell (264734)
     The Goodell Law Firm
 7   5 Third Street, Suite 1100
     San Francisco, CA 94103
 8   (415) 495-3950 (office)
     (415) 495-3970 (fax)
 9
     Attorneys for Han’s San Jose
10   Hospitality LLC
11                            UNITED STATES BANKRUPTCY COURT
12                             CENTRAL DISTRICT OF CALIFORNIA
                                    LOS ANGELES DIVISION
13

14       In re                                                 Case No. 2:19-bk-24804-VZ

15       YUETING JIA,                                          Chapter 11
16                                                             HAN’S SAN JOSE HOSPITALITY
                                Debtor.
                                                               LLC’S OBJECTION TO
17                                                             CONFIRMATION OF CHAPTER 11
                                                               PLAN1
18
19                                                             Hearing
                                                               Date: May 7, 2020
20                                                             Time: 1:30 p.m.
                                                               Place: Courtroom 1368
21                                                                    255 East Temple Street
                                                                      Los Angeles, CA 90012
22

23

24

25   1
      Unless specified otherwise, all chapter and code references are to the Bankruptcy Code, 11 U.S.C. §§ 101–1532.
     “Plan” references Debtor’s Third Amended Chapter 11 Plan, dated March 20, 2020. “DS” references are to the
26   Debtor’s Fourth Amended Disclosure Statement, dated March 20, 2020. “Han’s Response” references are to Han’s
     “Response to Objection to Claim No. 60 and Motion to Estimate Claim for Purposes of Voting,” dated April 23,
27   2020, filed (ECF 666). “ECF” references are to the docket in the above-captioned case.

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                                                                 2 of 204
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 1              Han’s San Jose Hospitality LLC (“Han’s”) submits this objection (the “Objection”) to the

 2   confirmation of the Debtor’s “Third Amended Plan of Reorganization Under Chapter 11 of the

 3   Bankruptcy Code,” dated March 20, 2020 (the “Plan’), filed by Yueting Jia (the “Debtor”). In

 4   further support of the Objection, Han’s submits the declaration of Stephen D. Finestone (the

 5   “Finestone Declaration”). This Objection refers to and incorporates Han’s Response (ECF 666)2.

 6                                                      SUMMARY

 7              The Plan should not be confirmed as it presently exists. The Plan impermissibly interferes

 8   with Han’s continued prosecution of the pending Action (defined below) against certain non-

 9   debtor defendants and is ambiguous regarding whether the Plan’s broad release and injunctive

10   provisions affect or bar Han’s claims in the Action. Moreover, the Plan contains other

11   infirmities. The Plan fails to provide for a disputed claim reserve, the absence of which

12   prejudices a creditor with a disputed claim if a distribution occurs prior to resolution of that

13   claim. The Plan grants broad releases rather than a discharge, the latter of which is the

14   appropriate result of a confirmed plan. The Plan includes confusing language that could

15   potentially lead to an argument over the extent of the discharge/release and its effect on Han’s

16   state court litigation. The Plan waives Chapter 5 claims and creates an artificial deadline of 180

17   days for asserting certain claims and improperly requires the post confirmation trustee (the

18   “Trustee”) to meet and confer with the Debtor before bringing any action. Finally, to the extent
19   there are any non-consenting classes, the Plan violates the absolute priority rule.

20              Accordingly, Han’s submits that the Plan should not be confirmed in its present version.

21   A revised plan and a confirmation order that resolve the problems discussed below should be

22   necessary for the Plan to be confirmed.

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27       The Debtor withdrew, without prejudice, his objection to the Claim and motion to estimate the Claim. EFC 694.

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                                                           3 of 204
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 1                                           BACKGROUND

 2   Han’s Status in the Bankruptcy Case

 3          As set forth in Han’s Response, Han’s is an unsecured creditor of the Debtor having

 4   timely filed its Claim in the amount of $15,651,286.10 (the “Claim”). The basis of the Claim is

 5   set forth in Han’s state court complaint filed against the Debtor and certain non-debtors (the

 6   “Complaint”), styled Han’s San Jose Hospitality LLC v. Jia Yueting, et al., Case No. 19

 7   CV342187 (consolidated with Han’s San Jose Hospitality LLC v. Le Holdings (Beijing) Co.,

 8   LTD, et al., Case No. 17CV317221) (collectively the “Action”) pending in the Santa Clara

 9   Superior Court, San Jose, California (the “State Court”). The non-debtor defendants in the

10   Action are: Le Holdings (Beijing) Co., LTD, Le Technology, Inc., Ocean View Drive, Inc.

11   (“Ocean View”) and Faraday&Future Inc., (collectively, the “Non-Debtor Defendants”). The

12   Claim arises from the leasing and occupancy of an 86,000 square foot office building.

13          The purpose of this Objection is to respond to the Debtor’s inclusion of the Action in the

14   list of “Retained Actions” under the Plan. The Plan provides that the Reorganized Debtor or the

15   Trust has the power to pursue, litigate and settle the Retained Actions. Plan 8.3 and Plan

16   Schedule “A.”

17                               OBJECTIONS TO CONFIRMATION

18          A. Debtor’s Plan Improperly Seeks to Include the Action as a Retained Action
19          The Debtor describes the Action in Schedule “A” to the Plan as “unlawful detainer/alter

20   ego,” however, that is not a complete description of the Action. A complete description of the

21   Action is set forth in Han’s Response. In short, the Action involves breach of contract and

22   intentional interference with contract claims, as well as other damage claims based on fraud,

23   negligent misrepresentation and alter ego theories.

24          Section 1129 provides that a plan shall be confirmed only if the plan complies with “the

25   applicable provisions of this title.” Section 1129(a)(1); Resorts Int'l v. Lowenschuss (in Re

26   Lowenschuss), 67 F.3d 1394, 1401 (9th Cir. 1995) cert. denied, 517 U.S. 1243 (1996). A plan
27   cannot deal with property or claims that are not property of the chapter 11 estate. Also, a

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                                                          161
                                                            4 of 204
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 1   discharge under a chapter 11 plan cannot release claims against non-debtor third parties. See

 2   Section 524(e), See, Resorts 1401-2. The Plan provides that the Reorganized Debtor “expressly

 3   reserves all Retained Actions for later adjudication …” and that the proceeds of Retained Actions

 4   shall be transferred to the Trust (while the Reorganized Debtor retains control of the Retained

 5   Actions. Plan 8.3

 6          The Debtor has taken the position that the Action is properly included as a Retained

 7   Action because all alter ego causes of action which assert a claim based on a general injury, as

 8   opposed to a particularized injury, are property of the Debtor’s estate under section 541(a). See

 9   Exhibit A to Finestone Declaration. In the letter attached as Exhibit A to the Finestone

10   Declaration, the Debtor relies on the B.A.P decision in Folks v. CBS, Inc. (In re Folks), 211 B.R.

11   378, 387-88 (B.A.P. 9th Cir. 1997) (“An alter ego claim against the principal of a corporate

12   debtor is property of the corporate debtor’s bankruptcy estate . . . insofar at the claim is a general

13   one, with no particularized injury arising from it, which is based upon injury to the corporate

14   debtor and all its creditors, rather than a personal claim belonging to any individual creditor”

15   (citation omitted)). As property of a debtor’s estate, “only the Debtor or Trustee has standing to

16   assert the alter ego claim where injury to the corporation is alleged.” Id. at 385 (citation omitted).

17          Han’s submits that the Debtor’s position is incorrect for several reasons. First, Debtor’s

18   argument regarding the alter ego claims (which are only a portion of the claims) is nonsensical.
19   Were one of the corporate parties the debtor, then Debtor would at least have a colorable (though

20   incorrect) argument that the alter ego claims against him were property of the estate. In this

21   case, however, the Debtor is the alleged alter ego. The claims against the other corporate Non-

22   Debtor defendants cannot be property of this Debtor’s bankruptcy estate and Debtor offers no

23   explanation of how these claims could be.

24          Second, Han’s Claim is based on a particularized injury. The injury is based upon a lease

25   agreement with two of the Non-Debtor Defendants which the Debtor allegedly controlled as his

26   alter ego. Beyond the alter ego claims, Debtor and the Non-Debtor defendants have liability
27   based upon their personal conduct. For example, Han’s Claim alleges that the Debtor and other

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                                                            5 of 204
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 1   parties intentionally interfered with the lease agreement with the Non-Debtor Defendants. This is

 2   an independent state law claim that is separate from the alter ego allegations. See Han’s

 3   Response 14-16.

 4          Third, the Ninth Circuit in Ahcom, Ltd. v. Smeding, 623 F. 3d 1248, 1252 (9th Cir. 2010)

 5   held that a chapter 11 trustee did not have the exclusive right to pursue claims based on an alter

 6   ego theory against the individual owners of a debtor corporation. In reversing the District Court,

 7   the Ninth Circuit held that state law determines whether a claim belongs to a trustee or a creditor,

 8   Id. 1250; (citing Butner v. United States, 440 U.S. 48, 54-55 (1979). The Ninth Circuit held that,

 9   under California law, there is “no such thing as a substantive alter ego claim at all: ‘A claim

10   against a defendant, based on the alter ego theory, is not itself a claim for substantive relief, e.g.

11   breach of contract of to set aside a fraudulent conveyance, but rather, procedural . . . .’” (citing

12   Hennessey's Tavern, Inc. v. Am. Air Filter Co., 204 Cal. App. 3d 1351, 251 Cal. Rptr. 859, 863

13   (Ct. App. 1988)).

14          Thus, it follows that it is improper for the Debtor to seek to generally retain “alter ego”

15   claims or any of the claims asserted by Han’s in the Action. And, it is improper for the Debtor to

16   attempt to wrest control of Han’s state court claims – which include in part alter ego theories. As

17   Han’s Claim seeks damages from the Non-Debtor Defendants who are not receiving a release

18   under the Plan (as such a release would be improper), the Plan cannot prohibit Han’s from
19   pursuing those claims. The Plan should not be confirmed unless the provisions concerning

20   Retained Claims is modified to exclude the Action.

21          B. The Discharge Provisions are Too Broad

22          Section 11.3 of the Plan (“Discharge of Claims”) provides that the Debtor is discharged

23   from all “Claims against the Debtor or any nature whatsoever, whether known or unknown, or

24   against the assets or properties of the Debtor that arose before the Effective Date.” (emphasis

25   supplied) Plan 11.3. First, to the extent that Han’s seeks to recover from the Non-Debtor

26   Defendants in the Action through an alter ego theory, it is unclear whether this broad discharge
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                                                                6 of 204
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 1   would prohibit Han’s from pursuing the Non-Debtor Defendants in the Action3. In order to avoid

 2   confusion on this point, Han’s requests that this Court make clear in any order confirming the

 3   Plan that the discharge injunction does not provide a discharge to the Non-Debtor Defendants in

 4   the Action, and that all of Han’s rights, causes of action and defenses in respect of the Action are

 5   preserved.

 6           Second, pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise

 7   specifically provided in the Plan, the distributions, rights, and treatment that are provided in

 8   the Plan will be in exchange for, and in complete satisfaction, settlement, discharge, and

 9   release of, all Claims against the Debtor of any nature whatsoever, whether known or

10   unknown, or against the assets or properties of the Debtor that arose before the Effective

11   Date. A discharge is similar to but not as broad as a full release.

12           Section 11.9 of the Plan provides a broad release of all causes of action which could be

13   interpreted to mean that a creditor cannot pursue a derivative claim against the Debtor or

14   Reorganized Debtor. That would arguably preclude Han’s from pursing its Action against the

15   Non-Debtor Defendants to the extent Han’s seeks to impose liability through an alter ego theory.

16   Section 11.9 also provides that the Trust, in limited circumstances, may pursue these claims and

17   Causes of Action. The Plan should be clarified that the releases contained in section 11.9 do not

18   affect or enjoin Han’s ability to pursue the Action against the Non-Debtor Defendants.
19           To the extent a discharge is granted in connection with confirmation, a rarity in an

20   individual Chapter 11 case given the limitations of Section 1141(d)(5), the discharge should be

21   consistent with the Bankruptcy Code and not a far-reaching release. See Plan at Sections 11.3,

22   11.4 and 11.5.

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      See, also, Plan 11.3 at page 51, “Except as expressly provided in the Plan, any holder of a discharged Claim will
26   be precluded from asserting against the Debtor or any of his assets any other or further Claim based on any
     document, instrument, act, omission, transaction, or other activity of any kind or nature that occurred before the
27   Effective Date.” (emphasis supplied).

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 1          With respect to the timing of the discharge, Debtor claims he is entitled to a discharge on

 2   confirmation because he is distributing upon confirmation an amount greater than his projected

 3   income. (Motion in Support of Confirmation at page 27-28). It is not clear that transferring assets

 4   into a trust and retaining the right to 5% distribution from the trust is the type of distribution

 5   intended by the Bankruptcy Code. While the Debtor’s projected income is uncertain, so is the

 6   trust’s recovery and the resultant distribution to creditors. Given this uncertainty, the Court

 7   ought to consider a delay on the request for a discharge.

 8          C. The Plan Needs to Establish a Disputed Claim Reserve

 9          Article VIII provides for resolution of disputed claims. Section 8.2 provides no

10   distribution will be made for a claim for which there is a pending objection until such time that

11   the claim becomes an Allowed Claim. This provision is uncontroversial, but Han’s does not

12   believe that the Plan includes a provision requiring the trust to reserve for any disputed claims

13   when making distributions. Obviously, it is unfair to any creditor holding a disputed claim to

14   have distributions occur prior to its claim becoming allowed without a reserve for the claim

15   based upon its filed amount. Without a reserve for disputed claims, the creditor is at risk of not

16   receiving its pro rata share of the distributions. Han’s asserts that the Court should not confirm

17   the Plan without requiring a modification (or clarification) requiring the Trustee of the trust to

18   reserve the full amount of any disputed claims.
19          D. The Provisions Regarding Chapter 5 Claims and Bankruptcy Actions are

20              Inappropriate

21          The Plan waives all claims provided for under Chapter 5 of the Bankruptcy Code. There

22   is no lawful or practical reason for this waiver, whether or not negotiated between the Debtor and

23   the Creditors’ Committee. Notwithstanding the waiver, the Plan does allow the Trustee to pursue

24   certain actions. (See Section 11.9). In order to pursue any such action, however, the Trustee must

25   first meet and confer with the Debtor regarding the proposed action. Moreover, the Trustee has a

26   limit of 180 days to bring such an action. First, having a “waiver” but then excising some types
27   of claims from the waiver is inviting confusion and controversy. Second, it is inappropriate, and

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 1   an abdication of the Trustee’s fiduciary duties, for the Debtor to be involved in the Trustee’s

 2   decision whether to pursue a particular claim. Third, the Trustee, and by relation the unsecured

 3   creditors, should not be limited to a 180-day statute of limitations for Chapter 5 actions; rather

 4   the two-year period provided by Section 546(a) should apply.

 5                                          CONCLUSION

 6          In summary, Han’s requests that the Court deny confirmation of the Plan for the above

 7   reasons or require modification of the Plan to remedy the infirmities discussed above. Han’s

 8   suggests the following provisions be included in the Plan or in any order entered by the Court

 9   confirming the Plan:

10      •   The Action is no longer a “Retained Action” under the Plan and Schedule “A” to the Plan

11          is amended to delete any reference to the Action

12      •   Notwithstanding anything to the contrary in the Plan, the Plan Supplement (as they may

13          be amended), the order confirming the Plan, and the Trust Agreement:

14                       ➢ Section 11.3 of the Plan does not apply to the Action and Han’s is not

15                           barred or enjoined from continuing to prosecute the Action against the

16                           Non-Debtor Defendants and their property interests.

17                       ➢ The releases granted to the Released Parties under section 11.4 of the Plan

18                           do not apply to the Action and do not bar or enjoin Han’s from continuing
19                           to prosecute the Action against the Non-Debtor Defendants and their

20                           property interests.

21                       ➢ The release of “Causes of Action” and “Retained Actions” under section

22                           11.9 of the Plan, does not apply to the Action and does not bar or enjoin

23                           Han’s from continuing to prosecute the Action against the Non-Debtor

24                           Defendants and their property interests.

25                       ➢ The release of “Causes of Action” and “Retained Actions” under section

26                           11.9 of the Plan does not give the Trust or the Reorganized Debtor
27                           standing to pursue or intervene in the Action, and does not bar or enjoin

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                                                            9 of 204
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 1                           Han’s from continuing to prosecute the Action against the Non-Debtor

 2                           Defendants and their property interests.

 3                        Section 8.2 shall be amended to provide for an appropriate Disputed

 4                           Claims reserve.

 5                        Section 11.9 shall be modified to delete the waiver of Chapter 5 claims,

 6                           provide the Trustee with the time provided by Section 546(a) to bring any

 7                           actions, and to delete the requirement for consultation with the Debtor.

 8                        The automatic stay of section 362 or any post-confirmation injunction is

 9                           modified to permit Han’s to continue to prosecute the Action against the

10                           Non-Debtor Defendants and their property interests.

11          Wherefore, Han’s respectfully requests that the Court deny confirmation of the Plan

12   consistent with the objections set forth herein.

13
     Dated: May 7, 2020                                 FINESTONE HAYES LLP
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                                                        Stephen D. Finestone
16                                                      Attorneys for Han’s San Jose Hospitality LLC
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 1    Stephen D. Finestone (125675)
      Ryan A. Witthans (301432)
 2    FINESTONE HAYES LLP
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 3    San Francisco, CA 94104
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 5    Email: rwitthans@fhlawllp.com

 6    Nelson W. Goodell (264734)
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 7    5 Third Street, Suite 1100
      San Francisco, CA 94103
 8    (415) 495-3950 (office)
      (415) 495-3970 (fax)
 9
      Attorneys for Han’s San Jose
10    Hospitality LLC
11                        UNITED STATES BANKRUPTCY COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
                                LOS ANGELES DIVISION
13

14     In re                                  Case No. 2:19-bk-24804-VZ

15     YUETING JIA,                           Chapter 11
16                                            DECLARATION OF STEPHEN D.
                            Debtor.
                                              FINESTONE IN SUPPORT OF HAN’S
17                                            SAN JOSE HOSPITALITY LLC’S
                                              OBJECTION TO CONFIRMATION OF
18                                            CHAPTER 11 PLAN
19
                                              Hearing
20                                            Date: May 7, 2020
                                              Time: 1:30 p.m.
21                                            Place: Courtroom 1368
                                                     255 East Temple Street
22                                                   Los Angeles, CA 90012
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 1    I, Stephen D. Finestone, declare as follows:

 2           1.      I am an attorney admitted to practice law in the State of California and before this

 3    Court. I am counsel of record for Han’s San Jose Hospitality LLC (“Han’s”) and make this

 4    declaration in support of Han’s Objection to Confirmation of Chapter 11 Plan (the “Objection”).

 5           2.      A portion of the Objection concerns Han’s right to continue with litigation

 6    pending in state court against certain non-Debtor parties. On or about January 20, 2020, my co-

 7    counsel, Nelson Goodell received a letter from Jeffrey Dulberg, one of Debtor’s counsel. The

 8    letter asserted that the claims against non-Debtor defendants in the state court litigation belonged

 9    to the estate. The letter threatened sanctions and other negative outcomes if Han’s continued

10    with the litigation. The position expressed in the letter is similar to the Debtor’s Plan, which

11    seeks to retain and control the state court litigation against non-Debtor entities. Attached is a true

12    and correct copy of the letter. As the letter was sent as a Word document, when it is opened the

13    date automatically changes to the current date, but it was sent in January of this year.

14           I declare under penalty of perjury under the laws of the United States that the foregoing is

15    true and correct. Executed this 7th day of May, 2020 in San Francisco, California.

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18                                                       Stephen D. Finestone
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                                 Jeffrey W. Dulberg               May 7, 2020                      310.772.2355
                                                                                           jdulberg@pszjlaw.com




L O S A N G E L E S, C A
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W I L M I N G T O N, D E
                                 VIA EMAIL
N E W Y O R K, N Y
C O S T A M E S A, C A

10100 SANTA MONICA BLVD.          Nelson W. Goodell
13th FLOOR                        The Goodell Law Firm
LOS ANGELES
CALIFORNIA 90067
                                  5 Third Street, Suite 1100
                                  San Francisco, CA 94103
TELEPHONE: 310/277 6910

FACSIMILE: 310/201 0760
                                  Email: nelson@goodelllawsf.com

SAN FRANCISCO
150 CALIFORNIA STREET
                                            Re:       Han’s San Jose Hospitality LLC v.
15th FLOOR                                            Yueting Jia, et al., Case No. 19 CV342187
SAN FRANCISCO
CALIFORNIA 94111-4500            Dear Mr. Goodell:
TELEPHONE: 415/263 7000

FACSIMILE: 415/263 7010                  Pachulski Stang Ziehl & Jones LLP is bankruptcy counsel to
                                 Yueting Jia (“YT”), who voluntarily filed for bankruptcy protection
DELAWARE
                                 under chapter 11 of title 11 of the United States Code (the
919 NORTH MARKET STREET
17th FLOOR
                                 “Bankruptcy Code”) in the United States Bankruptcy Court for the
P.O. BOX 8705                    District of Delaware (the “Bankruptcy Court”) on October 14, 2019
WILMINGTON                       (the “Petition Date”).
DELAWARE 19899-8705

TELEPHONE: 302/652 4100                  When a debtor files for chapter 11 relief, an estate is created
FACSIMILE: 302/652 4400          consisting of all of the debtor’s legal and equitable interests in its
                                 property. See 11 U.S.C. § 541(a). Upon commencement of the
NEW YORK
                                 chapter 11 case, a debtor’s estate is immediately subject to the
780 THIRD AVENUE
34th FLOOR
                                 protections of the automatic stay of section 362 of the Bankruptcy
NEW YORK                         Code. Section 362(a)(3) provides that the automatic stay “operates
NEW YORK 10017-2024              as a stay, applicable to all entities, of—any act to obtain possession
TELEPHONE: 212/561 7700          of property of the estate or of property from the estate or to exercise
FACSIMILE: 212/561 7777          control over property of the estate.” 11 U.S.C. § 362(a)(3).

COSTA MESA                               Property of the estate is broadly defined and includes any
650 TOWNE CENTER DRIVE
                                 claims and causes of action that YT had or could have asserted prior
SUITE 1500
COSTA MESA
                                 to the Petition Date. See United States v. Whiting Pools, Inc., 462
CALIFORNIA 92626                 U.S. 198, 205 n.9 (1983). Specifically, YT’s estate includes any
TELEPHONE: 714/384 4750          alter ego claims that are based upon general injury to all of his
FACSIMILE: 714/384 4751




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                          Nelson W. Goodell
                          May 7, 2020
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                         creditors. See Folks v. CBS, Inc. (In re Folks), 211 B.R. 378, 387-88
                         (B.A.P. 9th Cir. 1997) (“An alter ego claim against the principal of a
                         corporate debtor is property of the corporate debtor’s bankruptcy
                         estate . . . insofar at the claim is a general one, with no particularized
                         injury arising from it, which is based upon injury to the corporate
                         debtor and all its creditors, rather than a personal claim belonging to
                         any individual creditor” (citation omitted)). As property of a
                         debtor’s estate, “only the Debtor or Trustee has standing to assert
                         the alter ego claim where injury to the corporation is alleged.” Id.at
                         385 (citation omitted).

                                 Upon review of the claims asserted in the state court action
                         captioned Han’s San Jose Hospitality LLC v. Jia Yueting, et al.,
                         Case No. 19 CV342187, Superior Court of California, County of
                         Santa Clara (the “State Court Action”), we have determined that
                         such claims are general alter ego claims that constitute property of
                         YT’s estate. Accordingly, as a debtor in possession, only YT has
                         standing to assert such claims and any act by Han’s San Jose
                         Hospitality LLC to assert control over such claims is a violation of
                         section 362(a)(3) of the Bankruptcy Code.

                                 Failure to comply with the applicable provisions of the
                         Bankruptcy Code may necessitate proceedings in the Bankruptcy
                         Court with the attendant possibility of sanctions, costs, and other
                         expenses. Moreover, parties may be held in contempt of court for
                         violating the automatic stay. See Cuffee v. Atlantic Bus. and Cmty.
                         Dev. Corp. (In re Atlantic Bus. and Cmty. Corp.), 901 F.2d 325, 329
                         (3d Cir. 1990); see also 11 U.S.C. § 362(k)(1) (stating that a party
                         “injured by any willful violation of a stay . . . shall recover actual
                         damages, including costs and attorneys’ fees”).

                                 Please be advised that your failure to comply with the
                         applicable provisions of the Bankruptcy Code may necessitate the
                         filing of proceedings in the Bankruptcy Court to compel you to
                         comply with the requirements of the automatic stay. YT expressly
                         reserves all of his rights and remedies under the Bankruptcy Code
                         (including, without limitation, section 362 of the Bankruptcy Code)
                         and other applicable law. Accordingly, we trust that you will
                         immediately abide by the automatic stay with respect to the State
                         Court Action.




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                          Nelson W. Goodell
                          May 7, 2020
                          Page 3


                                 Please do not hesitate to contact me with any questions.

                                                       Regards,


                                                       Jeffrey W. Dulberg

                                                       Jeffrey W. Dulberg

                         JWD




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I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Ryan A. Witthans, Finestone Hayes LLP, 456 Montgomery Street, Floor 20, San Francisco, CA 94104.

                                                                      Han's San Jose Hospitality LLC's Objection to
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Confirmation of Chapter 11 Plan; Declaration of Stephen D. Finestone in Support of Han's San Jose Hospitality LLC's
________________________________________________________________________________________________
________________________________________________________________________________________________
 Objection to Confirmation of Chapter 11 Plan
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
05/07/2020          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See attached page.



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

05/07/2020         Ryan A. Witthans                                                            /s/ Ryan A. Witthans
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                          Proof
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                                of Service Page
                                             Page
                                                174
                                                  2 of
                                                    of 5204


      1. SERVED BY CM/ECF
          On May 7, 2020, I checked the CM/ECF docket for this bankruptcy case and determined that the
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 addresses stated below:

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 Case2:19-bk-24804-VZ
      2:19-bk-24804-VZ Doc
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                                                176
                                                  4 of
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 Case2:19-bk-24804-VZ
      2:19-bk-24804-VZ Doc
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                                                  5 of
                                                    of 5204


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 Emily Young on behalf of Other Professional Epiq Corporate Restructuring, LLC
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                        Main Document   Page 178 of 204




                EXHIBIT 6
     Case 2:19-bk-24804-VZ         Doc 893
                                        784 Filed 09/08/20
                                                  05/21/20 Entered 09/08/20
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                                                           1 ofof13
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                               UNITED STATES BANKRUPTCY COURT
9
                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10
11   In re:                                            Case No.: 2:19-bk-24804-VZ

12   Yueting Jia                                       CHAPTER 11
13                                                     FINDINGS OF FACT AND CONCLUSIONS
                                                       OF LAW REGARDING MOTION TO
14                                                     CONFIRM DEBTOR’S 3rd AMENDED PLAN
15                                                     OF REORGANIZATION
                                       Debtor(s).
16                                                     Date: May 21, 2020
                                                       Time: 9:30 a.m.
17                                                     Ctrm: 1368, Roybal Federal Building
                                                             255 E. Temple Street
18                                                           Los Angeles, CA 90012
19
20                                I.       DOCUMENTS AND APPEARANCES
21            On May 21, 2020, a hearing was held on a motion for order confirming 3rd Amended Plan
22   of reorganization (“Motion”, docket entry #657, and “3rd Amended Plan, or Plan”, docket entry
23   #464) filed by Yueting Jia (“Debtor”). Appearances are noted on the record.
24            Prior to the Motion being filed, an order was entered granting a motion to approve
25   adequacy of a 4th Amended Disclosure Statement (“4th Amended Disclosure Statement”, docket
26   entry #465, and “Disclosure Statement Order”, docket entry #485). Subsequently, the debtor
27   timely filed: (1) A notice of hearing on the Motion (“Notice of Hearing”, docket entry #494), (2)
28   a declaration establishing translation into Mandarin of the 4th Amended Disclosure Statement, 3rd




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Case 2:19-bk-24804-VZ            Doc 893
                                      784 Filed 09/08/20
                                                05/21/20 Entered 09/08/20
                                                                    05/21/20 19:03:42
                                                                             16:17:31                 Desc
                                 Main
                                   Main
                                      Document
                                        Document Page
                                                    Page180
                                                         2 ofof13
                                                                204



Amended Plan, and documents attached to the Disclosure Statement (docket entry #495); and (3)
Proof of service of several documents (docket entry #496): 4th Amended Disclosure Statement,
3rd Amended Plan, Disclosure Statement Order, Ballot & Solicitation Package, Notice of Voting
Status, Notice of Hearing, and a letter from the debtor to unsecured creditors.
        The Debtor timely filed several documents in support of the Motion: (1) Declaration of
Yueting Jia (docket entry #658); (2) Declaration of Mattias Aydt (docket entry #659); (3)
Declaration of Jiawei Wang (docket entry #660); (4) Declaration of Charles Hsieh (docket entry
#661); (5) Declaration of Robert Moon (docket entry #662); (6) Notice of Plan Supplement
(docket entry #678); (7) Declaration of Stephanie Kjontvedt (docket entry #711 ); and (8)
Declaration of Malhar Pagay (docket entry #712).
        Five parties timely filed and served objections to confirmation of the 3rd Amended Plan,

along with supporting declarations; namely: (1) Han’s San Jose Hospitality LLC (“Han’s”,

docket entry #714); (2) Zhejiang Zhongtai Chuangzhan Enterprise Management Co., Ltd

(“ZZC”, docket entries #716, 718); (3) Liuhuan Shan (docket entry #719)1; (4) Shanghai Lan Cai

Asset Management Co., Ltd. (“SLC”, docket entries #720, 721, 723)2; and (5) the United States

trustee (“UST”, docket entry #735)3.

        A reply (docket entry #756) and supporting declarations were timely filed by the Debtor:

(1) Declaration of Yueting Jia (docket entry #757); (2) Declaration of Richard Pachulski (docket

entry #758); (3) Declaration of Adrian Francis (docket entry #759); and (4) Declaration of Terry

Treemarcki (docket entry #760). Evidentiary objections were timely filed by the Debtor: (1)

Objections to Declaration of Timothy de Swardt (docket entry #761); and (2) Objections to

Declaration of Dongdong Pan (docket entry #762).

        A reply and a supporting declaration of William B. Waldie were timely filed by the

Official Committee of Unsecured Creditors (“Committee”, docket entries #763, 764).

1 On May 20, 2020, Liuhuan Shan filed a notice of withdrawal of this Objection (docket entry #778).
2 At the hearing, SLC indicated it is no longer pursuing its opposition.
3 At the hearing, the United States trustee indicated it was no longer pursuing its opposition.
Case 2:19-bk-24804-VZ         Doc 893
                                   784 Filed 09/08/20
                                             05/21/20 Entered 09/08/20
                                                                 05/21/20 19:03:42
                                                                          16:17:31            Desc
                              Main
                                Main
                                   Document
                                     Document Page
                                                 Page181
                                                      3 ofof13
                                                             204



       Subsequent to the court posting a tentative ruling regarding certain disputed matters, the

Debtor filed two documents: (1) Declaration of Richard Pachulski (docket entry #777); and (2)

Notice of Filing of Non-Adverse Modifications to Debtor’s Third Amended Plan of

Reorganization (“Plan Modifications”, docket entry #780).

                    II.     FINDINGS OF FACT AND CONCLUSIONS OF LAW
       To grant a motion to confirm a chapter 11 plan of reorganization, the court must find that

the procedural requirements in the FRBP and LBR for notice and service and the substantive

requirements of 11 U.S.C. § 1129(a) are met. Having reviewed all arguments made in writing

and orally at this hearing, and all admissible evidence submitted in many declarations made

under penalty of perjury, I make the following findings of fact and conclusions of law.

   A. Notice and Service: I find and conclude that all procedural requirements are met for

notice and service of the disclosure statement, the plan, the voting provisions, the ballot

solicitation materials, and this hearing.

   B. Evidentiary Objections:

       1)      Declaration of Timothy de Swardt – All evidentiary objections to this declaration

are sustained because the declarant did not establish adequate foundation to determine that

declarant is qualified to provide expert testimony.

       2)      Declaration of Dongdong Pan – Evidentiary objections to this declaration are

sustained regarding paragraphs 6, 7 and 9 (parts 2 and 3 only). Evidentiary objections are

overruled regarding paragraphs 8, 9 (part 1), 10 and 14.

   C. Inapplicable Provisions: I find and conclude that the following provisions of section

1129(a) are inapplicable to a chapter 11 case filed by an individual: §§ 1129(a)(5), 1129(a)(6) &

1129(a)(13).
Case 2:19-bk-24804-VZ           Doc 893
                                     784 Filed 09/08/20
                                               05/21/20 Entered 09/08/20
                                                                   05/21/20 19:03:42
                                                                            16:17:31              Desc
                                Main
                                  Main
                                     Document
                                       Document Page
                                                   Page182
                                                        4 ofof13
                                                               204



    D. Undisputed Provisions: I find and conclude that the following provisions of section

1129(a) are met because the plan proponent submitted evidence to satisfy its burden of going

forward beyond a preponderance of evidence, and/or no party has submitted written arguments

or evidence in opposition: §§ 1129(a)(2), 1129(a)(8), 1129(a)(9), 1129(a)(12), 1129(a)(14), and

1129(a)(16.

        Specifically, admissible evidence in the form of multiple declarations establishes that:

               1) The plan has been accepted by all classes;

               2) There will be sufficient cash on the Effective Date to pay administrative and

                  priority claims in full on the date those claims have been or will be allowed by

                  court order, including prefunding of Exit Financing and required contribution by

                  the Debtor of $100,000 toward professional fees; and

               3) The plan provides for payment of statutory fees and domestic support obligations.

    E. Disputed Provisions: The United States trustee and four claimants filed oppositions in

which they requested that the court not confirm the plan, asserting that one or more requirements

of section 1129(a) have not been met. I make the following findings of fact and conclusions of

law in respect to each in the sequence in which they are found in section 1129(a):

        1)        Section 1129(a)(1) provides that the plan must comply with applicable provisions

of Title 11.

                  a) One such provision is 11 U.S.C. § 1123(a)4), which provides that the plan must

provide the same treatment for each claim or interest of a particular class unless the holder of a

particular claim or interest agrees to a less-favorable treatment. Class #3 includes holders of

claims secured by property located in the Peoples Republic of China (“PRC”). SLC asserts that

holders of claims included in Class #3 are not treated the same, alleging that the debtor has not

disclosed the status, process, outcome or implications of litigation in the PRC involving these
Case 2:19-bk-24804-VZ         Doc 893
                                   784 Filed 09/08/20
                                             05/21/20 Entered 09/08/20
                                                                 05/21/20 19:03:42
                                                                          16:17:31              Desc
                              Main
                                Main
                                   Document
                                     Document Page
                                                 Page183
                                                      5 ofof13
                                                             204



claims and, therefore, has not met his burden to demonstrate that creditors within Class #3 will

be treated the same. SLC did not submit admissible evidence as to this issue and to counter the

evidence submitted by the debtor to support the motion to confirm the plan. In particular, Plan

Article 4.3 provides that holders of claims in Class #3 may seek to recover assets in the PRC and,

if those assets do not satisfy any particular claim, that claimant may seek recovery as an

unsecured claimant under the Creditor Trust with holders of other Class 4 Debt Claims.

Therefore, I find and conclude that the requirements of 11 U.S.C. § 1123(a)(4) are met and the

disputed treatment of holders of claims in Class #3 complies with Title 11.

               b) Also, Han’s argues that its claim should not be one of the Retained Actions

under Plan Article 8.3 and 11 U.S.C. § 1123(b), on the basis that the Debtor does not have

authority to prosecute the creditor’s claims against non-debtor defendants named in the related

complaint. The specific language of Article 8.3 is limited to the Debtor’s rights related to

property of the estate including, for example, to settle the estate’s rights in Retained Actions.

These limitations do not allow the Debtor to prosecute creditor claims against non-debtor

defendants and do not interfere with Han’s rights to pursue claims against non-debtor defendants.

In his Plan Modifications, the Debtor modified Article 8.3 and Schedule A (List of Retained

Actions); these modifications also do not authorize the Debtor to prosecute the action of Han’s

against non-debtor defendants and do not interfere with Han’s rights to pursue claims against

non-debtor defendants. Therefore, I find and conclude that Article 8.3 complies with Title 11.

               c) Similarly, Han’s argues that it is inappropriate to (1) waive avoidance actions

under the Plan and (2) under Plan Article 11.9, to limit the trustee of the Creditor Trust’s ability

to prosecute avoidance actions to a 180-day period, potentially in violation of 11 U.S.C. § 546.

In his Plan Modifications, the Debtor eliminates language as to a 180-day period and adds new

Article 13.25 which affirms that nothing in the Plan alters statutes of limitations in the
Case 2:19-bk-24804-VZ                 Doc 893
                                           784 Filed 09/08/20
                                                     05/21/20 Entered 09/08/20
                                                                         05/21/20 19:03:42
                                                                                  16:17:31        Desc
                                      Main
                                        Main
                                           Document
                                             Document Page
                                                         Page184
                                                              6 ofof13
                                                                     204



Bankruptcy Code or other applicable law. Therefore, I find and conclude that Article 11.9

complies with Title 11.

                    d) Additionally, Plan Article 6.6 provides for holders of Class #4 claims to release

claims against Wei Gan, the Debtor’s spouse; the debtor requests that a proposed settlement with

Wei Gan (that gives rise to these releases) is approved as part of an order confirming the Plan.

                             1. Releases and 11 U.S.C. § 542(e). ZZC, SLC and the UST opposed

confirmation,4 arguing that (A) the Wei Gan releases fail to comply with 11 U.S.C. § 542(e) and

applicable Ninth Circuit authority, and (B) the relevant plan provision act as an impermissible

injunction and discharge of claims of a non-debtor. In his reply, the Debtor asserts that these

releases are not intended to reach beyond community debt claims and has modified the Plan to

clarify this. Having reviewed applicable legal authorities, the Plan Modifications, and arguments

made in support of and in opposition to Plan Article 6.6, I find and conclude that the

requirements of In re American Hardwoods, Inc., 885 F.2d 621 (9th Cir. 1989) are satisfied.

                             2. Settlement and FRBP 9019. In addition, these opponents argue that

the proposed settlement between the estate and Wei Gan should not be approved. The proposed

settlement is that Wei Gan reduces her claim from approximately $569,000,000 to $250,000,000,

agrees to contribute $1,250,000 in cash to support the Creditor Trust, and obtains a release of

community debt claims on which the Debtor receives a discharge. The implementation and

sequence of the proposed settlement are:

                             A. By May 26, 2020, Wei Gan transfers $1,000,000 in cash to the

                             estate, to be held in trust and applied to the Creditor Trust;

                             B. At that point, Wei Gan’s claim is deemed allowed as an unsecured




4   See above at footnotes 2 and 3.
Case 2:19-bk-24804-VZ         Doc 893
                                   784 Filed 09/08/20
                                             05/21/20 Entered 09/08/20
                                                                 05/21/20 19:03:42
                                                                          16:17:31               Desc
                              Main
                                Main
                                   Document
                                     Document Page
                                                 Page185
                                                      7 ofof13
                                                             204



                        claim in the amount of $250,000,000 to participate with other Class #4

                        claimants in distributions made under the Creditors Trust;

                        C.     By a specified later date, Wei Gan contributes an additional

                        $250,000 cash to the Creditor Trust; and

                        D.     At that point, Debt Claimants release any claim against Wei Gan

                        for community debts as indicated in section 11 U.S.C. § 524(a)(3) and

                        defined under California law.

The Debtor argues that the proposed settlement meets the standard of FRBP 9019 and the 4-part

test for settlement set forth in Martin v. Kane (In re A & C Properties), 784 F.2d 1377 (9th Cir.

1986). That test requires me to consider these four factors:

                   1.   the probability of success in the litigation;

                   2. the difficulties, if any, to be encountered in the matter of collection;

                   3. the complexity of the litigation involved, and the expense, inconvenience

                        and delay necessarily attending it; and

                   4. the paramount interest of the creditors and a proper deference to their

                        reasonable views.

In the Motion, the replies, and supporting declarations to both, the Debtor and the Committee

argue that (A) these four factors are met, (b) all factors in favor and not in favor of the settlement

were appropriately weighed, and (C) the Committee – as opposed to the Debtor – performed

direct negotiations with Wei Gan to achieve this settlement. Admissible evidence was not

submitted to contravene this testimony. Having reviewed the proposed settlement using the

analysis of the factors set forth in In re A & C Properties, I find and conclude that the settlement

complies with Title 11 and is in the best interest of the estate and creditors.
Case 2:19-bk-24804-VZ        Doc 893
                                  784 Filed 09/08/20
                                            05/21/20 Entered 09/08/20
                                                                05/21/20 19:03:42
                                                                         16:17:31                 Desc
                             Main
                               Main
                                  Document
                                    Document Page
                                                Page186
                                                     8 ofof13
                                                            204



               e) Finally with regard to section 1129(a)(1), Plan Article 11.3 provides for the

Debtor to receive a discharge as of the Effective Date, which is a future date occurring after

specified conditions are met. 11 U.S.C. § 1141(d)(5) provides the standard for an individual

chapter 11 debtor to receive a discharge. Two parties object to Article 11.3, arguing that the

proposed timing of discharge violates 11 U.S.C. § 1141(d)(5) because, as of the Effective Date,

no payments will have been made on Class #4 claims. In his Plan Modifications, the Debtor

modifies this discharge provision to indicate the date of discharge is the date indicated in the

order confirming his Plan. Having reviewed the Plan provisions (including Plan Modifications),

applicable legal authorities, written evidence and arguments in support of and in opposition to

Article 11.3, and oral arguments made at the hearing, I find and concludes that it is appropriate to

exercise my discretion under § 1141(d) by granting a discharge only after:

                   1. A hearing is held on a motion (“Discharge Motion”) with notice per LBR

                       9013-1; and

                   2. The Discharge Motion and supporting declaration(s) establish that:

                       A.      Preconditions to reaching an Effective Date have been satisfied as

                               set forth in Plan Articles 10.1 and 10.2.

                       B.      All Trust Assets have been transferred to the Trust per the Creditor

                               Trust Agreement; and

                       C.      Paragraphs (a), (b) and (c) of the Distribution Waterfall of the

                               Creditor Trust Agreement have been satisfied.

       2)      Section 1129(a)(3) provides that a plan must be proposed in good faith and not

by any means forbidden by law. Arguments by opponents of plan confirmation allege that the

plan is not proposed in good faith primarily because: (1) the assets to be transferred to the

Creditor Trust to satisfy Class #4 Debt Claims are dependent on the financing and operational
Case 2:19-bk-24804-VZ        Doc 893
                                  784 Filed 09/08/20
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                                                                05/21/20 19:03:42
                                                                         16:17:31             Desc
                             Main
                               Main
                                  Document
                                    Document Page
                                                Page187
                                                     9 ofof13
                                                            204



success of Faraday Future Inc. (“Faraday”), a company that has neither produced nor sold a

single automobile; and (2) the Debtor proposes to be granted a discharge before any payments on

Class #4 claims has been made. Opponents have not cited relevant authority for the proposition

that a plan cannot be proposed in good faith unless it guarantees high success of a plan; and, they

have not submitted admissible evidence to contravene admissible evidence that supports a

finding of good faith. More specifically, the Debtor and the Committee submitted ample

admissible evidence with the Motion and with their replies to establish that the plan has been

proposed in good faith. This admissible evidence establishes that the Debtor submitted himself,

his assets and records, and his representations made in the 4th Amended Disclosure Statement

and 3rd Amended Plan to extensive investigation by the Committee, by individual creditors, and

by Debtor’s court-approved professionals. In addition, the act of including a plan provision that

requests a particular timing of entry of discharge does not support a finding of lack of good faith.

Therefore, I find and conclude that the good-faith requirement of section 1129(a)(3) has been

met.

       3)      Section 1129(a)(4) provides that the plan must not unfairly discriminate. SLC

argues that the plan discriminates unfairly because claims that originated in the PRC – and are

classified in Class #3 as China Secured Claims -- are treated differently based on the geography

of where the claimant seeks to recover on its claim. Namely, that PRC claimants who were able

to freeze the debtor’s assets in the PRC may receive better treatment than SLC, which pursued its

recovery in the United States. As indicated in the Debtor’s reply, the court approved a

stipulation between the Debtor and SLC to treat SLC’s claim as unsecured and, therefore, the

SLC claim is appropriately included in Class #4, the unsecured Debt Claims. Therefore, I find

and conclude that the requirement of section 1129(a)(4) is met.
Case 2:19-bk-24804-VZ         Doc 893
                                   784 Filed 09/08/20
                                             05/21/20 Entered 09/08/20
                                                                05/21/20 19:03:42
                                                                         16:17:31                Desc
                              Main
                               MainDocument
                                     Document Page
                                                Page188
                                                      10 of
                                                         of13
                                                            204



       4)      Section 1129(a)(7) provides that when a plan contains a class of impaired claims,

as is the situation here for Class #4 Debt Claims, the plan must satisfy the best interest of

creditors test; this means that the plan must establish that holders of impaired claims will not

receive or retain less under that plan than holders would receive if a debtor’s estate was

liquidated under chapter 7. Under the Plan, holders of impaired claims are treated through

distributions made under a Creditor Trust. Disclosure Statement Articles II.C.7 and VI, and

Exhibit F to the 4th Amended Disclosure Statement, provide relevant Recovery Scenarios and a

Liquidation Analysis. In addition, admissible evidence on the best interest of creditors test is

submitted in declarations filed in support of the Motion, including evidence that if the debtor’s

estate were to be liquidated under chapter 7, it would very likely result in the demise of Faraday

or a significantly diminished ability of Faraday’s ownership interests to obtain further financing

that would lead to Faraday’s success. That testimony meets the Debtor’s burden of going

forward and there is no admissible contravening evidence to this testimony. Evidence submitted

by the Debtor in reply declarations further supports valuation of assets proposed in the Plan.

Therefore, I find and conclude that the requirements of section 1129(a)(7) are met.

       5)      Section 1129(a)(10) provides that if a class of claims is impaired under the plan,

at least one class of claims that is impaired under the plan has accepted the plan, determined

without including an acceptance of the plan by an insider. 11 U.S.C. § 1126(c) sets forth the test

for acceptance by a class, that at least two-thirds in amount, and more than half in number, have

accepted the plan. There is no dispute that Class #4 claims are impaired. SLC asserts that at up

to five Class 4 claimants are insiders. Admissible evidence indicates these five claimants voted

to accept the plan. The Debtor submitted admissible evidence to demonstrate the standard of 11

U.S.C. § 1126 is met, even after excluding these five votes. Without determining whether any of

these five claimants are insiders, I find and conclude that section 1129(a)(10) is satisfied.
Case 2:19-bk-24804-VZ             Doc 893
                                       784 Filed 09/08/20
                                                 05/21/20 Entered 09/08/20
                                                                    05/21/20 19:03:42
                                                                             16:17:31                          Desc
                                  Main
                                   MainDocument
                                         Document Page
                                                    Page189
                                                          11 of
                                                             of13
                                                                204



         6) Section 1129(a)(11) provides that a plan must be feasible; more specifically, that

confirmation of the plan is not likely to be followed by the liquidation, or the need for further

financial reorganization, of the Debtor or any successor to the debtor under the plan, unless such

liquidation or reorganization is proposed in the plan. To establish feasibility in the Ninth Circuit,

“all a debtor need demonstrate is that the plan ‘has a reasonable probability of success.’” Wells

Fargo Bank, N.A. v. Loop 76, LLC (In re Loop 76, LLC), 465 B.R. 525, 544 (9th Cir. 2012)

(quoting Acequia, Inc. v. Clinton (In re Acequia, Inc.), 787 F.2d 1352, 1364 (9th Cir.1986)).

Under the Plan, the debtor must transfer specified assets to a Creditor Trust that will be solely

administered by a separate trustee and under the supervision of a Creditor Trust Committee –

without control by the debtor. Those assets are specified in the 4th Amended Disclosure

Statement, the 3rd Amended Plan, and the Creditor Trust Agreement; and, the Debtor submitted

admissible evidence to establish these assets compromise 100% of the debtor’s assets.

         Creditor Liuhuan Shan argues the 3rd Amended Plan is not feasible because: (1) its

success relies on the future success of an over-leveraged company (Faraday) that has not sold a

car, and (2) its success will be limited because Faraday cannot do business in the PRC until the

debtor is no longer on the China Debtor List. While these arguments may be true, the opponent

does not submit admissible to support its assertions of the impact of its arguments. Further,

admissible evidence submitted by the debtor establish that the Plan’s aim is to maximum its

success through hoped-for additional financing and an IPO to support successful operations of

Faraday, and to maximum the chance of the debtor being removed from the China Debtor List.5

         Additionally, creditor SLC argues that the plan is not feasible because the freezing

orders that SLC obtained in the British Virgin Islands (“BVI”) regarding activities of related

entities (FF Top and FF Peak) impair to varying degrees the ability of the Debtor to effect

5See above at footnote 1. In addition, at the hearing, counsel for the Debtor read aloud into the record an agreed-
upon protocol for resolving the potential allowance of Liuhuan Shan’s claims.
Case 2:19-bk-24804-VZ             Doc 893
                                       784 Filed 09/08/20
                                                 05/21/20 Entered 09/08/20
                                                                    05/21/20 19:03:42
                                                                             16:17:31            Desc
                                  Main
                                   MainDocument
                                         Document Page
                                                    Page190
                                                          12 of
                                                             of13
                                                                204



transactions envisioned in the Plan. SLC submits a declaration of Timothy de Swardt to support

its argument. As indicated earlier, all evidentiary objections to the declaration of Timothy de

Swardt are sustained and remaining testimony does not establish that the BVI injunctions cannot

be released or that the injunctions render the Plan infeasible6.

           Thus, I find and conclude that the feasibility requirement of section 1129(a)(11) is met.

           7)       Section 1129(a)(15) provides: In a case in which the debtor is an individual and

in which the holder of an allowed unsecured claim objects to the confirmation of the plan—

                    (A) the value, as of the effective date of the plan, of the property

                    to be distributed under the plan on account of such claim is not

                    less than the amount of such claim; or

                    (B) the value of the property to be distributed under the plan is not

                    less than the projected disposable income of the debtor (as defined

                    in section 1325(b)(2)) to be received during the 5-year period beginning

                    on the date that the first payment is due under the plan, or during the

                    period for which the plan provides payments, whichever is longer.

Section 1129(a)(15) applies because at least one holder of an allowed unsecured claim voted to

reject the Plan. The Debtor argues for application of the optional provisions of paragraph B of

section 1129(a)(15); and, the Debtor submitted admissible evidence that: (1) His disposable

income is $200,000 for the five-year period defined in section 1129(a)(15)(B), and (2) Asset

evaluations contained in the Plan, and supported by testimony of declarations, establish that

value of property to be distributed under the plan is more than $200,000. SLC and Liuhuan Shan

argued, without evidentiary support, that it is inappropriate to arrive at a calculation of $200,000

because the calculation includes legal expenses of the Debtor. Absent evidence to the contrary,


6   See above at footnote 2.
Case 2:19-bk-24804-VZ        Doc 893
                                  784 Filed 09/08/20
                                            05/21/20 Entered 09/08/20
                                                               05/21/20 19:03:42
                                                                        16:17:31               Desc
                             Main
                              MainDocument
                                    Document Page
                                               Page191
                                                     13 of
                                                        of13
                                                           204



the Debtor has met his burden by a preponderance of the evidence. Therefore, I find and

conclude that the requirements of section 1129(a)(15) are satisfied.

                                         III.     CONCLUSION

       In summary, and based on the foregoing findings of fact and conclusions of law

regarding specific provisions of Title 11 that must be met in order for a chapter 11 plan of

reorganization to be confirmed, I find and conclude that all such provisions have been satisfied.

                                                ###




     Date: May 21, 2020
Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42   Desc
                        Main Document   Page 192 of 204




                EXHIBIT 7
      on 7/31/2020 5:13 PM
Case 2:19-bk-24804-VZ  Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42
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                       Main Document   Page 193 of 204


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                   J.

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      Attorneys for Defendant
      FARADAY & FUTURE INC.



                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
 10                                          COUNTY OF SANTA CLARA
 11


 12   HAN’S SAN JOSE HOSPITALITY LLC,                                                  Case N0.: 17CV3 17221

 13
                                Plaintiff,
                                                                                       JOINT STIPULATION AND
 14
                        V.                                                             [PROPOSED] ORDER REGARDING
                                                                                       DEFENDANT YUETING JIA’S
 15
      LE HOLDINGS (BEIJING)            C0,, LTD;   LE                                  BANKRUPTCY CASE
      TECHNOLOGY, INC., FARADAY &
 16   FUTURE INC., JIA YUETING, OCEAN
      VIEW DRIVE, INC, and DOES 1 through               10,
 17
      inclusive,                                              vvvvvvvvvvvvvvvvvvvvvv




 18
                                Defendants.

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                                      JOINT STIPULATION AND [PROPOSED]                            ORDER
Case 2:19-bk-24804-VZ               Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                                     Desc
                                    Main Document   Page 194 of 204


               IT IS      HEREBY STIPULATED by and among (1) Plaintiff HAN’S SAN JOSE
      HOSPITALITY L.L.C.               (“Plaintiff”); (2)         Defendant     LE TECHNOLOGY,              INC. (“Le

      Technology”); (3) Defendant                 FARADAY & FUTURE INC.                   (“Faraday”); and (4) Defendant

      OCEAN VIEW DRIVE, INC.                       (“Ocean View”), by and through               their respective counsel          of

      record, as follows:


               1.          On October        14,   2019, Jia ﬁled a voluntary petition for relief under chapter 11

      of title 11 of the United States Code, 11 U.S.C. sections 101,                       et seq., as    amended     (the


      “Bankruptcy Code”) with the United States Bankruptcy Court for the District of Delaware;

               2.          On    October     15,   2019, Jia ﬁled With this Court a Notice ofSuggestion 0f

 10   Bankruptcy advising the Court and the parties that he had commenced his bankruptcy case

 11   (the   “Bankruptcy Case”);

 12            3.          On    October 28, 2019,           Jia’s   bankruptcy counsel notiﬁed Plaintiff’s counsel 0f

 13   the applicability 0f the automatic stay t0 the above-entitled action (the “Action”);


 14            4.          On November 25, 2019                Jia   ﬁled in   this action a   Notice ofStay ofProceedings,

 15   again advising       all   parties in interest      0f the pendency 0f the automatic stay arising from the

 16   Bankruptcy Case;

 17            5.          On December            18,   2019, the Delaware Bankruptcy Court entered an order

 18   transferring the      Bankruptcy Case             to the   United States Bankruptcy Court for the Central District

 19   OfCalifornia (the “Bankruptcy Court”). The Bankruptcy Case                               is   captioned In re Yueting Jia and

 20   bears Case N0. 2:19-bk-24804-VZ.

 21            6.          On March         17,   2020, Jia ﬁled the Debtor ’s Third Amended Plan 0f

 22   Reorganization Under Chapter I I 0fthe Bankruptcy Code (the “Plan”). See Case N0.                                      2:   19-bk-


 23   24804-VZ, Docket N0. 464.

 24            7.          On June     5,   2020, the Bankruptcy Court entered the Order Granting Motion t0

 25   Conﬁrm Third Amended Chapter                      II   Plan ofReorganizationfor Yuez‘ing Jia as Modiﬁed. See

 26   Case N0.      2:   19-bk-24804-VZ, Docket N0. 810.                  On July 6,    2020, Jia ﬁled the Notice        0f: (I)


 27   Occurrence ofEffective Date ofChapter                       I1   Plan ofReorganization; and           (II)   Deadlinesfor

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                                              JOINT STIPULATION AND [PROPOSED]                 ORDER
Case 2:19-bk-24804-VZ             Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                               Desc
                                  Main Document   Page 195 of 204


      Filing Certain Claims         and Requestsfor Payment, Which provided                 that the effective date   0f the

      Plan occurred on June 26, 2020. See Case No. 2:19-bk—24804-VZ, Docket N0. 825.

                 8.        On July 20,   2020, Plaintiff ﬁled in this Action a request for dismissal of Jia

      Without prejudice. Also on July 20, Plaintiff ﬁled With this Court a Notice ofTermination 0r

      Modiﬁcation 0r Stay as         to the other defendants in this Action.


                 9.        On   July 24, 2020, Jia’s bankruptcy counsel advised Plaintiff 0f Jia’s position that

      the injunction      imposed by the Plan and the automatic stay           arising in the   Bankruptcy Case continues

      to apply t0 this     Action against the other defendants notwithstanding                 Plaintiff’s request t0 dismiss


      Jia.    A true    and correct copy 0f Jia’s bankruptcy counsel’s correspondence                  is   attached hereto as


 10   Exhibit “A”.

 11              10.       Since Plaintiff’s ﬁlings, Jia’s bankruptcy counsel, Plaintiff’s bankruptcy

 12   counsel, and counsel for the remaining Defendants have                  met and conferred regarding Whether and

 13   t0   what extent the Bankruptcy Case          affects the Plaintiff” s claims in this matter against parties other


 14   than    Jia.    Following that meet and confer, the parties agreed t0 submit brieﬁng t0 the Bankruptcy

 15   Court t0 seek clariﬁcation 0n these issues of genuine dispute, namely, whether the automatic stay

 16   and Plan injunction also apply         t0 Plaintiff’s alter     ego claims against the other Defendants in              this


 17   action.    The    parties anticipate submitting brieﬁng to the          Bankruptcy Court 0n a regularly-noticed

 18   schedule to be heard either August 25, 2020, or September                      1,   2020, subject to the Bankruptcy

 19   Court’s availability. Accordingly:


 20              NOW, THEREFORE, ALL PARTIES STIPULATE AND RESPECTFULLY
 21   REQUEST OF THIS COURT AS FOLLOWS:
 22              That the    litigation stay in this      Action imposed as a result 0f the commencement of the

 23   Bankruptcy Case remain in           effect,   and   that the parties shall submit a further status report t0 this


 24   Court promptly after the Bankruptcy Court issues                its   order.   If the   Bankruptcy Court determines

 25   that the stay is     n0 longer   in effect as t0 the   Defendants in     this case prior t0 the       September   3,   2020

 26   status conference, the Parties Will s0         inform the Court.        If there is   n0 such ruling prior   to the


 27   / / /



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                                          JOINT STIPULATION AND [PROPOSED]            ORDER
Case 2:19-bk-24804-VZ               Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42        Desc
                                    Main Document   Page 196 of 204

               DATED;   July $_l,   2020                     THE GOODELL LAW FIRM LLP


                                                                     MW W/ij
                                                             NELSON GOODELL
                                                             Attorneys for Plaintiff
                                                             HAN’S SAN JOSE HOSPITALITY LLC




                                                                                       W
 \OOONONIJIA




               DATED:   July   ﬂ, 2020                       SCHEIN    LAW GROUP, PC


                                                                    MM
                                                             JOSHIVA SCHEIN
                                                                                            £677

                                                             Attorneys for Defendant
     11                                                      LE TECHNOLOGY, INC.

     12

     13        DATED:   July   1L   2020                     ANDRADE GONZALEZ LLP
      14

      15

      16
                                                                  @m/M
                                                             DAMIAN J. MARTINEZ
                                                             ERIC D.   MASON
                                                                                        /


      17                                                     Attorneys for Defendant
                                                             FARADAY & FUTURE INC.
       18

       19      DATED:   July S_(,   2020                     LIANG LY LLP
     20

      21

      22
                                                                   74M Umr/o/im
                                                              JASON IANG
                                                                                             V


                                                              Attorneys for Defendant
      23                                                      OCEAN VIEW DRIVE, INC.
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                                           JOINT STIPULATION AND [PROPOSED] ORDER
Case 2:19-bk-24804-VZ                  Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                                      Desc
                                       Main Document   Page 197 of 204




                 GOOD CAUSE APPEARING,                         it is
                                                                     w hereby ordered        that:


                 (1)          That the   litigation stay in this       Action remains in           effect;


                 (2)          If the   Bankruptcy Court determines that the stay                   is   no longer   in effect as to the


                              Defendants in      this case prior to the        September      3,   2020      status conference, the


                              Parties Will s0 inform the Court.               If there is   n0 such ruling prior       t0 the


                              September     3,   2020 conference, the          Parties Will provide the Court a status


                              report   0n September     4,   2020.
      Signed: 8/5/2020 03:58 PM



                  3) the parties must appear at the September 3, 2020 conference to obtain
 10   IT IS    SO ORDERED. another hearing date that is appropriate to the circumstances.
 11                    August 5, 2020
      Dated:
 12
                                                                                 HON.       MARY E. ARAND
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                                                              [PROPOSED] ORDER
             Case 2:19-bk-24804-VZ                     Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                                  Desc
                                                       Main Document   Page 198 of 204                                                             "A"
                                                                                                                                  EXHIBIT


      PACHULSKI
          STANG
          ZIEHL
          JONES                                        Malhar S. Pagay
                                                                                             July 24, 2020
                                                                                                                              mpagayélgjlgaﬁfgr:



      LAW OFFICES
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LOS ANGELES, CA
SAN FRANCISCO, CA                                      VIA EMAIL
WILMINGTON, DE
NEW YORK, NY
COSTA MESA, CA
     SANTA MONICA BLVD.
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LOS ANGELES
                                                       5 Third Street, Suite 1100
CALIFORNIA 90067
                                                       San Francisco, California 94103
TELEPHONE:            310/277 6910
                                                       Email: nelson@goodelllawsf.com
FACSIMlLE: 310/201 0760



SAN FRANCISCO
150    CALIFORNIA STREET
                                                                  Re: Han’s San Jose Hospitalitv               LLC V. Yueting Jia, et a1.
15th   FLOOR
SAN FRANCISCO                                          Dear Mr. Goodell:
CALIFORNIA            941   1   1-4500


TELEPHONE:          415/263 7000                                  As you       are aware, Pachulski Stang Ziehl        & Jones LLP is
FACSIMILE: 415/263 7010                                bankruptcy counsel to Yueting Jia                (“ML          who
                                                                                                               Jia” or the “Debtor”),

                                                       voluntarily ﬁled for bankruptcy protection under chapter 11 0f title
DELAWARE                                               11 ofthe United States Code, 11 U.S.C. §§ 101, et seq. (the
919 NORTH MARKET STREET
                                                       “Bankruptcy Code”) in the United States Bankruptcy Court for the
17th   FLOOR
P.O.   BOX 8705                                        District of Delaware on October 14, 2019 (the “Petition Date”). The
WILMINGTON                                             Debtor’s case was transferred to the United States Bankruptcy Court
DELAWARE             19899-8705
                                                       for the Central District of California (the “Bankruptcy Court”)                  on
TELEPHONE:          302/652 4100                       December          18,   2019.
FACSIMILE: 302/652 4400


                                                                  We write in respect of those proceedings commenced prior
NEW YORK                                               to the Petition         Date entitled Han   ’s
                                                                                                        San Jose Hospitality LLC v. Jia
780    THIRD AVENUE
34th   FLOOR
                                                       Yuez‘ing,    Ocean View Drive, Inc,          et al.,   pending in the Superior
NEW YORK                                               Court of the State of California for the             County of Santa   Clara,    and
NEW YORK 1001 7-2024                                                  17CV317221 (consolidated with Case N0.
                                                       bearing Case No.
TELEPHONE:          212/561 7700                       19CV342187) (the “Alter Ego Litigation”). We understand that you
FACSIMILE:        2 1 2/561 7777                       are counsel t0 Han’s            San Jose Hospitality     LLC   (“Ham’s”) in the
                                                       Alter   Ego       Litigation.
COSTA MESA
650    TOWNE CENTER DRIVE
                                                                  Pursuant to section 362(a)(1) of the Bankruptcy Code, the
SUITE 1500
COSTA MESA
                                                       commencement of Mr.        Jia’s chapter 11 case

CALIFORNIA            92626


TELEPHONE:          71 4/384        4750

FACSFMILE: 7l4/384 4751




WEB;    www.pszjlawlcom                                DOCSiLA:331000.1 46353/003
   Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                       Desc
                           Main Document   Page 199 of 204


                           Nelson W. Goodell
PACHULSKI                  July 24, 2020
                           Page 2
    STANG
    ZIEHL
                                       operates as a stay, applicable t0 all entities, 0f
    JONES                              the commencement or continuation, including the
                                       issuance 0r employment 0f process, 0f a judicial,
LAW OFFICES                            administrative, or other action or proceeding
                                       against the debtor that   was 0r could have been
                                       commenced before the commencement of the
                                       case under this title, 0r to recover a claim against
                                       the debtor that arose before the commencement
                                       0f a case under this title.

                           11 U.S.C. § 362(a)(1) (emphasis added). Han’s, you,      and all other
                           parties in interest in the Alter   Ego         were advised of the
                                                                    Litigation
                           commencement of Mr. Jia’s bankruptcy case and the imposition of
                           the automatic stay in respect of the Alter Ego Litigation, including
                           by the ﬁlings of a Notice ofSuggestion ofBankruptcy and Notice 0f
                           Stay ofProceedings, on October 15, 2019, and November 25, 2019,
                           respectively, in the Alter Ego Litigation. Mr. Jia’s bankruptcy case
                           remains open and pending discharge and, as such, the stay remains
                           in effect. See 11 U.S.C. § 362(a)(1). Section 362(k)(1) ofthe
                           Bankruptcy Code provides that the willful Violation 0f the automatic
                           stay entitles an individual to the recovery of actual damages,
                           including costs and attorneys’ fees, as well as punitive damages. 11
                           U.S.C. § 362(k)(1).

                                       As
                                      described in the Complaintfor (I) Breach ofContract;
                           (2) Breach oflmplied Covenant ofGood Faith and Fair Dealing;

                           (3) Fraud; (4) Negligent Misrepresentation; (5) Negligence; (6)
                           Intentional [nteiference with Contract (the “Alter        Ego Complaint”),
                           initiating the Alter   Ego   Litigation: “This is   an action for breach of
                           contract and related claims arising out of a written rental agreement
                            ..   for  commercial property ....” Alter Ego Complaint, 1 at 11 1.
                           The  written rental agreement referenced in the Alter Ego Complaint
                           is that certain Ofﬁce Lease, by and between BSREP Rio Robles

                           LLC, on the one hand, and Le Technology, Inc., and Le Holdings
                                                                      ”
                           (Beijing) Co., Ltd., attached as Exhibit “1 t0 the Alter       Ego
                           Complaint (the “Lease”). Neither the Debtor, Ocean View Drive,
                           Inc. (“Ocean View”), Faraday Future (“ﬂ”) nor any entity other
                           than Le Technology,         and Le Holdings (Beijing) C0., Ltd., is a
                                                    Inc.,

                           party to the Lease. The Alter Ego Complaint is explicit that any
                           allegations against Ocean View or FF are made 0n the grounds that
                           such entities are alter egos 0f the Debtor. Id., 2 at ﬂ 4 (“On
                           information and belief, [Han’s] alleges that          Ocean View Drive,



                           DOCSiLA:331000.1 46353/003
   Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                               Desc
                           Main Document   Page 200 of 204


                           Nelson W. Goodell
PACHULSKI                  July 24, 2020
                           Page 3
    STANG
    ZIEHL
                           Inc.,   Le Technology and Faraday Future served                 as alter egos for
    JONES                  [the Debtor] ....”)(emphasis added).


LAW OFFICES                         Under California law, alter ego is a procedural, rather than
                           substantive, device. See   Ahcom, Ltd. v. Smeding, 623 F.3d 1248,
                           125 1 (9th Cir. 2010) (“there is n0 such thing as a substantive alter
                           ego claim at all”) (citing Hermessey’s Tavern, Inc. v. American Air
                           Filter C0., 204 Cal. App. 3d 1351, 1359 (1988)); see Double Bogey,
                           LP. v. Enea, 794 F.3d 1047, 1052 (9th Cir. 2015). Accordingly,
                           “[a]n alter ego defendant has n0 separate primary liability t0 the
                           plaintiff. Rather, plaintiff's claim against the alter ego defendant

                           is   identical with that claimed        by   plaintiff against the already-
                           named defendant.” Shaoxing Cty. Huayue Imp. & Exp. v.
                           Bhaumik, 191 Cal. App. 4th 1189, 1198 (201 1) (quoting
                           Hennessey ’s Tavern, 204 Cal. App. 3d at 1358)(emphasis added).

                                     The Bankruptcy Court has held           that the continuation      0f an
                           action against nondebtor entities alleged t0 be alter egos 0f a debtor
                           is   impermissible, even where the plaintiff evinces the intent not t0
                           pursue the debtor, or even dismisses the debtor from the litigation.
                           1n re Torres, 594 B.R. 890, 896-97 (Bankr. C.D. Cal. 2018)
                           (Wallace, B.J.)(“While the dismissal of Ms. Torres [the debtor] from
                           the State Court Action adds        some      strength t0 [the plaintiff s]
                           argument,                  completely undercut by the alter ego
                                        this strength is
                           allegations that remain in the complaint. [The debtor] remains as a
                           defendant for practical purposes because of those alter ego
                           allegations ...”) (citing    Yan   v.Lombard Flats, LLC (In re Lombard
                           Flats,LLC), 2016 U.S. Dist.         LEXIS 381 12, at *13-14 (N.D. Cal.
                           March  26, 2016) (“Yan stands for the proposition that if A receives
                           a bankruptcy discharge, an action against B alleging that A and B
                           are alter egos violates the discharge injunction”)).


                                  Because Han’s’ claims against Ocean View and FF — the
                           Debtor’s alleged alter egos, as asserted by Han’s in the Alter Ego
                           Complaint -- are tantamount t0 claims against the Debtor, Han’s is
                           precluded by the automatic stay from continuing the Alter                Ego
                           Litigation against Ocean View and FF.


                                                on January 24, 2020, Han’s ﬁled a Proof of
                                     Additionally,
                           Claim with the Bankruptcy Court [Bankruptcy Court Docket No.
                           500] (the “Han’s Claim”), pursuant t0 which Han’s asserted the
                           claims set forth in the Alter      Ego Complaint (Which         is   attached to



                           DOCSiLA:331000.1 46353/003
   Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                                       Desc
                           Main Document   Page 201 of 204


                           Nelson W. Goodell
PACHULSKI                  July 24, 2020
                           Page 4
    STANG
    ZIEHL
                           Han’s Claim) in the Debtor’s bankruptcy case, thereby submitting
    JONES                  such claims to the jurisdiction of the Bankruptcy Court. See
                           Langenkamp v. Culp, 498 U.S. 42, 44 (1990)(“[B]y ﬁling a claim
LAW OFFICES                against a bankruptcy estate the creditor triggers the process of
                           ‘allowance and disallowance of claims,’ thereby subj ecting himself
                           to the bankruptcy court’s equitable power.”). By order entered June
                           5, 2020 [Bankruptcy Court Docket No. 810] (the “Conﬁrmation
                           Order”),1 the Bankruptcy Court  conﬁnned the Debtor ’s Third
                           Amended Plan ofReorganization Under Chapter I 1 0fthe
                           Bankruptcy Code [Bankruptcy Court Docket N0. 464], as modiﬁed,
                           which provides that “[a]11 Persons or Entities who have held, hold,
                           or   may hold Claims                                   from
                                                                are permanently enjoined
                           commencing, conducting, or continuing in any manner, directly or
                           indirectly, any suit, action, or other proceeding of any kind
                           (including, without limitation, any proceeding in a judicial
                           forum) against .. the Debtor ..” (the “Plan Injunction”).
                                                 .                          .   .




                                     Although Han’s             may assert the          disputed, alter ego claims
                           described in the Alter           Ego Complaint              in the Debtor’s bankruptcy
                           case (asit is doing by the ﬁling of Han’s Claim), it may not assert

                           them against Ocean View, FF 0r other parties asserted t0 be alter
                           egos of the Debtor through the Alter Ego Litigation.


                                     It   has   come   to   our attention           that,   notwithstanding the
                           continuing automatic stay and the Bankruptcy Court’s issuance 0f
                           the Plan Injunction,Han’s continues to prosecute the Alter Ego
                           Litigation. Please be advised that Han’s’ failure t0 comply with the
                           applicable provisions 0f the Bankruptcy Code and the Plan
                           Injunction may necessitate the ﬁling 0f proceedings in the
                           Bankruptcy Court seeking the imposition of damages, including
                           punitive damages, arising from Han’s’ willful Violation 0f the stay
                           and a ﬁnding of contempt against Han’s and your ofﬁce.




                           1
                               See Conﬁrmation Order        §   C at   6.




                           DOCSiLA:331000.1 46353/003
   Case 2:19-bk-24804-VZ   Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                                Desc
                           Main Document   Page 202 of 204


                           Nelson W. Goodell
PACHULSKI                  July 24, 2020
                           Page 5
    STANG
    ZIEHL
                                     Accordingly, please ensure that the Alter          Ego   Litigation   is
    JONES                  dismissed no later than close of business, Tuesday, July 28, 2020.


LAW OFFICES                          Thank you      for your anticipated cooperation regarding this
                           matter.




                                                               Very truly yours,




                                                                ”£1:         """"
                                                                                    /Wé:dwﬂM,M—_-               ..   .




                                                               Malhar   S.    Pagay




                           MSP
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                           DOCSiLA:331000.1 46353/003
            Case 2:19-bk-24804-VZ                 Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                                       Desc
                                                  Main Document   Page 203 of 204

                                          PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify REQUEST FOR JUDICIAL NOTICE IN
 SUPPORT OF REORGANIZED DEBTOR’S OPPOSITION TO HAN’S SAN JOSE HOSPITALITY
 LLC’S MOTION CLARIFYING THAT THE AUTOMATIC STAY IS NOT IN EFFECT AS TO
 NON-DEBTOR DEFENDANTS will be served or was served (a) on the judge in chambers in the form and manner
 required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 September 8, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
 the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
 below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) September 8, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.


                VIA U.S. MAIL
                United States Bankruptcy Court
                Central District of California
                Attn: Hon. Vincent Zurzolo
                Edward R. Roybal Federal Bldg./Courthouse
                255 East Temple Street, Suite 1360
                Los Angeles, CA 90012

                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 8, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                  Via Email:
                  Nelson W. Goodell            nelson@goodelllawsf.com


                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 8, 2020            Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:327335.1 46353/002
        Case 2:19-bk-24804-VZ                Doc 893 Filed 09/08/20 Entered 09/08/20 19:03:42                                       Desc
                                             Main Document   Page 204 of 204


SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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        Helena Tseregounis helena.tseregounis@lw.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Ryan A Witthans rwitthans@fhlawllp.com
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
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    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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